Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF NEW YORK

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Tonawanda Coke Corporation

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  3875 River Road                                                 P.O. Box 5007
                                  Tonawanda, NY 14150                                             Tonawanda, NY 14151
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Erie                                                            Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.tonawandacoke.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




                     Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
Official Form 201                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                       page 1
                                     Description: Main Document , Page 1 of 271
Debtor    Tonawanda Coke Corporation                                                                   Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 3241

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                     Relationship
                                                 District                                 When                              Case number, if known




                     Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
Official Form 201                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                            page 2
                                     Description: Main Document , Page 2 of 271
Debtor   Tonawanda Coke Corporation                                                                Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal       Yes.     Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)

                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                                                              3875 River Road
                                             Where is the property?           Tonawanda, NY, 14150-0000
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No

                                                Yes.    Insurance agency      Van Wyk Risk & Financial Management
                                                        Contact name          David Hop
                                                        Phone                 616-726-1070


         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.

                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




                    Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
Official Form 201                Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                              page 3
                                    Description: Main Document , Page 3 of 271
Debtor    Tonawanda Coke Corporation                                                               Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      October 15, 2018
                                                  MM / DD / YYYY


                             X   /s/ Michael K. Durkin                                                    Michael K. Durkin
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ Garry M. Graber, Esq.                                                 Date October 15, 2018
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Garry M. Graber, Esq.
                                 Printed name

                                 Hodgson Russ LLP
                                 Firm name

                                 140 Pearl Street
                                 Suite 100
                                 Buffalo, NY 14202
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (716) 856-4000                Email address      ggraber@hodgsonruss.com

                                 1344159 NY
                                 Bar number and State




                    Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
Official Form 201                Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                             page 4
                                    Description: Main Document , Page 4 of 271
 Fill in this information to identify the case:

 Debtor name         Tonawanda Coke Corporation

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          October 15, 2018                        X /s/ Michael K. Durkin
                                                                       Signature of individual signing on behalf of debtor

                                                                       Michael K. Durkin
                                                                       Printed name

                                                                       President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                    Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
                                   Description: Main Document , Page 5 of 271
 Fill in this information to identify the case:
 Debtor name Tonawanda Coke Corporation
 United States Bankruptcy Court for the: WESTERN DISTRICT OF NEW                                                                                      Check if this is an
                                                YORK
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Dival Safety                     To be supplied                 Trade Debt             Contingent,                                                                   $1,037,467.80
 Equipment, Inc.                                                                        unliquidated,
 1721 Niagara Street                                                                    disputed
 Buffalo, NY 14207

 Advanced                        To be supplied                  Trade Debt             Contingent,                                                                       $21,360.00
 Manufacturing &                                                                        unliquidated,
 Mechanical Inc.                                                                        disputed
 3043 Lakeshore Blvd
 Unit 9
 Blasdell, NY 14219

 American Express                To be supplied                  Credit Cards           Contingent,                                                                       $16,404.96
 P.O. Box 360001                                                                        unliquidated,
 Ft. Lauderdale, FL                                                                     disputed
 33336-0001

 Southern Minerals,              Dick Johnson                    Trade Debt             Contingent,                                                                          $207,000
 Inc.                            276-322-4900                                           unliquidated,
 PO Box 770                      classical-dickjohnso                                   disputed
 Bluefield, WV 24701             n[classical


 Rhino Energy LLC                Scott Morris                    Trade Debt             Contingent,                                                                     $293,885.55
 424 Lewis Hargett               859-519-3622                                           unliquidated,
 Circle                          smorris@rhinolp.co                                     disputed
 Lexington, KY 40503             m


 Doritex Corporation             to be supplied                  Trade Debt             Contingent,                                                                       $21,554.38
 11980 Walden                                                                           unliquidated,
 Avenue                                                                                 disputed
 Alden, NY 14004




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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                         Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
                                        Description: Main Document , Page 6 of 271
 Debtor    Tonawanda Coke Corporation                                                                         Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Global Environmental                                            Trade Debt             Contingent,                                                                       $18,951.00
 PO Box 170                       to be supplied                                        unliquidated,
 3514 New Road                                                                          disputed
 Dunkirk NY 14048


 Guardian           To be supplied                               Trade Debt             Contingent,                                                                       $14,773.60
 Environmental                                                                          unliquidated,
 Associates Inc.                                                                        disputed
 2619 Parker Blvd
 Tonwanda, NY 14150

 Brights Systems, Inc.           Kelly Bright        Trade debt                         Contingent,                                                                       $73,523.17
 PO Box 137                      716-695-2886                                           unliquidated,
 North Tonawanda,                brightsinc.@aol.com                                    disputed
 NY 14120-0137


 Metso Minerals                  To be supplied                  Trade debt             Contingent,                                                                       $61,978.58
 Industries, Inc.                                                                       unliquidated,
 Dept Ch 19629                                                                          disputed
 Palatine, IL
 60055-9629

 Chiampou Travis                 Bob Travis         Professional                        Contingent,                                                                       $39,178.76
 Besaw & Kerschner               716-630-2400       Services                            unliquidated,
 LLP                             btravis@chiampou.c                                     disputed
 45 Bryant Woods                 om
 North
 Amherst, NY 14228

 Constellation New               To be supplied                  Utility Services       Contingent,                                                                       $37,510.16
 Energy, Inc.                                                                           unliquidated,
 PO Box 4640                                                                            disputed
 Carol Stream, IL
 60197-4640

 Schagrin Associates             Roger Schagrin                  Professional           Contingent,                                                                       $37,500.00
 900 Seventh Street,             202-223-1700                    Services               unliquidated,
 N.W.                            rschagrin@schagrin                                     disputed
 Bluefield, WV 24701             associates.com

 Coopers Creek                   Scott Morris       Trade debt                          Contingent,                                                                       $21,000.00
 Chemical Corp.                  610-828-0375                                           unliquidated,
 P.O. Box 782915                 smorris@cooperscre                                     disputed
 884 River Road                  ekchemical.com
 West Conshohocken,
 PA 19428




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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                         Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
                                        Description: Main Document , Page 7 of 271
 Debtor    Tonawanda Coke Corporation                                                                         Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Corfu Machine Co                To be supplied                  Trade debt             Contingent,                                                                       $22,745.00
 INc.                                                                                   unliquidated,
 1977 Genesee Street                                                                    disputed
 Corfu, NY 14036

 Klein Steel Service,            To be supplied                  Trade debt             Contingent,                                                                       $31,533.40
 Inc.                                                                                   unliquidated,
 PO Box 8000                                                                            disputed
 Buffalo, NY 14267

 National Maintenance To be supplied                             Trade debt             Contingent,                                                                       $28,778.00
 Contracting Corp.                                                                      unliquidated,
 P.O. Box 258                                                                           disputed
 Niagara Falls, NY
 14304

 Kubota Materials                To be supplied                  Trade debt             Contingent,                                                                       $26,550.00
 Canada Corporation                                                                     unliquidated,
 PO Box 1700                                                                            disputed
 Fahramet Division
 Orillia, ON L3V 6L6

 ACCCI                           David Ailor                     Trade Association,     Contingent,                                                                       $25,772.48
 1255 23rd St.                   703-795-3541                    dues and fees          unliquidated,
 NW #200                         dailor@accci.org                                       disputed
 Washington, DC
 20037

 Aptim Environmental             To be supplied                  Trade debt             Contingent,                                                                       $25,684.02
 & Infastructure                                                                        unliquidated,
 150 Royal Street                                                                       disputed
 Canton, MA 02021




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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                         Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
                                        Description: Main Document , Page 8 of 271
 Fill in this information to identify the case:
 Debtor name Tonawanda Coke Corporation
 United States Bankruptcy Court for the: WESTERN DISTRICT OF NEW                                                                                      Check if this is an
                                                YORK
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Dival Safety                     To be supplied                 Trade Debt             Contingent,                                                                   $1,037,467.80
 Equipment, Inc.                                                                        unliquidated,
 1721 Niagara Street                                                                    disputed
 Buffalo, NY 14207

 Advanced                        To be supplied                  Trade Debt             Contingent,                                                                       $21,360.00
 Manufacturing &                                                                        unliquidated,
 Mechanical Inc.                                                                        disputed
 3043 Lakeshore Blvd
 Unit 9
 Blasdell, NY 14219

 American Express                To be supplied                  Credit Cards           Contingent,                                                                       $16,404.96
 P.O. Box 360001                                                                        unliquidated,
 Ft. Lauderdale, FL                                                                     disputed
 33336-0001

 Southern Minerals,              Dick Johnson                    Trade Debt             Contingent,                                                                          $207,000
 Inc.                            276-322-4900                                           unliquidated,
 PO Box 770                      classical-dickjohnso                                   disputed
 Bluefield, WV 24701             n[classical


 Rhino Energy LLC                Scott Morris                    Trade Debt             Contingent,                                                                     $293,885.55
 424 Lewis Hargett               859-519-3622                                           unliquidated,
 Circle                          smorris@rhinolp.co                                     disputed
 Lexington, KY 40503             m


 Doritex Corporation             to be supplied                  Trade Debt             Contingent,                                                                       $21,554.38
 11980 Walden                                                                           unliquidated,
 Avenue                                                                                 disputed
 Alden, NY 14004




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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                         Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
                                        Description: Main Document , Page 9 of 271
 Debtor    Tonawanda Coke Corporation                                                                         Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Global Environmental                                            Trade Debt             Contingent,                                                                       $18,951.00
 PO Box 170                       to be supplied                                        unliquidated,
 3514 New Road                                                                          disputed
 Dunkirk NY 14048


 Guardian           To be supplied                               Trade Debt             Contingent,                                                                       $14,773.60
 Environmental                                                                          unliquidated,
 Associates Inc.                                                                        disputed
 2619 Parker Blvd
 Tonwanda, NY 14150

 Brights Systems, Inc.           Kelly Bright        Trade debt                         Contingent,                                                                       $73,523.17
 PO Box 137                      716-695-2886                                           unliquidated,
 North Tonawanda,                brightsinc.@aol.com                                    disputed
 NY 14120-0137


 Metso Minerals                  To be supplied                  Trade debt             Contingent,                                                                       $61,978.58
 Industries, Inc.                                                                       unliquidated,
 Dept Ch 19629                                                                          disputed
 Palatine, IL
 60055-9629

 Chiampou Travis                 Bob Travis         Professional                        Contingent,                                                                       $39,178.76
 Besaw & Kerschner               716-630-2400       Services                            unliquidated,
 LLP                             btravis@chiampou.c                                     disputed
 45 Bryant Woods                 om
 North
 Amherst, NY 14228

 Constellation New               To be supplied                  Utility Services       Contingent,                                                                       $37,510.16
 Energy, Inc.                                                                           unliquidated,
 PO Box 4640                                                                            disputed
 Carol Stream, IL
 60197-4640

 Schagrin Associates             Roger Schagrin                  Professional           Contingent,                                                                       $37,500.00
 900 Seventh Street,             202-223-1700                    Services               unliquidated,
 N.W.                            rschagrin@schagrin                                     disputed
 Bluefield, WV 24701             associates.com

 Coopers Creek                   Scott Morris       Trade debt                          Contingent,                                                                       $21,000.00
 Chemical Corp.                  610-828-0375                                           unliquidated,
 P.O. Box 782915                 smorris@cooperscre                                     disputed
 884 River Road                  ekchemical.com
 West Conshohocken,
 PA 19428




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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                         Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
                                       Description: Main Document , Page 10 of 271
 Debtor    Tonawanda Coke Corporation                                                                         Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Corfu Machine Co                To be supplied                  Trade debt             Contingent,                                                                       $22,745.00
 INc.                                                                                   unliquidated,
 1977 Genesee Street                                                                    disputed
 Corfu, NY 14036

 Klein Steel Service,            To be supplied                  Trade debt             Contingent,                                                                       $31,533.40
 Inc.                                                                                   unliquidated,
 PO Box 8000                                                                            disputed
 Buffalo, NY 14267

 National Maintenance To be supplied                             Trade debt             Contingent,                                                                       $28,778.00
 Contracting Corp.                                                                      unliquidated,
 P.O. Box 258                                                                           disputed
 Niagara Falls, NY
 14304

 Kubota Materials                To be supplied                  Trade debt             Contingent,                                                                       $26,550.00
 Canada Corporation                                                                     unliquidated,
 PO Box 1700                                                                            disputed
 Fahramet Division
 Orillia, ON L3V 6L6

 ACCCI                           David Ailor                     Trade Association,     Contingent,                                                                       $25,772.48
 1255 23rd St.                   703-795-3541                    dues and fees          unliquidated,
 NW #200                         dailor@accci.org                                       disputed
 Washington, DC
 20037

 Aptim Environmental             To be supplied                  Trade debt             Contingent,                                                                       $25,684.02
 & Infastructure                                                                        unliquidated,
 150 Royal Street                                                                       disputed
 Canton, MA 02021




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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                         Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
                                       Description: Main Document , Page 11 of 271
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                     1234 ACQUISITION, LLC
                     P.O. BOX 835
                     WEST SENECA, NY 14224


                     2009 A & G COAL CORPORATION
                     PO BOX 1010
                     6250 HURRICANE RD
                     WISE, VA 24293


                     407ETR
                     6300 STEELES AVENUE WEST
                     WOODBRIDGE, CAN L4H 1J1


                     A & F Wholesale
                     2517 Long Road, Suite 2
                     Grand Island, NY 14072


                     A & F WHOLESALE
                     2517 LONG ROAD SUITE 2
                     PO BOX 888
                     GRAND ISLAND, NY 14072-0888


                     A & K RAILROAD MATERIALS, INC.
                     1505 S REDWOOD ROAD
                     SALT LAKE CITY, UT 84130-0076


                     A CONTE ELECTRIC
                     12 BABCOCK STREET
                     BUFFALO, NY 14210


                     A HARBISON BROS INC
                     32 APPENHEIMER AVENUE
                     BUFFALO, NY 14214


                     A T & A TRIPI TRUCKING CORP
                     PO BOX 367
                     WEST DRULLARD AVENUE
                     LANCASTER, NY 14086


                     A TO Z WATERJET CUTTING SERVICES
                     574 - 56TH STREET
                     NIAGARA FALLS, NY 14304




    Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
                  Description: Main Document , Page 12 of 271
                 A. DUIE PYLE, INC.
                 650 WESTTOWN ROAD
                 PO BOX 564
                 WEST CHESTER, PA 19381-0564


                 A.CUPIDO TRANSPORT LIMITED
                 1035 HOWARD ROAD
                 BURLINGTON, ONTARIO, CAN L7R 3X5


                 A.E. ROBERTS COMPANY
                 NW 7136
                 PO BOX 1450
                 MINNEAPOLIS, MN 55485-7136


                 A.N. DERINGER, INC.
                 PO BOX 1324
                 WILLISTON, VT 05495


                 AAA DISTRIBUTORS
                 286 FRANKLIN STREET
                 BUFFALO, NY 14202


                 AARON EQUIPMENT COMPANY
                 735 E. GREEN STREET
                 PO BOX 80
                 BENSENVILLE, IL 60106


                 ABACUS TRUCK LINE
                 7882 RAWLINGS ROAD
                 ONTARIO, CAN NON IJO


                 ABBEON CAL, INC.
                 123 GRAY AVENUE
                 SANTA BARBARA, CA 93101-1895


                 ABBOTT RADIATOR & AUTO
                 1700 ABBOTT ROAD
                 LACKAWANNA, NY 14218


                 ABF FREIGHT SYSTEM, INC
                 50 FLYDER AVE
                 TONAWANDA, NY 14156-6501




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 13 of 271
                 ABX PEST CONTROL
                 63 KNOX AVENUE
                 BUFFALO, NY 14216


                 AC WILLIAMS SCALE CO LLC
                 PO BOX 824
                 TONAWANDA, NY 14151-0824


                 AC WILLIAMS SCALE CO. LLC
                 PO BOX 824
                 TONAWANDA, NY 14151


                 ACCCI



                 ACCCI
                 1255 23rd St. NW #200
                 Washington, DC 20037


                 ACCCI
                 25 MASSACHUSETTS AVE
                 NW SUITE 800
                 WASHINGTON, DC 20001


                 ACCOUNTEMPS
                 12400 COLLECTIONS CENTER DRIVE
                 CHICAGO, IL 60693


                 ACE AMERICAN INSURANCE COMPANY
                 8755 W. HIGGINS ROAD
                 7TH FLOOR ATTN: SUZANN DISANTI
                 CHICAGO, IL 60631


                 ACE FLAG COMPANY, INC
                 5444 TRANSIT ROAD
                 DEPEW, NY 14043


                 ACI CONTROLS, INC
                 PO BOX 8000
                 DEPARTMENT #575
                 BUFFALO, NY 14267


                 ACI Controls, Inc.
                 295 Main St.
                 Buffalo, NY 14224

Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 14 of 271
                 ACKERMAN MECHANICAL SERVICES, INC.
                 PO BOX 409
                 TONAWANDA, NY 14043-3235


                 ACKERMAN MECHANICAL SERVICES, INC.
                 401 LANG BOULEVARD
                 GRAND ISLAND, NY 14072-3112


                 ACME BEARING CORPORATION
                 1387 NIAGARA STREET
                 BUFFALO, NY 14213


                 ACOPIAN TECHNICAL COMPANY
                 PO BOX 638
                 EASTON, PA 18044


                 ACORDIA, INC.
                 PO BOX 931156
                 CLEVELAND, OH 44193-0517


                 ACT ASSOCIATES
                 10100 MAIN STREET
                 P.O. BOX 510
                 CLARENCE, NY 14031


                 ACTION PRINTING & BUSINESS FORMS, INC.
                 PO BOX 6175
                 824 E.9TH STREET
                 ERIE, PA 16512


                 ACTIVE NUTRITION
                 2238 OLD UNION RD
                 CHEEKTOWAGA, NY 14227-2728


                 Active Workforce Inc.
                 853 Brighton Rd.
                 Tonawanda, NY 14150


                 ACTIVE WORKFORCE, INC.
                 853 BRIGHTON RD
                 TONAWANDA, NY 14150




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 15 of 271
                 ACTUARIAL CONSULTING SERVICES, INC.
                 220 NORTHPOINTE PARKWAY
                 SUITE A
                 AMHERST, NY 14228


                 ADESA BUFFALO
                 12200 MAIN STREET
                 PO BOX 361
                 AKRON, NY 14001


                 ADJUST-O-MATIC PUMP CO.
                 PO BOX 424
                 WOOD DALE, IL 60191


                 Admar Construction Equipment & Supplies
                 1394 Military Road
                 Buffalo, NY 14217-8000


                 ADMAR SUPPLY
                 1950 BRIGHTON HENRIETTA TOWNLINE RD
                 ROCHESTER, NY 14623-2510


                 ADP INC
                 PO BOX 842875
                 BOSTON, MA 02284-2875


                 ADP Inc.
                 305 Spindrift Drive
                 Buffalo, NY 14221


                 Adsco Manufacturing Corporation
                 4979 Lake Ave.
                 Buffalo, NY 14219


                 ADSCO MANUFACTURING LLC
                 4979 LAKE AVENUE
                 BUFFALO, BY 14219


                 ADVANCE CHIROPRACTIC
                 7703 NIAGARA FALLS BLVD
                 NIAGARA FALLS, NY 14304


                 Advance Industries
                 1789 Olean Rd.
                 South Wales, NY 14139

Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 16 of 271
                 ADVANCE INDUSTRIES
                 P.O BOX 173
                 SOUTH WALES, NY 14139


                 ADVANCE SECURITY
                 P.O. BOX 360901
                 PITTSBURGH, PA 15251-6901


                 ADVANCED AUTO PARTS
                 PO BOX 5219
                 CAROL STREAM, IL 60197-5219


                 ADVANCED DRAINAGE SYSTEMS, INC.
                 W510541
                 PO BOX 7777
                 PHILADELPHIA, PA 19175-0541


                 ADVANCED GRAPHICS & PRINTING INC.
                 699 HERTEL AVENUE, SUITE 130
                 BUFFALO, NY 14207


                 ADVANCED MANUFACTURING & MECHANICAL INC.
                 3043 LAKESHORE BLVD
                 UNIT 9
                 BLASDELL, NY 14219


                 Advanced Manufacturing & Mechanical, Inc



                 ADVANCED PLASTIC & MATERIAL TESTING INC.
                 42 DUTCH MILL ROAD
                 ITHACA, NY 14850


                 ADVANCED SAFETY INC
                 191 MAIN STREET
                 EAST AURORA, NY 14052


                 ADVENT INDUSTRIES
                 DBA, MT.SAVAGE FIREBRICK
                 17901 MT SAVAGE ROAD NW
                 FROSTBURG, MD 21532


                 ADVENTURES MARKETING
                 1 VILBURNUM PLACE
                 NEW HARTFORD, NY 13413

Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 17 of 271
                 AED DISTRIBUTORS INC.
                 320 WASHINGTON STREET
                 ROCHESTER, NY 14625


                 AEMS LLC
                 2443 NORTH QUANTICO STREET
                 ARLINGTON, VA 22207


                 AEROCOMM, INC
                 PO BOX 87-3325
                 KANSAS CITY, MO 64187-3325


                 AEROMET ENGINEERING INC
                 107 ADAMS STREET
                 JEFFERSON CITY, MO 65101


                 AEROMET ENGINEERING, INC.
                 107 ADAMS ST
                 JEFFERSON CITY, MO 65101


                 AEROVENT C/O AERO MECH EQUIPMENT CO.
                 NW5564
                 MINNEAPOLIS, MN 55485-5564


                 AESYS TECHNOLOGIES, LLC
                 693 N. HILLS ROAD
                 YORK, PA 17402-2211


                 AFFINIA CANADA CORPORATION
                 6601 GOREWAY DRIVE
                 MISSISSAUGA, ONT L4V 1V6


                 AFFINITY PERSONNEL SOLUTIONS INC
                 PO BOX 127
                 BUFFALO, NY 14231-0127


                 Affinity Personnel Solutions Inc.
                 3407 Delaware Ave.
                 Buffalo, NY 14217


                 AFP GROUP INC.
                 6746 AKRON ROAD
                 LOCKPORT, NY 14094



Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 18 of 271
                 AFS WESTERN MICHIGAN CHAPTER
                 ATTN: MIKE THOMPSON
                 314 BLOSSOM AVENUE
                 CADILLAC, MI 49601


                 AFTA CONTROLS INC.
                 2121 DOWNER STREET RD.
                 BALDWINSVILLE, NY 13027-9702


                 AG TRUCKING INC
                 2430 LINCOLNWAY EAST
                 PO BOX 453
                 GOSHEN, IN 46527-0453


                 AIAG-CUSTOMER SERVICE
                 PO BOX 77000
                 DEPARTMENT 77839
                 DETROIT, MI 48277-0839


                 AIR COMPLIANCE CONSULTANTS, INC.
                 ACCI c/o MEG, INC.
                 1 PARK PLAZA, SUITE 1000
                 IRVINE, CA 92614


                 AIR MONITOR CORPORATION
                 PO BOX 6358
                 1050 HOPPER AVENUE
                 SANTA ROSA, CA 95406


                 AIR SAN
                 1570 SOUTH PARK AVENUE
                 BUFFALO, NY 14220


                 AIRBORNE EXPRESS
                 P.O. BOX 91001
                 SEATTLE, WA 98111


                 AIRGAS GREAT LAKES
                 PO BOX 802576
                 CHICAGO, IL 60680-2576


                 AIRLINE HYDRAULICS CORPORATION
                 P.O. BOX 8500
                 S-2275
                 PHILADELPHIA, PA 19178-7618


Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 19 of 271
                 AIRMATIC, INC.
                 P.O. BOX 12806
                 PHILADELPHIA, PA 19101-0806


                 AIRPRO FAN & BLOWER CO. LLC
                 P.O. BOX 543
                 4858 HWY. 17N
                 RHINELANDER, WI 54501


                 AIST
                 186 THORN HILL ROAD
                 WARRENDALE, PA 15086


                 AK STEEL ASHLAND MEDICAL DEPT
                 U.S. RT. 23 W. WINCHESTER AVE
                 DOOR 41
                 ASHLAND, KY 41101


                 AK STEEL CORPORATION
                 703 CURTIS ST.
                 ATTN: LINDA MAGOLIS
                 MIDDLETOWN, OH 45043


                 AKIN GUMP STRAUSS HAUER & FELD LLP
                 DEPT. 7247-6827
                 PHILADELPHIA, PA 19170-6827


                 AKZO NOBEL PAINTS LLC
                 ACCOUNTS RECEIVABLE 8TH FLOOR
                 ONE PPG PLACE
                 PITTSBURGH, PA 15272


                 ALABAMA CENTER FOR OCCUPATIONAL MEDICINE
                 2018 BROOKWOOD MEDICAL CTR
                 POB SUITE G-2
                 BIRMINGHAM, AL 35209


                 ALAINA ROWSWELL
                 132 VULCAN STREET
                 BUFFALO, NY 14207


                 ALBERT KAHN ASSOCIATES, INC.
                 7430 SECOND AVENUE
                 DETROIT, MI 48202-2798



Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 20 of 271
                 ALBERT MOGAVERO
                 THE DUNN BUILDING
                 110 PEARL STREET
                 BUFFALO, NY 14202


                 ALBRECT,MAGUIRE,HEFFERN, & GREGG, P.C.
                 2100 MAIN PLACE TOWER
                 BUFFALO, NY 14202-3783


                 ALCO LOCOMOTIVE COMPANY
                 NATIONAL RAILWAY COMPANY
                 135 S.LASALLE STREET DEPT. 1473
                 CHICAGO, IL 60674-1473


                 ALDON COMPANY, INC.
                 3410 SUNSET AVENUE
                 WAUKEGAN, IL 60087-3295


                 ALEXANDER BATTERIES
                 P.O. BOX 1508
                 MASON CITY, IA 50402-1508


                 ALFA ELECTRONICS, INC.
                 741 ALEXANDER ROAD
                 PRINCETON, NJ 08541


                 ALGORITHM, INC.
                 700 STONEHENGE PKWY
                 DUBLIN, OH 43017


                 ALGORITHM, INC.
                 PO BOX 440179
                 NASHVILLE, TN 37244-0179


                 ALL AMERICAN GRATING,INC.
                 3001 GRAND AVENUE
                 PITTSBURGH, PA 15225-1603


                 ALL PRO SHEARING INC
                 1905 LAWTON AVE
                 INDIANAPOLIS, IN 46203


                 ALL SEASON RENTAL
                 5885 TRANSIT ROAD
                 EAST AMHERST, NY 14051

Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 21 of 271
                 ALL-AMERICAN PUBLISHING
                 PO BOX 100
                 CALDWELL, ID 83606-0100


                 ALLAN A. ROLLO
                 6789 RIVERSIDE DRIVE E.
                 WINDSOR, ON N8S 1C1


                 ALLBRITE POWER WASH
                 1201 LASALLE AVENUE
                 GRAND ISLAND, NY 14072


                 ALLEGANY FARM & HOME CENTER
                 13 EAST UNION STREET
                 ALLEGANY, NY 14706


                 ALLENTOWN PUMP & GUN
                 PO BOX 8500-2021
                 PHILADELPHIA, PA 19178-2021


                 ALLIED MECHANICALINC.
                 1111 NIAGARA ST
                 BUFFALO, NY 14213


                 ALLIED MINERAL PRODUCTS INC
                 P.O. BOX 951410
                 CLEVELAND, OH 44193


                 Allied Mineral Products, Inc.
                 2700 Scioto Parkway
                 Columbus, OH 43221


                 ALLIED MINERAL PRODUCTS, INC.
                 PO BOX 951410
                 CLEVELAND, OH 44193


                 ALLMAX PROFESSIONAL SOLUTIONS, INC.
                 911 SOUTH MAIN STREET, BLDG A
                 PO BOX 40
                 KENTON, OH 43326-1552


                 ALLOCCA ENTERPRISES INC
                 570 KNICKERBOCKER RD
                 SCHODACK LANDING, NY 12156


Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 22 of 271
                 ALOI MATERIALS HANDLING
                 660 WEST METRO PARK
                 ROCHESTER, NY 14623


                 Alpha Analytical, Inc.
                 275 Cooper Ave.
                 Tonawanda, NY 14150


                 ALPHA ANALYTICAL, INC.
                 145 FLANDERS ROAD
                 WESTBOROUGH, MA 01581


                 ALPHA COAL SALES CO LLC
                 9300 HARRIS CORNERS PARKWAY
                 SUITE 210
                 CHARLOTTE, NC 28269


                 ALPHA RESOURCES INC.
                 P.O. BOX 199
                 STEVENSVILLE, MI 49127


                 ALPHA RESOURCES, INC
                 P.O. BOX 199
                 3090 JOHNSON ROAD
                 STEVENSVILLE, MI 49127


                 ALPS WELDING LTD.
                 400 NEW HUNTINGTON ROAD
                 VAUGHAN, ON L4H 0R4


                 ALS ENVIRONMENTAL
                 PO BOX 975444
                 DALLAS, TX 75397-5444


                 ALSTOM POWER, INC.
                 200 GREAT POND DRIVE
                 WINDSOR, CT 06095


                 AMCI COAL SALES, INC
                 BB&T CENTER
                 200 SOUTH COLLEGE STREET / SUITE 620
                 CHARLOTTE, NC 28202-2005




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 23 of 271
                 AMCS, LLC
                 PO BOX 890889
                 5310 PARKWAY PLAZA BLVD
                 CHARLOTTE, NC 28217


                 AMD ENVIRONMENTAL
                 712 MAIN ST
                 SUITE L1
                 BUFFALO, NY 14202


                 AMERICAN CANCER SOCIETY
                 1620 SOUTH CLYDE MORRIS BOULEVARD
                 SUITE 33
                 DAYTONA BEACH, FL 32119


                 AMERICAN CHAMBER OF COMMERCE PUBLISHERS
                 344 W, COLFAX
                 PALATINE, IL 60067


                 AMERICAN CHAMBER OF COMMERCE RESOURCES
                 65 EAST WACKER PLACE
                 SUITE 1804
                 CHICAGO, IL 60601


                 AMERICAN EAGLE TECHNOLOGY
                 929 S HIGH STREET
                 SUITE 184
                 WEST CHESTER, PA 19382


                 American Express



                 AMERICAN EXPRESS
                 P.O. BOX 360001
                 FT. LAUDERDALE, FL 33336-0001


                 AMERICAN EXPRESS
                 ATTN: PAYMENT PROCESSING
                 P.O. BOX 650448
                 DALLAS, TX 75265-0448


                 AMERICAN FAB, INC.
                 P.O. BOX 1027
                 TRAVLERS REST, SC 29690



Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 24 of 271
                 AMERICAN FOUNDRY SOCIETY
                 35169 EAGLE WAY
                 CHICAGO, IL 60678-1351


                 AMERICAN FOUNDRY SOCIETY
                 PO BOX 6555
                 ERIE, PA 16512


                 AMERICAN FOUNDRY SOCIETY
                 DETROIT-WINDSOR CHAPTER
                 PO BOX 5175
                 WARREN, MI 48090-5175


                 AMERICAN FREIGHTWAYS
                 PO BOX 910150
                 DALLAS, TX 75391-0150


                 AMERICAN INDUSTRIAL AUCTIONEERING
                 1843 HERTEL AVE
                 BUFFALO, NY 14216


                 AMERICAN LUBRICANTS, INC.
                 619 BAILEY AVE.
                 BUFFALO, NY 14206


                 AMERICAN MANAGEMENT ASSO, INTERNATIONAL
                 PO BOX 4725
                 BUFFALO, NY 14240-4725


                 AMERICAN MANAGEMENT ASSO. INTERNATIONAL
                 PO BOX 4725
                 BUFFALO, NY 14240-4725


                 AMERICAN MATERIAL PROCESSING
                 P.P. BOX 643
                 NEWARK, NY 14513-0643


                 AMERICAN METAL MARKET
                 1250 BROADWAY
                 29TH FLOOR
                 NEW YORK, NY 10001


                 AMERICAN METAL MARKET
                 PO BOX 15127
                 NORTH HOLLYWOOD, CA 91615

Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 25 of 271
                 AMERICAN REFINING GROUP,INC.
                 PO BOX 827899
                 PHILADELPHIA, PA 19182


                 AMERICAN SPEAKER
                 DEPT. ATA117
                 1101 KING STREET SUITE 110
                 ALEXANDRIA, VA 22314


                 AMERICAN SUGAR ALLIANCE
                 2111 WILSON BLVD.
                 SUITE 700
                 ARLINGTON, VA 22201


                 AMERICAN-MARSH PUMPS
                 PO BOX 747
                 CLARKSVILLE, TN 37041-0747


                 AMERITECH
                 BILL PAYMENT CENTER
                 CHICAGO, IL 60663-0001


                 AMETEK PROCESS INSTRUMENTS
                 P.O. BOX 8500/S-8105
                 PHILADELPHIA, PA 19178-8105


                 AMETEK, PROCESS INSTRUMENTS
                 PO BOX 8500-S8105
                 PHILADELPHIA, PA 19178-8105


                 AMHERST STAINLESS FABRICATION, LLC.
                 60 JOHN GLENN DRIVE
                 AMHERST, NY 14228


                 AMHERST TONAWANDA ORTHOPEDIC CENTER
                 PAUL PATERSON MD
                 2540 SHERIDAN DRIVE
                 TONAWANDA, NY 14150


                 AMHERST TV & VIDEO OF WNY
                 3939 NORTH BAILEY AVENUE
                 AMHERST, NY 14226




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 26 of 271
                 AMICK ASSOCIATES, INC.
                 P.O. BOX 529
                 11 SYCAMORE STREET
                 CARNEGIE, PA 15106


                 AMISTAN LOGISTICS
                 13592 COLLECTIONS CENTER DRIVE
                 CHICAGO, IL 60693


                 AMP INCORPORATED
                 P.O. BOX 75260
                 CHARLOTTE, NC 28275-5260


                 AMQUIP CRANE RENTAL
                 PO BOX 8500-2945
                 PHILADELPHIA, PA 19178-2945


                 AMSCO, INC.
                 925 BAILEY AVE
                 BUFFALO, NY 14206


                 AMSTAN LOGISTICS
                 P.O. BOX 202889
                 DALLAS, TX 75320-2889


                 ANAND R. HERLE MD.
                 1370 RIDGE ROAD
                 LACKAWANNA, NY 14218


                 ANDERSEN ELECTRIC SUPPLY
                 910 FACTORY OUTLET BLVD.
                 NIAGARA FALLS, NY 14304


                 ANDERSON DIESEL
                 877 MERCER-NEW WILMINGTON RD
                 NEW WILMINGTON, PA 16142


                 ANDERSON EQUIPMENT COMPANY
                 P.O. BOX 823564
                 PHILADELPHIA, PA 19182-3564


                 ANDREW TERRANOVA & ASSOCIATES
                 5371 TRANSIT ROAD
                 WILLIAMSVILLE, NY 14221


Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 27 of 271
                 ANIXTER INCORPORATED
                 P.O. BOX 98908
                 CHICAGO, IL 60693-8908


                 ANR ADVANCE TRANSPORTATION COMPANY
                 PO BOX 88331
                 MILWAUKEE, NY 53288-0311


                 ANTHONY J. BROSSACK
                 2177 PARKER BLVD
                 TONAWANDA, NY 14150


                 AP PROFESSIONALS
                 BOX 200820
                 PITTSBURGH, PA 15251-0820


                 APA SOLUTIONS
                 6480 MAIN STREET
                 SUITE 4
                 WILLIAMSVILLE, NY 14221


                 APPLEONE
                 ATTN: ACCOUNTS RECEIVABLE
                 PO BOX 29048
                 GLENDALE, CA 91209-9048


                 Applied Industrial Technologies



                 APPLIED INDUSTRIAL TECHNOLOGIES
                 22510 NETWORK PLACE
                 CHICAGO, IL 60673-1225


                 APPLIED MEASUREMENT & CONTROL INC.
                 67 EAST MAIN STREET
                 VICTOR, NY 14564


                 APPLIED TECHNICAL SERVICES INC.
                 5911 TRANSIT RD.
                 DEPEW, NY 14043


                 Aptim Environmental & Infastructure




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 28 of 271
                 APTIM ENVIRONMENTAL & INFRASTRUCTURE
                 150 ROYAL STREET
                 CANTON, MA 02021


                 APTIM ENVIRONMENTAL & INFRASTRUCTURE INC
                 39001 TREASURY CENTER DRIVE
                 CHICAGO, IL 60694-9000


                 APV HEAT TRANSFER
                 PO BOX 70380
                 CHICAGO, IL 60673-0380


                 AQUACHEM INC.
                 4501 CARTWRIGHT RD
                 UNIT 605
                 MISSOURI CITY, TX 77459


                 ARCELORMITTAL MID VOL GROUP INC
                 ATTN: ACCOUNTS RECEIVABLE SSO
                 250 W. U.S. HIGHWAY 12
                 BURNS HARBOR, IN 46304


                 ARCH PAGING
                 P.O. BOX 970016
                 BOSTON, MA 02297-0016


                 ARCH WIRELESS, INC.
                 PO BOX 4062
                 WOBURN, MA 01888-4062


                 ARCTIC GLACIER INC
                 1654 MATHALER LANE
                 WEST ST. PAUL, MN 55118


                 ARMAND L PANEK EQUIPMENT CO.
                 1050 UNION RD
                 SUITE 4
                 WEST SENECA, NY 14224


                 ARMOR ELECTRIC MOTOR & CRANE SVCS.,INC.
                 PO BOX 1185
                 343 ELK ST.
                 BUFFALO, NY 14210




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 29 of 271
                 ARROW SHEET METAL WORKS
                 75 THIELMAN DRIVE
                 BUFFALO, NY 14206


                 ARROW SHEET METAL WORKS, INC.
                 75 THIELMAN DRIVE
                 BUFFALO, NY 14206-2365


                 ARROW STAR INCORPORATED
                 3 - 1 PARK PLAZA
                 GLEN HEAD, NY 11545-1857


                 ARTHUR E. JONES COMPANY, INC
                 4015 BAILEY AVENUE
                 BUFFALO, NY 14226


                 ARTHUR R. MCWILLIAMS, JR. P.C.
                 2675 44TH STREET S.W.
                 SUITE 305
                 WYOMING, MI 49519


                 ASGCO MANUFACTURING, INC.
                 P.O. BOX 1999
                 ALLENTOWN, PA 18102


                 ASHVANI K. GULATI, MD
                 3750 DELAWARE AVENUE
                 KENMORE, NY 14217-1002


                 ASM INTERNATIONAL
                 ATTN: CSC/BOOK ORDER
                 P.O. BOX 473
                 NOVELTY, OH 44072-9901


                 ASPEN PUBLISHERS, INC.
                 ACCOUNTS RECEIVABLE DEPT.
                 PO BOX 911
                 FREDERICK, MD 21705-0911


                 ASQ
                 PO BOX 3033
                 MILWAUKEE, WI 53201-3033




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 30 of 271
                 ASSOCIATED MEDIA GROUP
                 PO BOX 734
                 MARS, PA 16046


                 ASSOCIATED REPORTING INC
                 251 EAST OHIO STREET
                 SUITE 940
                 INDIANAPOLIS, IN 46204


                 ASSOCIATED STEEL CORPORATION
                 18200 MILES ROAD
                 PO BOX 28335
                 CLEVELAND, OH 44128


                 ASSOCIATION OF IRON & STEEL ENGINEERS
                 PO BOX 640038
                 PITTSBURGH, PA 15264-0038


                 ASTERION INC
                 215 S.BROAD STREET
                 3RD FLOOR
                 PHILADELPHIA, PA 19107


                 ASTRALLOY STEEL PRODUCTS
                 1550 RED HOLLOW ROAD
                 PO BOX 170974
                 BIRMINGHAM, AL 35217-0974


                 AT&T
                 P.O Box 5014
                 Carol Stream, IL 60197


                 AT&T
                 P.O. Box 5014
                 Carol Stream, IL 60197


                 AT&T
                 PO BOX 8221
                 AURORA, IL 60572-8221


                 AT&T
                 PO BOX 5019
                 CAROL STREAM, IL 60197-5019




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 31 of 271
                 AT&T
                 PO BOX 660011
                 DALLAS, TX 75266-0011


                 AT&T
                 PO BOX 600670
                 JACKSONVILLE, FL 32260-0670


                 AT&T
                 PO BOX 27-680
                 KANSAS CITY, MO 64184-0680


                 AT&T
                 PO BOX 9001310
                 LOUISVILLE, KY 40290-1310


                 AT&T
                 PO BOX 78355
                 PHOENIX, AZ 85062-8355


                 AT&T
                 PO BOX 30199
                 TAMPA, FL 33630-3199


                 AT&T CREDIT CORPORATION
                 PO BOX 93000
                 CHICAGO, IL 60673-3000


                 AT&T Mobility
                 P.O. Box 537104
                 Atlanta, GA 30353


                 AT&T MOBILITY
                 PO BOX 537104
                 ATLANTA, GA 30353-7104


                 AT&T MOBILITY
                 PO BOX 6463
                 CAROL STREAM, IL 60197-6463


                 AT&T TELECONFERENCE SERVICES
                 PO BOX 5002
                 CAROL STREAM, IL 60197-5002



Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 32 of 271
                 ATKINSON DYNAMICS COMPANY
                 PO BOX ECCLES AVENUE
                 S, SAB FRANCISCO, CA 94080-1964


                 ATKINSON DYNAMICS COMPANY
                 7297 COLLECTION CENTER DRIVE
                 CHICAGO, IL 60693


                 ATLANTIC TRACK AND TURNOUT CO.
                 P.O. BOX 827234
                 PHILADELPHIA, PA 19182-7234


                 ATSI ENGINEERING SERVICES
                 415 COMMERCE DRIVE
                 AMHERST, NY 14228


                 Auburn Filtersense LLC
                 800 Cummings Center
                 Beverly, MA 01915


                 AUBURN FILTERSENSE LLC
                 800 CUMMINGS CENTER
                 SUITE 355W
                 BEVERLY, MA 01915


                 AUGUST FEINE & SONS COMPANY
                 PO BOX 1069
                 BUFFALO, NY 14220-8069


                 AURORA PICTURES INC
                 5249 CHICAGO AVE
                 MINNEAPOLIS, MN 55417


                 AURORA SYSTEMS, INC.
                 400 LUDINGTON STREET
                 BUFFALO, NY 14202


                 AURORA SYSTEMS, INC.
                 2117 OLD UNION ROAD
                 CHEEKTOWAGA, NY 14227


                 AUSMUS CORPORATION
                 PO BOX 633
                 WILLIAMSVILLE, NY 14221


Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 33 of 271
                 Ausmus Logistics LLC



                 AUSMUS LOGISTICS LLC
                 P.O. BOX 633
                 WILLIAMSVILLE, NY 14231


                 AUTOMATIC DATA PROCESSING
                 P O BOX 901006
                 LOUISVILLE, KY 40209-1006


                 AUTOMOTIVE INDUSTRY ACTION GROUP
                 26200 LAHSER ROAD
                 SUITE 200
                 SOUTHFIELD, MI 48034


                 AVAYA FINANCIAL SERVICES
                 P O BOX 93000
                 CHICAGO, IL 60673-3000


                 AVAYA, INC.
                 PO BOX 5332
                 NEW YORK, NY 10087-5332


                 AVINS FABRICATING COMPANY INC.
                 60 JOHN GLENN DRIVE
                 AMHERST, NY 14228


                 AXA EQUITABLE
                 DEFINED CONTRIBUTION SERVICES
                 PO BOX 8095 ACCT #91664433
                 BOSTON, MA 02266-8095


                 B & W HEAT TREATING CO. INC.
                 2780 KENMORE AVENUE
                 TONAWANDA, NY 14150-7775


                 B.C.H.S. PROJECT GRADUATION
                 ATTN: BONNIE PRATER
                 BOX 790 ONE OWLS NEST DRIVE
                 WAR, WV 24892


                 B.F.& D. SALES INC.
                 P.O. BOX 1148
                 CHARLTON CITY, MA 01508

Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 34 of 271
                 B.H. HEINRICH CONTROL SERVICES CORP.
                 6323 WEST TILEN ROAD
                 BOSTON, NY 14025


                 B.J. Muirhead Company, Inc.
                 115 Mid County Dr.
                 Orchard Park, NY 14127


                 B.J.MUIRHEAD COMPANY, INC.
                 115 MID COUNTY DRIVE
                 ORCHARD PARK, NY 14127


                 B.W. ROGERS CO.
                 P.O. BOX 569
                 AKRON, OH 44309


                 BACHARACH INC.
                 7300 INDUSTRIAL PARK
                 ROUTE 130 BUILDING 22
                 PENNSAUKEN, NJ 08110


                 BACHARACH, INC
                 PO BOX 106008
                 PITTSBURG, PA 15230-6008


                 BADGER ELECTRIC MOTOR INC
                 5000 S 2ND STREET
                 MILWAUKEE, WI 53207


                 BADGER METER
                 P.O. BOX 88223
                 MILWAUKEE, WI 53288-0223


                 BAILEY ELECTRIC MOTOR & PUMP SUPPLY INC
                 2186 MAIN ROAD
                 CORFU, NY 14036


                 Bailey Electric Motor & Pump Supply, Inc
                 2186 Main St.
                 Corfu, NY 14036


                 BAKER CORP.
                 P.O. BOX 843596
                 LOS ANGELES, CA 90084-3596


Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 35 of 271
                 Baker Corp. Buffalo
                 3725 Jeffrey Blvd.
                 Buffalo, NY 14219


                 BAKER PERFORMANCE TECHNOLOGIES
                 PO BOX 200213
                 HOUSTON, TX 77216-0213


                 BALL TOILET & SEPTIC SERVICE
                 S-3725 JEFFREY BLVD.
                 P.O. BOX 2072
                 BLASDELL, NY 14219


                 BANDAG TIRE RETREADERS OF BUFFALO INC.
                 202 WALDEN AVE
                 BUFFALO, NY 14211-2204


                 BARNSTEAD-THERMOLYNE
                 PO BOX 96752
                 CHICAGO, IL 60693


                 BARRY AIR TOOL SALES
                 10650 CLOVERDALE
                 DETROIT, MI 48204


                 BASIL FORD
                 1540 WALDEN AVENUE
                 CHEEKTOWAGA, NY 14225


                 BATTERY POWER SYSTEMS INC.
                 6838 ELLICOTT DRIVE - SUITE 6
                 P.O. BOX 189
                 EAST SYRACUSE, NY 13057


                 BATTERY WAREHOUSE
                 2023 MILITARY ROAD
                 NIAGARA FALLS, NY 14304


                 BDO DUNWOODY LIMITED
                 25 MAIN STREET WEST
                 SUITE 805
                 HAMILTON, ONT L8P 1H1




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 36 of 271
                 BEACON LUBRICANTS INC
                 11170 EDINBORO ROAD
                 P.O. BOX 754
                 EDINBORO, PA 16412


                 BEACON LUBRICANTS INC.
                 11170 EDINBORO ROAD
                 P.O. BOX 754
                 EDINBORO, PA 16512


                 BECKER FARMS
                 3724 QUAKER ROAD
                 GASPORT, NY 14067


                 BECKWITH MACHINERY
                 5896 STATION ROAD
                 ERIE, PA 16510


                 BEE PULICATIONS, INC.
                 PO BOX 150
                 BUFFALO, NY 14231-0150


                 BELL ATLANTIC
                 PO BOX 15124
                 ALBANY, NY 12212-5124


                 BELL ATLANTIC
                 PO BOX 1100
                 ALBANY, NY 12250-0001


                 BELLE WAY SERVICE INC
                 PO BOX 3966
                 1705 S OLIVE STREET
                 SOUTH BEND, IN 46619-3966


                 BELLE WAY TRUCKING INC.
                 PO BOX 3966
                 1750 S.OLIVE STREET
                 SOUTH BEND, IN 46619


                 BELT MAINTENANCE & SUPPLY, INC.
                 240 SENECA STREET
                 BUFALO, NY 14204




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 37 of 271
                 BELT MAINTENANCE SYSTEMS
                 1049 MILITARY RD
                 BUFFALO, NY 14217


                 BEMA COMPANY
                 PO BOX 563
                 LEWISTON, NY 14092


                 BEMCO OF WESTERN NY, INC.
                 122 ROBERTS AVENUE
                 BUFFALO, NY 14206


                 Benchley Crane
                 158 Reading Ave.
                 Buffalo, NY 14220


                 BENCHLEY CRANE
                 P.O. BOX 220
                 FORESTVILLE, NY 14062


                 BENSONS SURGICAL SUPPLY
                 1025 KENMORE AVE
                 BUFFALO, NY 14217


                 BEST INDUSTRIAL RUBBER PRODUCTS, INC.
                 1965 SHERIDAN DRIVE
                 BUFFALO, NY 14233


                 BEST SAND CORPORATION
                 P.O. BOX 931707
                 CLEVELAND, OH 44193-1114


                 BETE FOG NOZZLE, INC.
                 50 GREENFIELD ST.
                 GREENFIELD, MA 01301


                 BETHLEHEM STEEL CORPORATION
                 PO BOX 98364
                 CHICAGO, IL 60693-8364


                 BIBBY STE CROIX
                 6200 RUE PRINCIPALE
                 SAINTE-CROIX, QC GOS 2HO



Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 38 of 271
                 BIDCO MARINE GROUP
                 201 GANSON STREET
                 BUFFALO, NY 14203


                 BIG TREE VOLUNTEER FIREMEN'S CO. INC.
                 4307 SOUTH PARK AVENUE
                 BLASDELL, NY 14219-2837


                 BIRD BARRIER AMERICA, INC
                 20925 CHICO STREET
                 CARSON, CA 90746


                 BISON AUTO & TRUCK SALES
                 1615 WILLIAM STREET
                 BUFFALO, NY 14206


                 BISON LABORATORIES,INC
                 100 LESLIE STREET
                 BUFFALO, NY 14211-1621


                 BISON SCAFFOLD &MASON SUPPLY, INC.
                 885 BAILEY AVE
                 BUFFALO, NY 14206


                 BISON STEEL, INC
                 2 MAIN STREET
                 DEPEW, NY 14043


                 BISON TRUCK PARTS,INC
                 489 WALDEN AVE
                 BUFFALO, NY 14211


                 BISON TURF EQUIPMENT INC
                 2800 KENMORE AVE
                 TONAWANDA, NY 14150


                 BLACK & DECKER U.S. INC.
                 881 WEST DELAVAN AVE.
                 BUFFALO, NY 14209


                 BLACKHAWK FOUNDRY
                 PO BOX 3527
                 DAVENPORT, IA 52808



Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 39 of 271
                 BLACKSTONE RESOURCES INC
                 176 BARNWOOD DRIVE
                 EDGEWOOD, KY 41017


                 BLANK ROME LLP
                 ONE LOGAN SQUARE
                 130 NORTH 18TH STREET
                 PHILADELPHIA, PA 19103-6998


                 BLOOM ENGINEERING COMPANY,INC.
                 LOCK BOX #200254
                 PITTSBURGH, PA 15251-0254


                 BLOOM REFRACTORY PRODUCTS
                 BOX 200327
                 PITTSBURGH, PA 15251-0327


                 BLOOMBERG BUSINESSWEEK
                 PO BOX 8426
                 RED OAK, IA 51591-1426


                 BLOSSOM HARDWARE
                 3200 TRANSIT ROAD
                 WEST SENECA, NY 14224


                 BLR
                 PO BOX 41503
                 NASHVILLE, TN 37201-1503


                 BLUE CROSS BLUE SHIELD OF WNY
                 PO BOX 80
                 BUFFALO, NY 14240-0080


                 BLUE CROSS OF WNY
                 1901 MAIN STREET
                 PO BOX 1331
                 BUFFALO, NY 14240-1331


                 BLUELINE TRUCKING, INC.
                 PO BOX 424
                 REESE, MI 48757


                 BMS NATURAL RESOURCES
                 PO BOX 128
                 MILTON, WV 25541

Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 40 of 271
                 BOBBY HOELSCHER TRUCKING
                 317 WINDY LANE
                 WARRENTON, MO 63383


                 Bobcat of Buffalo
                 6511 S. Transit Rd.
                 Lockport, NY 14094


                 BOBCAT OF BUFFALO
                 6511 SOUTH TRANSIT ROAD
                 LOCKPORT, NY 14094


                 BODMAN PLC
                 1901 ST. ANTOINE STREET
                 16th FLOOR at FORD FIELD
                 DETROIT, MI 48226


                 BOISE OFFICE SOLUTIONS
                 P.O. BOX 360755
                 PITTSBURGH, PA 15250-6755


                 BONES TRANSPORTATION
                 PO BOX 80
                 2643 KINGMAN RD
                 OTTAWA, KS 66067


                 BOS-HATTEN, INC.
                 227 THORN AVENUE
                 ORCHARD PARK, NY 14127-2682


                 BOSCH BRAKING SYSTEMS
                 401 NORTH BENDIX AVENUE
                 SOUTH BEND, IN 46634-4001


                 BOTTOM LINE BOOKS
                 PO BOX 361014
                 DES MOINES, IA 50336-1014


                 Boulevard Optical
                 55 Crosspoint Pkwy #120
                 Getzville, NY 14068




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 41 of 271
                 BOULEVARD OPTICAL INC.
                 55 CROSSPOINT PKWY.
                 SUITE 120
                 GETZVILLE, NY 14068-1615


                 BOY SCOUT TROOP 808
                 31 HILL STREET
                 TONAWANDA, NY 14150


                 BRAND NAME SALES, INC.
                 670 YOUNG STREET
                 TONAWANDA, NY 14150


                 BRANDEIS MACHINERY
                 DEPARTMENT 8013
                 CAROL STREAM, IL 60122-8013


                 BRANDEIS MACHINERY & SUPPLY COMPANY
                 DEPARTMENT 8013
                 CAROL STREAM, IL 60122-8013


                 BRANDT INSTRUMENTS, INC.
                 PO BOX 651111
                 CHARLOTTE, NC 26285-1111


                 BRAYMILLER MARKET INC
                 6936 GOWANDA STATE ROAD
                 HANBURG, NY 14075


                 BRIGHTS MECHANICAL SERVICES, INC.
                 PO BOX 125
                 GETZVILLE, NY 14068


                 BRIGHTS SYSTEM, INC.
                 PO BOX 137
                 N. TONAWANDA, NY 14120


                 Brights Systems, Inc.



                 Brights Systems, Inc.
                 PO BOX 137
                 NORTH TONAWANDA, NY 14120-0137



Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 42 of 271
                 BRIGHTS SYSTEMS, INC.
                 PO BOX 137
                 NORTH TONAWANDA, NY 14120


                 BRISTOL BABCOCK
                 1100 BUCKINGHAM STREET
                 WATERTOWN, CT 06795


                 BRISTOL BABCOCK, INC
                 1100 BUCKINGHAM STREET
                 WATERTOWN, CT 06795


                 BRITTANIC OCCUPATIONAL HEALTH SERVICES
                 2156A SHERIDAN DRIVE
                 KENMORE, NY 14223


                 BRITTANY INDUSTRIES, INC
                 222 IRONTON STREET
                 NORTH TONAWANDA, NY 14120


                 BROCKWAY & MANNILLO
                 120 DELAWARE AVENUE
                 SUITE #202
                 BUFFALO, NY 14202


                 BROCKWAY LAW OFFICES
                 3719 UNION ROAD
                 SUITE # 216
                 CHEEKTOWAGA, NY 14225


                 BROOKS MEDICAL
                 S-4481 LAKE SHORE ROAD
                 HAMBURG, NY 14075


                 BROWNIES UNIFORM COMPANY, INC
                 739 MAIN STREET
                 BUFFALO, NY 14203


                 BROWNING-FERRIS INDUSTRIES, BFI OF NY
                 PO BOX 830110
                 BALTIMORE, MD 21283-0110


                 BRUCE VOLKMAN
                 2660 GRIFFIN RD
                 CHURCHVILLE, NY 14428

Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 43 of 271
                 BRUTE SPRING
                 717 ELK STREET
                 BUFFALO, NY 14120


                 Brute Spring & Equipment Inc.
                 717 Elk St., #5
                 Buffalo, NY 14210


                 BRYON HARDIN CONSTRUCTION
                 3405 FOSTERS FERRY ROAD
                 TUSCALOOSA, AL 35401


                 BS & B SAFETY SYSTEMS, LLC
                 P.O. BOX 973042
                 DALLAS, TX 75397-3042


                 BUCHHEIT TRUCK SERVICE INC.
                 PO BOX 795012
                 ST. LOUIS, MO 63179-0795


                 BUCK & ASSOCIATES
                 4635 MOUNTAIN VIEW ROAD
                 SUITE 100
                 HARRISBURG, PA 17110


                 BUCKLEYSANDLER LLP
                 1250 24TH STREET, NW
                 SUITE 700
                 WASHINGTON, DC 20037


                 BUCKPITT & COMPANY INC.
                 P.O. BOX 30292
                 ROCHESTER, NY 14603-3292


                 BUCKPITT & COMPANY INC.
                 88 UNIVERSITY AVENUE
                 ROCHESTER, NY 14605


                 BUD'S TRUCKS & REPAIR
                 930 SILVERNAIL ROAD
                 PEWAUKEE, WI 53072


                 BUFF-PAC
                 144 URBAN STREET @KEHR
                 BUFFALO, NY 14211

Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 44 of 271
                 BUFFALO & ERIE COUNTY REG. DEVEL. CORP.
                 275 OAK ST.
                 BUFFALO, NY 14203


                 BUFFALO & PITTSBURGH RAILROAD
                 PO BOX 295
                 ALBANY, NY 12201


                 BUFFALO BACK NECK PT
                 1060 NIAGARA FALLS BLVD, SUITE 5
                 TONAWANDA, NY 14150


                 BUFFALO BAG COMPANY
                 1807 ELMWOOD AVE
                 SUITE 108
                 BUFFALO, NY 14207


                 BUFFALO BEARING INC.
                 PO BOX 780
                 BUFFALO, NY 14207-0780


                 Buffalo Bearings, Inc.
                 1175 Military Road
                 Buffalo, NY 14217


                 BUFFALO BEARINGS, INC.
                 1175 MILITARY RD.
                 BUFFALO, NY 14217


                 BUFFALO BILLS
                 1 BILLS DRIVE
                 ORCHARD PARK, NY 14127


                 BUFFALO BUSINESS FIRST
                 PO BOX 36919
                 CHARLOTTE, NC 28236-9904


                 BUFFALO CARTAGE COMPANY
                 PO BOX 322
                 CHEEKTOWAGA, NY 14225


                 BUFFALO CHAPTER JSEC
                 PO BOX 187
                 BUFFALO, NY 14201-0187


Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 45 of 271
                 BUFFALO CRUSHED STONE, INC.
                 2544 CLINTON STREET
                 PO OX 710
                 BUFFALO, NY 14224


                 BUFFALO CRUSHED STONE, INC.
                 500 COMO PARK BLVD.
                 BUFFALO, NY 14227


                 BUFFALO EMERGENCY ASSOCIATES, LLC
                 PO BOX 740021
                 CINCINNATI, OH 45274-0021


                 BUFFALO ERGONOMICS & REHABILITATION
                 SERVICES
                 820 KENMORE AVE
                 BUFFALO, NY 14216


                 BUFFALO FAMILY PRACTICE MEDICAL ASSOC.
                 112 OLEAN STREET
                 SUITE #220
                 EAST AURORA, NY 14052-2518


                 BUFFALO FINISHING WORKS, INC
                 582 WINSLOW AVE
                 BUFFALO, NY 14211


                 BUFFALO FUEL CORPORATION
                 4870 PACKARD ROAD
                 NIAGARA FALLS, NY 14304


                 BUFFALO GAUGE, INC.
                 4252 RIDGE LEA ROAD
                 BUFFALO, NY 14226


                 BUFFALO GENERAL HOSPITAL
                 100 HIGH STREET
                 BUFFALO, NY 14203


                 BUFFALO HYDRAULIC JACK SERVICE, INC.
                 488 WALDEN AVENUE
                 BUFFALO, NY 14211




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 46 of 271
                 BUFFALO INDUSTRIAL CHEMICALS, INC.
                 P.O. BOX 664
                 871 RIVER ROAD
                 NORTH TONAWNADA, NY 14120


                 BUFFALO INTERNAL MEDICINE
                 DEPARTMENT #888
                 PO BOX 8000
                 BUFFALO, NY 14267


                 BUFFALO MACHINING & WELDING, INC.
                 10 ROBERTS AVENUE
                 BUFFALO, NY 14206


                 BUFFALO MAGAZINE
                 377 MAIN STREET
                 EAST AURORA, NY 14052


                 BUFFALO MAGAZINE, INC.
                 377 MAIN STREET
                 EAST AURORA, NY 14052


                 BUFFALO MEDICAL GROUP P.C.
                 DEPARMENT 315
                 PO BOX 8000
                 BUFFALO, NY 14267-0001


                 BUFFALO NIAGARA HUMAN RESOURCE ASSOC.
                 PO BOX 434
                 NORTH TONAWANDA, NY 14120


                 BUFFALO NIAGARA PARTNERSHIP
                 665 MAIN ST
                 SUITE 200
                 BUFFALO, NY 14203


                 BUFFALO NIAGARA PARTNERSHIP MAP PROJECT
                 PO BOX 6903
                 16 SPIRAL DRIVE, SUITE 100
                 FLORENCE, KY 41022-6903


                 BUFFALO NIAGARA PAYROLL ASSOCIATION
                 P.O. BOX 672
                 AMHERST, NY 14226



Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 47 of 271
                 BUFFALO PARTY RENTAL
                 CONTRACT# 157423
                 1999 WILLIAM STREET
                 BUFFALO, NY 14206-2413


                 BUFFALO PHYSICAL THERAPY
                 3155 EGGERT ROAD
                 TOWN OF TONAWANDA, NY 14150


                 BUFFALO PRINTING
                 PO BOX 508
                 CLARENCE, NY 14031


                 BUFFALO QUICK DELIVERY & STORAGE, INC.
                 1868 NIAGARA FALLS BOULEVARD
                 TONAWANDA, NY 14150


                 BUFFALO REHAB GROUP
                 2100 UNION ROAD
                 WEST SENECA, NY 14224


                 BUFFALO SOUTHERN RAILROAD
                 8600 DEPOT STREET
                 EDEN, NY 14057


                 BUFFALO SPRING & EQUIPMENT COMPANY
                 1765 WALDEN AVENUE
                 CHEEKTOWAGA, NY 14225


                 BUFFALO TIME CLOCK INC
                 2468 NIAGARA FALLS BLVD
                 SUITES 8 & 9
                 TONAWANDA, NY 14150


                 BUFFALO TRANSFER CORP.
                 P.O. BOX 72
                 BOWMANSVILLE, NY 14026


                 BUFFALO TRANSFORMER
                 75 INNSBUCK DRIVE
                 BUFFALO, NY 14227


                 BUFFALO TRANSPORT COMPANY, INC.
                 PO BOX 156
                 BUFFALO, NY 14213

Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 48 of 271
                 BUFFALO VALVE & FITTING COMPANY, INC.
                 PO BOX 339
                 CLARENCE, NY 14301


                 BUFFALO WELDING SUPPLY COMPANY INC.
                 396 GRAND ISLAND BLVD.
                 TONAWANDA, NY 14150


                 BUFFALO WIRE WORKS COMPANY, INC.
                 PO BOX 1239
                 BUFFALO, NY 14240


                 BUFFALO XEROGRAPHIX
                 33 PEUQUET PARKWAY
                 TONAWANDA, NY 14150


                 BUFFALO ZOO
                 300 PARKSIDE AVE
                 BUFFALO, NY 14214


                 BUFFNET
                 10 CENTER ROAD
                 WEST SENECA, NY 14224


                 BUILDING CONTROLS & SERVICES, INC.
                 P.O. BOX 8000
                 DEPT. 084
                 BUFFALO, NY 14267


                 BUREAU OF BUSINESS PRACTICE
                 PO BOX 70845
                 CHICAGO, IL 60673-0845


                 BUREAU OF NATIONAL AFFAIRS
                 PO BOX 64543
                 BALTIMORE, MD 21264


                 BURGH SCHOENENBERGER ASSOC
                 7070 TELEPHONE ROAD
                 PAVILION, NY 14525


                 BURNS CASCADE
                 PO BOX 1385
                 SYRACUSE, NY 13201-1385


Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 49 of 271
                 BUSINESS & LEGAL REPORTS
                 PO BOX 6001
                 141 MILL ROCK ROAD EAST
                 OLD SAYBROOK, CT 06475-6001


                 BUSINESS 21 PUBLISHING
                 453A BALTIMORE PIKE
                 SPRINGFIELD, PA 19064


                 Business Imaging Equipment, Inc.
                 999 Rein Road
                 Cheektowaga, NY 14225


                 BUYERS & KACZOR REPORTING SERVICES
                 1400 RAND BUILDING
                 14 LAFAYETTE SQUARE
                 BUFFALO, NY 14203


                 BW'S BARBECUE
                 5007 LAKE AVENUE
                 BLASDELL, NY 14219


                 BW/IP INTERNATIONAL INC. PUMP DIVISION
                 PO BOX 91329
                 CHICAGO, IL 60693


                 BXI CONSULTANTS
                 33 PERQUET PKWY
                 TONAWANDA, NY 14150


                 BXI Consultants Inc.
                 33 Peuquet Pkwy.
                 Tonawanda, NY 14150


                 BXI CONSULTANTS, INC.
                 33 PEUQUET PARKWAY
                 TONAWANDA, NY 14150


                 BYBLOS NIAGARA RESORT & SPA
                 100 WHITEHAVEN RD
                 GRAND ISLAND, NY 14072


                 BYP CONSULTING LLC
                 113 PRINCESS ST.
                 ALEXANDRIA, VA 22314

Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 50 of 271
                 BYPRO ENGINEERING, INC.
                 32 CLUB LANE
                 SUMMIT, NJ 07901


                 C J MULANIX COMPANY
                 9050 LAPP ROAD
                 CLARENCE CENTER, NY 14032


                 C J MULANIX COMPANY, INC.
                 2419 GULF TO BAY BLVD.
                 LOT 1316
                 CLEARWATER, FL 33765


                 C&H DISTRIBUTORS
                 22133 NETWORK PLACE
                 CHICAGO, IL 60673


                 C.B. FENTON GRAVEL
                 13439 LOVELL ROAD
                 CORRY, PA 16407


                 C.H. HEIST CORPORATION
                 PO BOX 8000
                 DEPARTMENT #149
                 BUFFALO, NY 14267


                 C.K. TRIVEDI, M.D., P.C.
                 PO BOX 1999
                 40 LAKE STREET
                 BLASDELL, NY 14219


                 CAGE GEAR & MACHINE LLC
                 1776 GATEWAY BLVD. SE
                 CANTON, OH 44707


                 CALFONEX PRODUCTS, INC.
                 121 ORCHARD STREET
                 PO BOX 407
                 WALDEN, NY 12586


                 CALIBRATED CHARTS CORP.
                 PO BOX 359
                 BATAVIA, NY 14021-0359




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 51 of 271
                 CALKINS TECHNICAL PRODUCTS
                 95 ALLIANCE DRIVE
                 ROCHESTER, NY 14623


                 CAMPBELL FOUNDRY COMPANY
                 ATTN: MARIA
                 800 BERGEN STREET
                 HARRISON, NJ 07029


                 CAMPUS LINC INC
                 25 JOHN GLENN DR
                 AMHERST, NY 14228


                 CANADIAN PACIFIC LTD.
                 DEPARTMENT 77043 AGENCY # 2999
                 PO BOX 77000
                 DETROIT, MI 48227-0043


                 CANADIAN RAIL ENTERPRISES
                 300 ST. SACREMENT
                 MONTREAL, QU H2Y 1X4


                 CAPITOL EQUIPMENT
                 523 SOUTH MAIN ST.
                 MECHANICVILLE, NY 12118


                 CAPP / USA
                 201 MARPLE AVENUE
                 CLIFTON HEIGHTS, PA 19018


                 CAPRIOTTO & SONS, INC.
                 3100 ABBOTT ROAD
                 ORCHARD PARK, NY 14127


                 CAR-BER TESTING SERVICES
                 2904 MOMENTUM PLACE
                 CHICAGO, IL 60674-6582


                 CARBON ACTIVATED CORPORATION
                 3774 LAKE SHORE ROAD
                 BUFFALO, NY 14219




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 52 of 271
                 CARBON MANAGEMENT INC.
                 260 RTES 202 & 31
                 LIBERTY COURT    SUITE 400
                 FLEMINGTON, NJ 08822


                 CARBTROL CORPORATION
                 955 CONNECTICUT AVE
                 SUITE 5202/AR DEPT.
                 BRIDGEPORT, CT 06607


                 CARDIOLOGY GROUP OF WNY
                 825 WHERLE DRIVE
                 WILLIAMSVILLE, NY 14221


                 CARDIOLOGY READING PANEL
                 207 COMMERCE DRIVE
                 AMHERST, NY 14228


                 CARMEN'S CATERING INC.
                 PO BOX 172
                 WEST SENECA, NY 14224


                 CARQUEST AUTO PARTS
                 P.O. BOX 404875
                 ATLANTA, GA 30384-4875


                 CARRIER CONTROLS
                 P.O. BOX 275
                 SPRINGVILLE, NY 14141


                 Cartridge World of Buffalo
                 3859 Union Road, Suite 300
                 Cheektowaga, NY 14225


                 CARUSO CHIROPRACTIC
                 2577 SHERIDAN DRIVE
                 TONAWANDA, NY 14150


                 CASEY'S TRUCK SALVAGE WORLD, INC.
                 5651 TRANSIT ROAD
                 P.O. BOX 29
                 DEPEW, NY 14043-0029




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 53 of 271
                 CASH REALTY & AUCTIONS
                 1295 MAIN STREET
                 BUFFALO, NY 14209


                 CASTEXPO HOUSING BUREAU
                 #1 METROPOLIAN SQUARE
                 SUITE 1100
                 ST. LOUIS, MO 63102-0035


                 CAYUGA INDUSTRIAL MACHINES
                 50 WALLACE AVE.
                 AUBURN, NY 13021


                 CCH INCORPORATED
                 PO BOX 4307
                 CAROL STREAM, IL 60197-4307


                 CELLULAR ONE
                 PO BOX 4050
                 BUFFALO, NY 14240-4050


                 CENTRAL ANALYTICAL LABORATORIES
                 P.O. BOX 62600
                 DEPARTMENT 1239
                 NEW ORLEANS, LA 70162-2600


                 CENTRAL BUSINESS SYSTEMS
                 285 KENMORE AVE
                 BUFFALO, NY 14223


                 CHAD ROBERTSON CONTRACTING CORPORATION
                 234 12TH STREET
                 NIAGARA FALLS, NY 14303


                 CHAFFE-WARD CORPORATION
                 PO BOX 237
                 10838 STEINER ROAD
                 CLARENCE, NY 01403-1237


                 CHAMBERLIN RUBBER COMPANY
                 QUEEN CITY DIVISION
                 PO BOX 22700
                 ROCHESTER, NY 14692-2700




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 54 of 271
                 CHAMPION CHISEL WORKS, INC.
                 804 E. 18th ST.
                 ROCK FALLS, IL 61071


                 CHANDLER ENGINEERING COMPANY LLP
                 PO BOX 297134
                 HOUSTON, TX 77297


                 CHAPMAN FREIGHT SERVICE
                 3968 FREMAR ROAD
                 PO BOX 547
                 LANCASTER, OH 43130


                 CHARLES FREEMAN CO INC
                 3527 HARLEM RD
                 BUFFALO, NY 14225


                 CHARLES LETTS (CANADA) LIMITED
                 1885 CLEMENTS RD UNIT 239
                 REG# R100923358
                 PICKERING, ON L1W 3V4


                 CHARLES S. NARASI M.D.
                 2545 SHERIDAN DRIVE
                 TONAWANDA, NY 14150


                 CHARLEY'S FRONTIER SERVICE
                 666 TIFT STREET
                 BUFFALO, NY 14220


                 CHASE INVESTIGATIONS INTERNATIONAL LTD
                 3140 SHERIDAN DR, SUITE 211
                 BUFFALO, NY 14226


                 CHAUTAUQUA FIBERGLASS & PLASTICS, INC.
                 80 CANAL STREET
                 SHARPSVILLE, PA 16150


                 Chemical Distributors, Inc.



                 CHEMICAL DISTRIBUTORS, INC.
                 80 METCALFE STREET
                 BUFFALO, NY 14206


Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 55 of 271
                 CHEMICAL DISTRIBUTORS.INC.
                 80 METCALFE STREET
                 BUFFALO, NY 14206


                 CHEMICAL WASTE MANAGEMENT, INC.
                 PO BOX 840606
                 DALLAS, TX 75284-0606


                 CHEMPOINT.COM, INC.
                 411 108TH AVE NE
                 BELLEVUE, WA 98004


                 CHEMSW
                 420 F EXECUTIVE COURT N
                 FAIRFIELD, CA 94585


                 CHEMTREC REGISTRATION
                 ACCOUNTS RECEIVABLE
                 PO BOX 791383
                 BALTIMORE, MD 21279-1383


                 Chiampou Travis Besaw & Kerschner LLP



                 Chiampou Travis Besaw & Kerschner LLP
                 45 BRYANT WOODS NORTH
                 AMHERST, NY 14228


                 CHIAMPOU TRAVIS BESAW & KERSHNER LLP
                 45 BRYANT WOODS NORTH
                 AMHERST, NY 14228


                 CHICAGO BLOWER CORPORATION
                 DEPT. 77-3269
                 CHICAGO, IL 60678-3269


                 CHICAGO FIRE BRICK COMPANY
                 2700 SCIOTO PARKWAY
                 COLUMBUS, OH 43221


                 CHILTON BOOK COMPANY
                 PO BOX 8528-120
                 PHILADELPHIA, PA 19171



Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 56 of 271
                 CHOPRA-LEE INC.
                 1815 LOVE ROAD
                 GRAND ISLAND, NY 14072


                 CHOPRA-LEE INC.
                 PO BOX 567
                 GRAND ISLAND, NY 14072


                 CHRISTIAN J PERRY
                 310 BERWIN PLACE
                 MUNROE FALLS, OH 44262


                 CHRISTOPHER KOCH
                 52 SUNNY MILL LANE
                 ROCHESTER, NY 14626-4440


                 CHUCK BELLINGER
                 51 FOX HUNT RD
                 LANCASTER, NY 14086


                 CHUCKS WELDING REPAIR SERVICE, INC.
                 259 BUSTI AVENUE
                 BUFFALO, NY 14201


                 CHUDY PAPER COMPANY, INC.
                 930 BAILEY AVENUE
                 BUFFALO, NY 14206


                 CINGULAR WIRELESS
                 PO BOX 537104
                 ATLANTA, GA 30353-7104


                 CINGULAR WIRELESS
                 P O BOX 17496
                 BALTIMORE, MD 21297-1496


                 CINGULAR WIRELESS
                 PO BOX 4050
                 BUFFALO, NY 14240-4050


                 CIR ELECTRICAL CONSTRUCTION CORP.
                 400 INGHAM AVE
                 BUFFALO, NY 14218



Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 57 of 271
                 CIR INDUSTRIAL AUTOMATION, INC.
                 400 INGHAM AVENUE
                 BUFFALO, NY 14218


                 CIT TECHNOLOGY FINANCING SERVICES, INC.
                 21146 NETWORK PLACE
                 CONTRACT #910-0081265-000
                 CHICAGO, IL 60673-1211


                 CITIZENS ENERGY GROUP
                 C/O JOHN SHELL, SUPT. OF ENGINEERING
                 2950 PROSPECT ST
                 INDIANAPOLIS, IN 46203


                 CITY ELECTRIC CO. INC.
                 P.O. BOX 1018
                 SYRACUSE, NY 13201-1018


                 City Electric Company, Inc.
                 910 Fashion Outlets Blvd.
                 Niagara Falls, NY 14304


                 CITY ELECTRIC COMPANY, INC.
                 PO BOX 1018
                 SYRACUSE, NY 13201-1018


                 CITY FENCE INC.
                 PO BOX 10
                 EAST AMHERST, NY 14051


                 CITY OF TONAWANDA POLICE DEPARTMENT
                 200 NIAGARA STREET
                 ATTN: DETECTIVE ROTH
                 TONAWANDA, NY 14150-1003


                 CLARCOR INDUSTRIAL AIR
                 LOCKBOX 13490 COLLECTIONS CENTER DRIVE
                 CHICAGO, IL 60693


                 CLARK AIR SYSTEMS
                 645 PERSONS STREET
                 EAST AURORA, NY 14052




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 58 of 271
                 CLARK ENTERPRISES, INC.
                 356 OLD RT. 8
                 GROVE CITY, PA 16127


                 CLARKLIFT OF BUFFALO INC.
                 1835 DALE ROAD
                 PO BOX 256
                 BUFFALO, NY 14225


                 CLAUS M. FICHTE M.D.
                 2400 PINE AVENUE
                 NIAGARA FALLS, NY 14301


                 CLAYTON B. OBERSHEIMER, INC
                 162 COLGATE AVE
                 BUFFALO, NY 14220


                 CLAYTON VROMAN
                 2098 ST ROUTE 149
                 FORT ANN, NY 12827


                 CLEAN HARBORS ENVIRONMENTAL SERVICES INC
                 1672 EAST HIGHLAND ROAD
                 TWINSBURG, OH 44087


                 CLEMENT COMMUNICATIONS INC
                 PO BOX 500
                 CONCORDVILLE, PA 19331-0500


                 CLEVELAND BROTHERS EQUIPMENT CO., INC.
                 P.O. BOX 417094
                 BOSTON, MA 02241-7094


                 CLEVELAND GEAR COMPANY, INC.
                 3249 EAST 80TH STREET
                 PO BOX 70100-T
                 CLEVELAND, OH 44190


                 CLIFTON STEEL COMPANY
                 2055 ENTERPRISE PARKWAY
                 TWINSBURG, OH 44087-2209


                 CLIFTON STEEL COMPANY
                 P.O. BOX 74278
                 CLEVELAND, OH 44194-4278

Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 59 of 271
                 CLIMATE CONTROL INC.
                 3085 SENECA STREET
                 BUFFALO, NY 14224-2648


                 CLIMAX LUBRICANTS & EQUIPMENT
                 P.O. BOX 5235
                 HOUSTON, TX 77262


                 CLUTCH ENGINEERING
                 PO BOX 327
                 CANTON, CT 06019-0327


                 CLYDE BERGEMANN EEC
                 7380 COCA COLA DRIVE
                 ANDOVER, MD 21076


                 CMI CAST PARTS, INC.
                 1500 FOURTH AVENUE
                 CADILLAC, MI 49601


                 COASTAL TRAINING TECHNOLOGIES
                 PO BOX 2000
                 CAROL STREAM, IL 60132-2000


                 COLDEN HILLS, INC.
                 204 LARKIN STREET
                 BUFFALO, NY 14210


                 COLE MEDIA INC.
                 306 WEST AVENUE
                 LOCKPORT, NY 14094


                 COLGATE INDUSTRIES
                 142 COLGATE AVENUE
                 BUFFALO, NY 14220


                 COLIP ELECTRIC COMPANY
                 714 EAST LASALLE AVENUE
                 PO BOX 84O
                 SOUTH BEND, IN 46624


                 COLIP ELECTRIC COMPANY INC
                 PO BOX 840
                 SOUTHBEND, IN 46624


Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 60 of 271
                 COLLINS PIPE & SUPPLY, INC.
                 11 THOMPSON RD.
                 P.O. BOX 1053
                 EAST WINDSOR, CT 06088


                 COMAIRCO EQUIPMENT INC.
                 240 FRENCH ROAD
                 BUFFALO, NY 14227


                 COMAIRCO EQUIPMENT INC.
                 3250 UNION ROAD
                 BUFFALO, NY 14227


                 COMM-OMNI INTERNATIONAL, INC.
                 200 INDUSTRIAL PARKWAY
                 PO BOX 473
                 CHAGRIN FALLS, OH 44022


                 COMMERCIAL PRINT & IMAGING
                 3034 GENESEE STREET
                 BUFFALO, NY 14225


                 COMMERCIAL TESTING & ENGINEERING CO.
                 PO BOX 641127
                 PITTSBURGH, PA 15264-1127


                 COMMERCIAL TESTING & ENGINEERING CO.
                 PO BOX 2502
                 CAROL STREAM, IL 60132-2502


                 COMMISSIONER OF AGRICULTURE & MARKETS
                 BUREAU OF WEIGHTS & MEASURES
                 10B AIRLINE DRIVE
                 ALBANY, NY 12235


                 COMMISSIONER OF ENVIRONMENTAL CONSERV.
                 REGIONAL ATTORNEY - NYSDEC
                 270 MICHIGAN AVENUE
                 BUFFALO, NY 14203


                 COMMISSIONER OF MOTOR VEHICLES
                 207 GENESEE ST, SUITE 6
                 UTICA, NY 13501-5899




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 61 of 271
                 COMMISSIONER OF NYSDEC
                 BUREAU OF PROGRAM MANAGEMENT
                 625 BROADWAY, 12th FLOOR
                 ALBANY, NY 12233-7012


                 COMMISSIONER OF TAXATION & FINANCE
                 RPC-HAZARDOUS WASTE
                 WA HARRIMAN CAMPUS
                 ALBANY, NY 12227-0863


                 COMMONWEALTH EQUIPMENT CORPORATION
                 36 HAZLETON STREET
                 ASHLEY, PA 18706


                 COMPANY HEALTH
                 1173 SHERIDAN DRIVE
                 TONAWANDA, NY 14150


                 COMPASS POINT RESOURCES LLC
                 110 INTERSTATE SQUARE
                 4230 STATE ROUTE 306
                 WILLOUGHBY, OH 44094-9272


                 COMPLIANCE MANAGEMENT INC.
                 85 GREAT ARROW AVENUE
                 BUFFALO, NY 14216


                 COMPUSERVE INCORPORATED
                 DEPARTMENT L-742
                 COLUMBUS, OH 43268-0742


                 Computer Search Corporation
                 331 John James Audubon Pkwy.
                 Buffalo, NY 14228


                 COMPUTER SUPPORT OF WNY, INC.
                 4554 BAILEY STREET
                 AMHERST, NY 14226


                 COMPUTERSEARCH CORP.
                 331 AUDUBON PARKWAY
                 BUFFALO, NY 14228




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 62 of 271
                 COMPUTERSEARCH CORPORATION
                 331 JOHN JAMES AUDUBON PARKWAY
                 AMHERST, NY 14228


                 COMTEC OF WNY, INC.
                 6310 SOUTH TRANSIT ROAD
                 LOCKPORT, NY 14094


                 CON-WAY FREIGHT INC.
                 P.O. BOX 5160
                 PORTLAND, OR 97208-5160


                 CON-WAY TRANSPORTATION SERVICES
                 PO BOX 642080
                 PITSBURGH, PA 15264-2080


                 CON-WAY TRANSPORTATION SERVICES INC.
                 PO BOX 642080
                 PITTSBURGH, PA 15264-2080


                 CONAM INSPECTION
                 194 INTERNATIONALE BLVD
                 GLENDALE HEIGHTS, IL 60139


                 CONCEPT MINING INC
                 640 CLOVER DEW DAIRY RD
                 PRINCETON, WV 24740


                 CONCRETE CUTTING & BREAKING, INC.
                 4025 WALDEN AVE.
                 LANCASTER, NY 14086


                 CONESTOGA-ROVERS & ASSOCIATES
                 LOCKED BOX 93083
                 CHICAGO, IL 60673-3083


                 CONESTOGA-ROVERS & ASSOCIATES, INC.
                 DEPARTMENT 406
                 PO BOX 8000
                 BUFFALO, NY 14267


                 CONGRESS FINANCIAL CORPORATION
                 ONE POST OFFICE SQUARE
                 SUITE 3600
                 BOSTON, MA 02109

Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 63 of 271
                 CONNELL HEATING & COOLING
                 6759 WARD ROAD
                 WHEATFIELD, NY 14150


                 CONNOLLY BOVE LODGE & HUTZ LLP
                 THE NEMOURS BUILDING
                 1007 N. ORANGE ST. PO BOX 2207
                 WILMINGTON, DE 19899


                 CONNORS & VILARDO, LLP
                 1020 LIBERTY BUILDING
                 420 MAIN STREET
                 BUFFALO, NY 14202


                 CONSOLIDATED DELIVERY & LOGISTICS, INC.
                 NORTHEAST DIVISION
                 PO BOX 18282
                 NEWARK, NJ 07191


                 CONSOLIDATED FREIGHTWAYS
                 PO BOX 641939
                 PITTSBURGH, PA 15264-1939


                 CONSOLIDATED RAIL CORPORATION
                 PO BOX 641186
                 PITTSBURGH, PA 15264-1186


                 CONSOLIDATION COAL COMPANY
                 PO BOX 643391
                 PITTSBURGH, PA 15264-3391


                 Constellation New Energy, Inc.



                 CONSTELLATION NEW ENERGY, INC.
                 P.O. BOX 4640
                 CAROL STREAM, IL 60197-4640


                 CONSTRUCTION SHANTY RENTAL COMPANY
                 2756 TRANSIT ROAD
                 WEST SENECA, NY 14224


                 CONTI TESTING LABORATORIES, INC.
                 P.O. BOX 174
                 BETHEL PARK, PA 15102

Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 64 of 271
                 CONTINENTAL 1
                 651 MONTMORENCI AVENUE
                 RIDGWAY, PA 15853


                 CONTINENTAL DISC CORPORATION
                 PO BOX 956897
                 ST LOUIS, MO 63195-6897


                 CONTROL EQUIPMENT CORP.
                 PO BOX 45
                 MANLIUS, NY 13104-0045


                 CONTROL SERVICES
                 1911 STIRNIE ROAD
                 VICTOR, NY 14564


                 CONTROL SERVICES
                 763 DUCK HOLLOW
                 VICTOR, NY 14564


                 CONTROL SYSTEMS LABORATORIES
                 1501 KENSINGTON AVE
                 BUFFALO, NY 14215


                 CONVEYOR COMPONENTS COMPANY
                 130 SELTZER ROAD
                 PO BOX 167
                 CROSWELL, MI 48422-0167


                 CONVIBER INC.
                 PO BOX 301
                 SPRINGDALE, PA 15144-0301


                 COOK EQUIPMENT COMPANY
                 1155 LINCOLN ROAD
                 ALLEGAN, MI 49010


                 COOPER SIGN COMPANY
                 7350 PORTER ROAD
                 NIAGARA FALLS, NY 14304


                 COOPERHEAT-MOS, INC.
                 PO BOX 4437
                 HOUSTON, TX 77210-4437


Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 65 of 271
                 COOPERHEAT-MQS, INC.
                 135 LASALLE, DEPT 2790
                 CHICAGO, IL 60674-2790


                 Coopers Creek Chemical Corp.



                 COOPERS CREEK CHEMICAL CORP.
                 P.O. BOX 782915
                 884 RIVER ROAD
                 WEST CONSHOHOCKEN, PA 19428


                 COPES-VULCAN, INC.
                 PO BOX 406249
                 ATLANTA, GA 30384-6249


                 Corfu Machine Co.



                 CORFU MACHINE CO. INC.
                 1977 GENESEE ST
                 CORFU, NY 14036


                 CORROSION CONTROL, INC.
                 7455 S. DEWEY ROAD
                 AMHERST, OH 44001


                 CORROSION PRODUCTS & EQUIPMENT INC.
                 PO BOX 92185
                 ROCHESTER, NY 14692


                 CORROSION TECHNOLOGIES,INC.
                 70 LEDDY STREET
                 BUFFALO, NY 14210


                 CPI CONTROLS, INCORPORATED
                 2440 NORTH AMERICA DRIVE
                 WEST SENECA, NY 14224


                 CRAMER INDUSTRIAL SUPPLIES, INC.
                 PO BOX 13676
                 NEWARK, NJ 07188-0676




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 66 of 271
                 CRANESMART SYSTEMS INC.
                 4908 - 97th STREET NW
                 EDMONTON, AB T6E 5S1


                 Crawford Custom Consulting Inc.
                 11139 Cutter Rd.
                 Meadville, PA 16335


                 CRAWFORD CUSTOM CONSULTING INC.
                 11139 CUTTER RD.
                 MEADVILLE, PA 16336


                 CRAWFORD DOOR OF BUFFALO, INC.
                 1913 CLINTON STREET
                 BUFFALO, NY 14206


                 CRC MANUFACTURING INC
                 PO BOX 249
                 22955 MCAULIFFE DRIVE
                 ROBERTSDALE, AL 36565


                 CRC MANUFACTURING INC.
                 P.O. BOX 249
                 22955 MC AULISSE DRIVE
                 ROBERTSDALE, AL 36567


                 CREATIVE CONCEPTS OF WNY, LTD.
                 7641 SENECA STREET
                 EAST AURORA, NY 14052


                 CRESENT MANUFACTURING
                 8800 SOUTH MAIN STREET
                 P.O. BOX 159
                 EDEN, NY 14057


                 CRESENT MANUFACTURING
                 10285 EAGLE STREET
                 P.O. BOX 1500
                 NORTH COLLINS, NY 14111


                 CROWDER ENVIRONMENTAL ASSOCIATES, INC.
                 120 CHERRY CIRCLE
                 DYERSBURG, TN 38024




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 67 of 271
                 CROWDER ENVIRONMENTAL ASSOCIATES, INC.
                 6946 DOVE CREEK
                 WYLIE, TX 75098-7750


                 CROWN BATTERY MFG.CO
                 SLOT 302191
                 PO BOX 66973
                 CHICAGO, IL 60666-0973


                 CROWN COAL & COKE COMPANY
                 THREE PARKWAY CENTER
                 SUITE 375
                 PITTSBURGH, PA 15220-3635


                 CROWN TECHNOLOGY, INC.
                 PO BOX 50426
                 7513 E. 96TH STREET
                 INDIANAPOLIS, IN 46250-0426


                 CSX TRANSPORTATION
                 P.O. BOX 530181
                 ATLANTA, GA 03053-0181


                 CSX TRANSPORTATION
                 PO BOX 640839
                 PITTSBURGH, PA 01526-4083


                 CT DELONG, CIH
                 551 ORIENT AVE.
                 DUBOIS, PA 15801


                 CULLIGAN WATER CONDITIONING
                 PO BOX 201
                 TONAWANDA, NY 14151-0201


                 CUMBERLAND MASONRY INC
                 324 MARKET STREET
                 PO BOX 200
                 LEMOYNE, PA 17043


                 CUMMINS NORTHEAST, INC.
                 PO BOX 5326
                 BOSTON, MA 02206




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 68 of 271
                 CUMMINS NORTHEAST, INC.
                 480 LAWRENCE BELL DRIVE
                 WILLIAMSVILLE, NY 14221


                 CURTISS-WRIGHT FLOW CONTROL CORP.
                 PO BOX 360718
                 PITTSBURGH, PA 15251-6718


                 CURTISS-WRIGHT FLOW CONTROL CORP.
                 1966 E.BROADHOLLOW ROAD
                 P.O.BOX 379
                 FARMINGDALE, NY 11735-1768


                 CUSTOM CANVAS MFG. COMPANY INC.
                 775 SENECA STREET
                 BUFFALO, NY 14210-1487


                 CV SALES, INC.
                 P.O. BOX 237
                 4440 SHIMERVILLE ROAD
                 WILLIAMSVILLE, NY 14231-0237


                 CWM ENVIRONMENTAL CLEVELAND LLC
                 4450 JOHNSTON PWY.
                 UNIT B
                 CLEVELAND, OH 44128


                 CWM ENVIRONMENTAL CLEVELAND, LLC
                 ACCOUNT RECEIVABLE
                 4450 JOHNSTON PKWY - UNIT B
                 CLEVELAND, OH 44128


                 CYBER MEDIA
                 5200 GOLDEN FOOTHILL
                 PARKWAY #E
                 EL DORADO HILLS, CA 95762


                 D DONNELLY INC
                 900 VALOIS
                 VAUDREVIL-DORION, QC J7V 8P2


                 D&B
                 PO BOX 75434
                 CHICAGO, IL 60675-5434



Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 69 of 271
                 D&W DIESEL INC
                 1505 CLARK RD
                 AUBURN, NY 13021


                 D&W DIESEL INC.
                 1505 CLARK ST. RD.
                 AUBURN, NY 13021


                 D.L. THURROTT AIR
                 39976 TREASURY CENTER
                 CHICAGO, IL 60694-9900


                 DAFFODILS
                 930 MAPLE ROAD
                 WILLIAMSVILLE, NY 14221


                 DAILY EXPRESS INC.
                 PO BOX 39
                 CARLISLE, PA 17013


                 DAILY UNDERWRITERS OF AMERICA
                 A/S/O MARK GIBSON ATTN:VICKI WITTER
                 PO BOX 39
                 CARLISLE, PA 17013


                 DAKOTA FOUNDRY, INC.
                 20 PARK LANE
                 WEBSTER, SD 57274


                 DALE HOLLOBAUGH
                 1575 MOUNTAIN RUN RD
                 PENFIELD, PA 15849


                 DAMIAN HANTZ LOCOMOTIVE SERVICE
                 4166 SECOND AVENUE
                 PITTSBURGH, PA 15207


                 DAN'S AUTO INC
                 3154 B TOWNLINE RD
                 SANBORN, NY 14132


                 DANA CORPORATION
                 PO BOX 931
                 TOLEDO, OH 43697


Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 70 of 271
                 DANIEL BIFARO
                 124 BROOKWOOD DRIVE
                 HAMBURG, NY 14075


                 DANIEL CAMPIERIS
                 888 MAIN STREET
                 BUFFALO, NY 14202


                 DANIEL HOOLEY
                 362 WOODLIN AVENUE
                 NORTH TONAWANDA, NY 14120


                 DANIEL P. BEVELOK
                 4079 HARWOOD ROAD
                 BLASDELL, NY 14219


                 DANTRA ASSOCIATES
                 PO BOX 908
                 ORCHARD PARK, NY 14127


                 DARCOVA INC
                 PO BOX 20736
                 BILLINGS, MT 59104


                 DATA SOLUTIONS
                 715 WALNUT AVENUE
                 NORTH BEACH, MD 20714


                 DATASTREAM SYSTEMS, INC.
                 PO BOX 60678
                 CHARLOTTE, NC 28260


                 DATAWATCH CORPORATION
                 4 CROSBY DRIVE
                 BEDFORD, MA 01730


                 DAVE SCHNEIDER EQUIPMENT
                 2080 EHRMAN ROAD
                 CRANBERRY TWP, PA 16066


                 DAVE'S EXPRESS DELIVERY, INC.
                 10 DYKE RD
                 WEST SENECA, NY 14224



Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 71 of 271
                 DAVID A. CLARK
                 P.O. BOX 163
                 PIFFARD, NY 14533


                 DAVID CARRIER
                 DBA CARRIER CONTROLS
                 PO BOX 275
                 SPRINGVILLE, NY 14141


                 DAVID DAHLKE
                 4806 RT. 242 E.
                 ELLICOTVILLE, NY 14731


                 DAVID L ISON
                 10427 LINDZEY ROAD
                 CATLETTSBURG, KY 41229


                 DAVIS ELECTRIC SUPPLY, INC.
                 24 ANDERSON ROAD
                 CHEEKTOWAGA, NY 14225


                 DAVIS-ULMER SPRINKLER COMPANY
                 ONE COMMERCE DRIVE
                 AMHERST, NY 14228-2395


                 DAWN M. SZALWINSKI
                 56 ST. JOHNS PLACE
                 LACKAWANNA, NY 14218-2629


                 DAYCOM SYSTEM, INC,
                 5744 PACIFIC CENTER BLVD.
                 SAN DIEGO, CA 92121


                 DBM CONTROL DISTRIBUTORS
                 1277 MILITARY ROAD
                 PO BOX B
                 BUFFALO, NY 14217-0306


                 DBR SYSTEMS,LLC
                 PO BOX 493
                 HELENA, AL 35080


                 DE LAGE LANDEN
                 PO BOX 41602
                 PHILADELPHIA, PA 19101-1602

Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 72 of 271
                 DE LAGE LANDEN FINANCIAL SERVICES
                 P.O. BOX 41602
                 PHILADELPHIA, PA 19101-1602


                 De Lage Landen Financial Services Inc.
                 3450 Superior Court, Unit 1
                 Canada
                 L6L 0C4
                 Oakville


                 De Lage Landen Financial Services Inc.
                 3450 Superior Court, Unit 1
                 Oakville, ON L6L 0C4


                 DE LAGE LANDEN FINANCIAL SERVICES, INC.
                 P.O. BOX 41602
                 PHILADELPHI, PA 19101-1602


                 DEACON INDUSTRIAL
                 7 EAST COMMONS BLVD.
                 NEW CASTLE, DE 19720


                 DeANGELO BROTHERS INCORPORATED
                 100 N.CONAHAN DRIVE
                 HAZELTON, PA 18201


                 DEBILLIS CATHERINE MORREALE
                 CENTERPOINTE CORPORATE PARK
                 350 ESSJAY ROAD,SUITE 302
                 WILLIAMSVILLE, NY 14221


                 DECKER STEEL & SUPPLY, INC.
                 1625 ASH STREET
                 ERIE, PA 16503


                 DEGRAFF MEMORIAL HOSPITAL
                 PO BOX 3180
                 BUFFALO, NY 14240


                 DELAWARE A-V DISTRIBUTORS
                 1517 KENMORE AVE
                 KENMORE, NY 14217




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 73 of 271
                 DELAWARE AUDIO VISUAL, INC.
                 PO BOX 191
                 KENMORE, NY 14217


                 DELOITTE & TOUCHE LLP
                 DEPARTMENT 77393
                 PO BOX 77000
                 DETROIT, MI 48277-0393


                 DELRAY CONNECTING RAILROAD COMPANY
                 PO BOX 77741
                 DETROIT, MI 48227-0741


                 DELRAY MECHANICAL CO
                 7236 W JEFFERSON
                 DETROIT, MI 48209


                 DELTA STAR, INC.
                 P.O. BOX 10429
                 3550 MAYFLOWER DRIVE
                 LYNCHBURG, VA 24506-7089


                 DENNIS KENNEY
                 PO BOX 283
                 GRAND ISLAND, NY 14072


                 DENNIS LAURICELLA
                 6292 WEBSTER ROAD
                 ORCHARD PARK, NY 14127


                 DENNIS TRANSPORT INC
                 112 RONSWAY RD
                 POLK, PA 16342


                 DENT NEUROLOGIC GR PC
                 1630 MAPLE ROAD
                 WILLIAMSVILLE, NY 14221


                 DEPAOLO-CROSBY REPORTING SERVICE, INC.
                 197 DELAWARE AVENUE
                 BUFFALO, NY 14202-2102




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 74 of 271
                 DEPARTMENT OF STATE
                 DIVISION OF CORPORATIONS
                 99 WASHINGTON AVE
                 ALBANY, NY 12231-0001


                 DERONDE PRODUCTS, LLC
                 200 CORNWALL AVENUE
                 BUFFALO, NY 14215


                 DESIGN & SIGNS
                 PO BOX 11074
                 ERIE, PA 16514


                 DETROIT BULK STORAGE, INC.
                 PO BOX 18241
                 RIVER ROUGE, MI 48128


                 DETROIT COKE CORPORATION
                 PO BOX 2469
                 SOUTHFIELD, MI 48037-2469


                 DeZURIK / COPES-VULCAN, INC.
                 PO BOX 406249
                 ATLANTA, GA 30384-6249


                 DEZURIK, A UNIT OF GENERAL SIGNAL
                 PO BOX 277882
                 ATLANTA, GA 30384-7882


                 DHL GLOBAL FORWARDING
                 16592 COLLECTIONS CTR DR
                 CHICAGO, IL 60693


                 DIAMOND POWER INTERNATIONAL, INC.
                 PO BOX 643966
                 PITTSBURGH, PA 15264-3966


                 DIANE'S FLORAL INC
                 3445 NIAGARA FALLS BLVD
                 SUITE 102
                 NORTH TONAWANDA, NY 14120




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 75 of 271
                 DIESEL & AUTO ELECTRIC
                 PO BOX 671
                 22 MAIN STREET
                 NORTH TONAWANDA, NY 14120


                 DIESEL & AUTO ELECTRIC
                 33 PAYNE AVE.
                 NORTH TONAWANDA, NY 14120


                 DILTS PISTON HYDRAULICS, INC
                 10 CUSHMAN ROAD
                 ST. CATHARINES, ON L2M 6S8


                 DIRECT ENERGY BUSINESS
                 PO BOX 70220
                 PHILADELPHIA, PA 19176-0220


                 DISABILITY MANAGEMENT ASSOCIATES
                 92 CHATEAU TERRACE
                 SNYDER, NY 14226


                 DISBROWE PONTIAK BUICK
                 39734 FINGAL LINE
                 ST THOMAS, ON N5P4EG


                 DISCOVERY WORKS LEGAL INC
                 57 E. 11TH STREET
                 2ND FLOOR
                 NEW YORK, NY 10003


                 DIV. OF BWE, LLC A BRENNTAG COMPANY
                 42 RUMSEY RD.
                 EAST HARTFORD, CT 06108


                 Dival Safety Equipment, Inc.



                 DIVAL SAFETY EQUIPMENT, INC.
                 1721 NIAGARA STREET
                 BUFFALO, NY 14207


                 DIVERSE TECHNOLOGIES, INC.
                 7377 TONAWANDA CREEK RD
                 LOCKPORT, NY 14094


Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 76 of 271
                 DIVERSIFIED HAULERS
                 PO BOX 369
                 MANTUA, OH 44255


                 DJ ORTHOPEDICS
                 PO BOX 515471
                 LOS ANGELES, CA 16771


                 DMAA THE CARE CONTINUUM ALLIANCE
                 701 PENNSYLVANNIA AVE NW
                 SUITE 700
                 WASHINGTON, DC 20004


                 DOBMEIER JANITOR SUPPLY, INC.
                 354 ENGLEWOOD AVENUE
                 BUFFALO, NY 14223-2806


                 DOBMEIER LIFT TRUCKS, INC.
                 620 ONTARIO STREET
                 BUFFALO, NY 14207


                 DOL-OSHA
                 130 S. ELMWOOD AVE.
                 SUITE 500
                 BUFFALO, NY 14202-2465


                 DON EISMAN
                 406 KELLY LANE
                 CRYSTAL LAKE, IL 60012


                 DON HURLEY
                 224 CHAPEL ROAD
                 EAST VERNSTADT, KY 40729


                 DON'S WELDING SERVICE, INC.
                 6110 TRANSIT ROAD
                 DEPEW, NY 14043-1598


                 DONALD J BROWN PT DPT PLLC
                 111 WALES AVE
                 TONAWANDA, NY 14150


                 DONALD J VITE TRUCKING
                 RD #1 201 A
                 ROSSITER, PA 15772

Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 77 of 271
                 DONNELLY DIESEL SERVICE
                 25 DINGENS STREET
                 BUFFALO, NY 14206-2391


                 DOORWAY RUG SERVICE, INC.
                 228 SHERIDAN AVENUE
                 BUFFALO, NY 14211


                 Doritex Corporation



                 DORITEX CORPORATION
                 11980 WALDEN AVENUE
                 ALDEN, NY 14004


                 DORITEX CORPORATION
                 11075 WALDEN AVENUE
                 ALDEN, NY 14004-9616


                 DOUBLE S EQUIPMENT
                 12099 WILLISTON ROAD
                 EAST AURORA, NY 14052


                 DOUBLE S EQUIPMENT, LLC
                 12899 WILLISTON ROAD
                 EAST AURORA, NY 14052


                 DOUG SARGENT LLC
                 7402 TONAWANDA CREEK RD
                 LOCKPORT, NY 14094-9041


                 DOUG SARGENT,LLC/SARGENT ROOFING
                 7402 TONAWANDA CREEK RD.
                 LOCKPORT, NY 14094-9041


                 DOWD BATTERY CO. INC.
                 1571 BRONSON ROAD
                 GRAND ISLAND, NY 14072


                 DOX ELECTRONICS, INC.
                 105 COLLEGE AVENUE
                 ROCHESTER, NY 14607




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 78 of 271
                 DOYLE EQUIPMENT MFG CO.
                 4001 BROADWAY
                 QUINCY, IL 62305-3024


                 DR OTTO & CO.
                 POSTFACH 4811850
                 463 BOCHUM
                 CHRISTSTRASSE 9, GERMANY


                 DR. H JOE KIM
                 549 FOURTH STREET
                 NIAGARA FALLS, NY 14301


                 DR. JAMES R. MCDONNELL
                 281 MT. VERNON DRIVE
                 AMHERST, NY 14226-4628


                 DRESSER-RAND
                 PO BOX 7777-W5405
                 PHILADELPHIA, PA 19175


                 DRESSER-RAND COMPANY
                 P.O. BOX 7247-6149
                 PHLADELPHIA, PA 19170-6149


                 DREW CHEMICAL CORPORATION
                 PO BOX 371790M
                 PITTSBURGH, PA 15251


                 DRINKER BIDDLE & REATH LLP
                 ONE LOGAN SQUARE, STE 2000
                 PHILADELPHIA, PA 19103-6996


                 DRUM OIL AND PROPANE
                 8776 ROCHESTER ROAD
                 GASPORT, NY 14067


                 DRUMMOND COMPANY INC
                 PO BOX 11407
                 ATTN: JIM LASTINGER
                 BIRMINGHAM, AL 35246-0241


                 DU-ALL FINISHING
                 53 HOPKINS STREET
                 BUFFALO, NY 14220

Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 79 of 271
                 DUALEX OFFICE PRODUCTS
                 2531 UNION ROAD
                 BUFFALO, NY 14227


                 DUANE FISCUS
                 6060 HERR ROAD
                 CLARENCE CENTER, NY 14032


                 DUCKS UNLIMITED INC
                 1220 EISENHOWER PLACE
                 ANN ARBOR, MI 48108


                 DUGGAN'S TRUCKING, INC.
                 1502 NIAGARA STREET
                 BUFFALO, NY 14213-1104


                 DUKE, HOLZMAN, PHOTIADIS & GRESENS LLP
                 701 SENECA STREET
                 SUITE 750
                 BUFFALO, NY 14210


                 DUNDAS REAL MCCOYS
                 % MCCOY FOUNDRY COMPANY
                 1890 HWY #5 WEST
                 TROY, ONTARIO, CANADA, ON L0R 2BO


                 DWYER INSTRUMENTS, INC.
                 PO BOX 338
                 MICHIGAN CITY, IN 46361


                 DYNAMIC CONTROL SOLUTIONS
                 P.O. BOX 40
                 AMHERST, NY 14228


                 DYNAMICS RESEARCH CORP.
                 PO BOX 355
                 ELYRIA, OH 44036


                 E & R INDUSTRIAL SALES, INC.
                 16294 COLLECTION CENTER
                 CHICAGO, IL 60693


                 E 3 COMMUNICATIONS
                 551 FRANKLIN STREET
                 BUFFALO, NY 14202

Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 80 of 271
                 E J PRESCOTT, INC
                 PO BOX 710308
                 CINCINNATI, OH 45271-0308


                 E-CONOLIGHT
                 1501 96th STREET
                 STURTEVANT, WI 53177


                 E. BRENON TOPSOIL, INC.
                 215 BRENON ROAD
                 AMHERST, NY 14228


                 E.& B. HOLMES MACHINERY CO., INC.
                 59 CHICAGO STREET
                 BUFFALO, NY 14204


                 E.D.FARRELL COMPANY, INC.
                 DEPARTMENT #24
                 PO BOX 8000
                 BUFFALO, NY 14267


                 E.VARGO LLC
                 4828 MILESTRIP ROAD
                 BLASDELL, NY 14219


                 EAGLE CASTINGS INC.
                 3600 EAGLE STREET
                 P.O. BOX 160
                 STEVENSVILLE, ONT L0S 1S0


                 EAGLE FABRICATING INC.
                 125 DOROTHY ST
                 BUFFALO, NY 14206


                 EAGLE SIGNS
                 710 SENECA STREET
                 BUFFALO, NY 14210


                 EARL E. KNOX CO.
                 537 FILLMORE AVE.
                 TONAWANDA, NY 14150




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 81 of 271
                 EARL E. KNOX COMPANY
                 1111 BACON STREET
                 PO BOX 1248
                 ERIE, PA 16512


                 EAST JORDAN IRON WORKS INC
                 PO BOX 439
                 301 SPRING STREET
                 EAST JORDAN, MI 49727


                 EASTECH BADGER
                 PO BOX 268988
                 OKLAHOMA CITY, OK 73126


                 EASTERN TECHNICAL ASSOCIATION
                 PO BOX 1009
                 GARNER, NC 27529-1009


                 EATON CORPORATION
                 221 HEYWOOD RD
                 ARDEN, NC 28704


                 Eaton Office Supply Co.
                 180 John Glenn Dr.
                 Buffalo, NY 14228


                 EATON OFFICE SUPPLY COMPANY
                 180 JOHN GLEN DRIVE
                 AMHERST, NY 14228-2292


                 EBENEZER RAILCAR SERVICES, INC.
                 1005 INDIAN CHURCH RD.
                 P.O. BOX 363
                 WEST SENECA, NY 14224


                 EBERL IRON WORKS, INC.
                 128 SYCAMORE ST
                 BUFFALO, NY 14204


                 ECI MACOLA/MAX,LLC
                 1136 PAYSPHERE CIRCLE
                 CHICAGO, IL 60674




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 82 of 271
                 ECOLOGY AND ENVIRONMENT INC
                 BUFFALO CORPORATE CENTER
                 368 PLEASANT VIEW DRIVE
                 LANCASTER, NY 14086


                 ED & PATS DYNAMASTER
                 261 HINMAN AVE
                 BUFFALO, NY 14216


                 Ed s Tire Service Inc.
                 80 Metcalfe St.
                 Buffalo, NY 14206


                 ED'S TIRE SERVICE
                 PO BOX 2641
                 BUFFALO, NY 14240-2641


                 ED'S TIRE SERVICE, INC.
                 P.O. BOX 2641
                 BUFFALO, NY 14240-2641


                 EDGE RECRUITMENT ALTERNATIVES INC
                 PO BOX 101
                 EAST AMHERST, NY 14051


                 EDGEWATER BULK TRANSPORT
                 PO BOX 151
                 BATH, PA 18014


                 EDWARD DINSMORE, LLC
                 663 PROSPECT AVE
                 BUFFALO, NY 14213


                 EDWARD ESCHNER
                 30 MEADOWBROOK DRIVE
                 ELMA, NY 14059


                 EDWARD H COX & COMPANY, INC
                 91 UNION STREET
                 PO BOX 58
                 HAMBURG, NY 14075


                 EDWARD O. WATTS PE PC
                 3826 MAIN STREET
                 AMHERST, NY 14226

Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 83 of 271
                 EDWARD O. WATTS, P.E., P.C.
                 3826 MAIN STREET
                 AMHERST, NY 14226


                 EDWARD PARKER
                 35 EARL PLACE
                 BUFFALO, NY 14211


                 Ed’s Tire Service Inc.
                 80 Metcalfe St.
                 Buffalo, NY 14206


                 EG&G CHANDLER
                 PO BOX 75091
                 CHICAGO, IL 60675-5091


                 EIC/WSM LLC
                 5 MELLON ROAD
                 EXPORT, PA 15632


                 EIRTECH INSTRUMENT
                 4 BURTON STREET
                 CAZENOVIA, NY 13035


                 EISCHEN MUSIC STUDIO
                 167 HIGHLAND PARKWAY
                 BUFFALO, NY 14223


                 El-Don Battery Inc.
                 4109 St. Francis Dr.
                 Hamburg, NY 14075


                 EL-DON BATTERY INC.
                 4109 ST. FRANCIS DR. (RT. 75)
                 HAMBURG, NY 14075


                 EL-DON BATTERY POST INC.
                 4109 ST. FRANCIS DRIVE
                 HAMBURG, NY 14075


                 ELECTRIC CONTACT SUPPLY CO., INC.
                 2449 NIAGARA ROAD
                 NIAGARA FALLS, NY 14304-2083



Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 84 of 271
                 ELECTRIC MOTOR SERVICE CORP.
                 80 SKILLEN STREET
                 BUFFALO, NY 14207


                 ELECTRIC MOTOR SERVICE CORP.
                 74 SKILLEN STREET
                 BUFFALO, NY 14207


                 ELECTRO-MECH SYSTEMS GROUP, INC.
                 PO BOX 503
                 GRAND ISLAND, NY 14072


                 ELECTROSWITCH CORPORATION
                 P.O. BOX 3500-42
                 BOSTON, MA 02241-0542


                 ELEVATOR MAINTANCE OF BUFFALO, INC.
                 701 SENECA STREET
                 BUFFALO, NY 14210


                 ELEVATOR MAINTENANCE OF BUFFALO, NY
                 701 SENECA STREET
                 BUFFALO, NY 14210


                 ELITE TACTICAL TRAINING INSTITUTE
                 3355 NIAGARA FALLS BOULVARD
                 N TONAWANDA, NY 14120


                 ELLWOOD VOLUNTEER FIRE COMPANY
                 100 ENGLEWOOD AVENUE
                 TOWN OF TONAWANDA, NY 14223


                 ELMWOOD RADIOLOGISTS PC
                 PO BOX 92306
                 ROCHESTER, NY 14692


                 ELMWOOD TANK CLEANING CORPORATION
                 200 FIRE TOWER DRIVE
                 TONAWANDA, NY 14150


                 ELTAS, INC
                 302 EAST MAIN STREET
                 CARNEGIE, PA 15106



Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 85 of 271
                 ELWOOD FIRE PROTECTION
                 276 HINMAN AVENUE
                 BUFFALO, NY 14216


                 ELWOOD FIRE PROTECTION
                 291 GROTE STREET
                 BUFFALO, NY 14207-2415


                 EMED COMPANY, INC.
                 PO BOX 369
                 BUFFALO, NY 14240


                 EMEDCO, INC.
                 39209 TREASURY CENTER
                 CHICAGO, IL 60694-9200


                 EMERALD PRINT & IMAGING
                 334 WEST 8TH STREET
                 ERIE, PA 16502


                 EMERSON PROCESS MANAGEMENT LLLP
                 22737 NETWORK PLACE
                 CHICAGO, IL 60673-1227


                 EMMANUEL C. CEPE MD/BF
                 300 TWO MILE CREEK ROAD
                 TONAWANDA, NY 14150


                 EMPIRE BUILDING DIAGNOSTICS,INC
                 P.O. BOX 412
                 DEPEW, NY 14043-0412


                 EMPIRE COKE COMPANY
                 3200 MAIN STREET
                 TUSCALOOSA, AL 35404


                 EMPIRE CRANE COMPANY LLC
                 PO BOX 5545
                 NORTH SYRACUSE, NY 13220


                 EMPIRE CRANE COMPANY, LLC.
                 P.O. BOX 5545
                 NORTH SYRACUSE, NY 13220



Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 86 of 271
                 EMPIRE GLASS BLOCK INC.
                 77 DINGINS STREET
                 BUFFALO, NY 14206


                 EMPIRE HOSE & FITTINGS
                 155 GREAT ARROW AVENUE
                 BUFFALO, NY 14207


                 EMPIRE STACK TESTING, LLC
                 5252 RAMSAY RD
                 ASHVILLE, NY 14710


                 EMPIRE STACK TESTING, LLC.
                 5252 RAMSEY ROAD
                 ASHVILLE, NY 14710


                 EMPIRE STATE DEVELOPMENT
                 ATTN: ROB KWON
                 633 3RD AVENUE, 35TH FLOOR
                 NEW YORK, NY 10017


                 EMPIRE/EMCO
                 4043 MAPLE ROAD
                 AMHERST, NY 14226


                 EMPRO-NIAGARA, INC
                 5027 RIDGE ROAD
                 LOCKPORT, NY 14094


                 EMSL ANALYTICAL INC.
                 200 ROUTE 130 NORTH
                 CINNAMINSON, NJ 08077


                 EMSL ANALYTICAL, INC.
                 200 ROUTE 130 NORTH
                 CINNAMINSON, NJ 08077


                 ENERGY LINK
                 1108 PHILADELPHIA AVENUE
                 P.O. BOX 1247
                 NORTHERN CAMBRIA, PA 15714




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 87 of 271
                 ENERGY PUBLISHING LLC
                 224 SOUTH PETERS ROAD
                 SUITE 202
                 KNOXVILLE, TN 37923


                 ENERSOLV CORP.
                 P.O. BOX 1646
                 DECATUR, AL 35602


                 ENTELA, INC.
                 3033 MADISON S.E.
                 P.O. BOX 1801
                 GRAND RAPIDS, MI 49501


                 ENVIRO ZYME INTERNATIONAL
                 PO BOX 169
                 STORMVILLE, NY 12582


                 ENVIRO-HEALTH TECHNOLOGIES, INC.
                 4337 OLD WILLIAM PENN HIGHWAY
                 MONROEVILLE, PA 15146


                 ENVIRON INTERNATIONAL CORP.
                 P.O. BOX 8500-1980
                 PHILADELPHIA, PA 19178-1980


                 ENVIRONMENTAL COMPLIANCE, INC.
                 BOX 342
                 ELMA, NY 14059


                 ENVIRONMENTAL COMPLIANCE,INC
                 BOX 342
                 ELMA, NY 14059


                 ENVIRONMENTAL EQUIPMENT & SUPPLY
                 P.O. BOX 223563
                 PITTSBURGH, PA 15251


                 ENVIRONMENTAL RESOURCE ASSOCIATES
                 6000 WEST 54TH AVENUE
                 ARVADA, CO 80002


                 ENVIROPLAN CONSULTING
                 P.O. BOX 419584
                 BOSTON, MA 02241-9584

Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 88 of 271
                 EQUITABLE LIFE
                 PO BOX 13094
                 ACCT #91664433
                 NEWARK, NJ 07188-0094


                 EQUITABLE PROCESSING CENTER
                 PO BOX 47140
                 JACKSONVILLE, FL 32247-9862


                 ERB Company, Inc.
                 1400 Seneca St.
                 Buffalo, NY 14210


                 ERB COMPANY, INC.
                 1400 SENECA STREET
                 PO BOX 1269
                 BUFFALO, NY 14240-1269


                 EREPLACEMENTPARTS.COM
                 7036 SOUTH HIGH TECH DR.
                 MIDVALE, UT 84047


                 Erie Coke Corporation



                 ERIE COKE CORPORATION
                 PO BOX 35317
                 NEWARK, NJ 07193-5317


                 ERIE COMMUNITY COLLEGE
                 6205 MAIN STREET
                 AMHERST, NY 14221


                 ERIE COUNTY MEDICAL CENTER
                 462 GRIDER STREET
                 BUFFALO, NY 14215


                 ERIE COUNTY SCU
                 PO BOX 15314
                 ALBANY, NY 12212-5314


                 ERIE COUNTY SHERIFF'S OFFICE
                 CIVIL PROCESS DIVISION
                 DEPT 831 / PO BOX 8000
                 BUFFALO, NY 14267

Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 89 of 271
                 ERIE GENERAL TIRE
                 121 WEST 12TH STREET
                 ERIE, PA 16501


                 ERNST FLOW INDUSTRIES
                 16633 FOLTZ PARKWAY
                 STRONGSVILLE, OH 44149


                 ERNST GAGE COMPANY
                 250 S.LIVINGSTON AVENUE
                 LIVINGSTON, NJ 07039-4089


                 ERS INDUSTRIES, INC.
                 1005 IDIAN CHURH ROAD
                 PO BOX 225
                 WEST SENECA, NY 14224


                 ERS INDUSTRIES, INC.
                 DEPT. 368
                 P.O. BOX 8000
                 BUFFALO, NY 14267


                 ERSKINE EXPRESS, INC.
                 PO BOX 122
                 LOWELLVILLE, OH 44436


                 ETL ENTELA
                 DEPARTMENT #251601
                 PO BOX 67000
                 DETROIT, MI 48267-2516


                 EUGENE WILKOWSKI
                 16 SEBRING DRIVE
                 DEPEW, NY 14043


                 EXCELSIOR ORTHOPAEDICS, LLP
                 PO BOX 3333
                 BUFFALO, NY 14240-3333


                 EXECUTIVE GIFT SERVICE
                 268 BELVOIR ROAD
                 BUFFALO, NY 14221




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 90 of 271
                 EXIDE CORPORATION
                 PO BOX 1699
                 BATAVIA, NY 14021


                 EXIDE TECHNOLOGIES
                 2023 MILITARY ROAD
                 NIAGARA FALLS, NY 14304


                 EXPANETS
                 PO BOX 28039
                 PITTSBURGH, PA 15236


                 EXPRESS HEAT TREAT CORPORATION
                 42 SOUTH NIAGARA ST.
                 LOCKPORT, NY 14094


                 EXTEC EASTERN
                 P.O. BOX 82
                 CONSHOHOCKEN, PA 19428


                 EYE CARE PROFESSIONALS OF WNY
                 3364 SHERIDAN DRIVE
                 AMHERST, NY 14226-1439


                 EYE HEALTH ASSOCIATES OF WNY
                 170 MAPLE ROAD
                 WILLIAMSVILLE, NY 14221


                 EYE SIGHT MEDICAL CENTER
                 1890 COLVIN BLVD
                 TONAWANDA, NY 14150


                 EZPASS
                 VIOLATION PROCESSING CENTER
                 PO BOX 149003
                 STATEN ISLAND, NY 10314-9003


                 F.A.V. LANDSCAPING, INC.
                 PO BOX 737
                 BUFFALO, NY 14207


                 F.W. WEBB COMPANY
                 160 MIDDLESEX TURNPIKE
                 BEDFORD, MA 01730


Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 91 of 271
                 FABROTECH INDUSTRIES, INC.
                 2089 NINTH AVE
                 RONKONKOMA, NY 11779


                 FACILITY SKILLED O & M SUPPORT
                 6292 WEBSTER ROAD
                 ORCHARD PARK, NY 14127


                 FACILITY SKILLED O&M SUPPORT LLC
                 6292 WEBSTER ROAD
                 ORCHARD PARK, NY 14127


                 FADORSEN FINANCIAL COMPANY
                 13041 LIVERY LANE
                 SUITE 100
                 CHARDON, OH 44024


                 FALCON PHYSICAL THERAPY PC
                 7300 PORTER ROAD
                 SUITE 3
                 NIAGARA FALLS, NY 14304-5716


                 FANNY'S RESTAURANT
                 3500 SHERIDAN DR
                 AMHERST, NY 14226


                 FARGO ELECTRIC
                 487 SENECA STREET
                 BUFFALO, NY 14204-2053


                 FARGO ELECTRIC
                 10205 LAPP ROAD
                 CLARENCE, NY 14032


                 FARLEY RIGGERS & MOVERS
                 700 RICHFIELD STREET
                 LOCKPORT, NY 14094


                 FARM SHOW
                 PO BOX 1029
                 LAKEVILLE, MN 55044-1029


                 FARMIS, INC
                 1955 NEW JERSEY AVENUE
                 NIAGARA FALLS, NY 14305

Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 92 of 271
                 FASTENAL COMPANY
                 P.O. BOX 978
                 WINONA, MN 55987-0978


                 Fasteners Direct
                 545 Basket Road
                 Webster, NY 14580


                 FAY'S LEADER DRUG
                 801 TONAWANDA STREET
                 BUFFALO, NY 14207


                 FEDERAL COMMUNICATIONS COMMISSION
                 PO BOX 358994
                 PITTSBURGH, PA 15251-5994


                 FEDERAL COMMUNICATIONS COMMISSION
                 574R LAND MOBILE RENEWAL
                 PO BOX 358248
                 PITTSBURGH, PA 15251-5245


                 Federal Express Corporation
                 4054 William Penn Hwy.
                 Monroeville, PA 15146


                 FEDERAL EXPRESS CORPORATION
                 PO BOX 371461
                 PITTSBURGH, PA 15250-7461


                 FEDERAL MEDIATION & CONCILIATION SERVICE
                 WASHINGTON, DC 20427



                 FEDEX FREIGHT
                 PO BOX 223125
                 PITTSBURGH, PA 15251-2125


                 FEDEX FREIGHT EAST
                 P.O. BOX 223125
                 PITTSBURGH, PA 15250-2125


                 FEDEX TRADE NETWORKS
                 P.O. BOX 4590
                 BUFFALO, NY 14240


Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 93 of 271
                 FEEDWATER TREATMENT SYSTEMS INC
                 PO BOX 439
                 ATHOL SPRINGS, NY 14010


                 FEF
                 BILL SORENSON, EXECUTIVE DIRECTOR
                 1695 N.PENNY LANE
                 SCHAUMBURG, IL 60173


                 FENCE PRO INC
                 726 MOORE AVE
                 TONAWANDA, NY 14223


                 FENCE PRO, INC
                 726 MOORE AVENUE
                 TONAWANDA, NY 14223


                 FERGUSON ELECTRIC SERVICE CO., INC.
                 321 ELLICOTT STREET
                 BUFFALO, NY 14203


                 FERGUSON ENTERPRISES INC.
                 99 DEWEY AVENUE
                 PO BOX 23626
                 ROCHESTER, NY 14692


                 FERRO-FRONTIERS, INC.
                 WATER STREET
                 PO BOX 260
                 YOUNGSTOWN, NY 14174


                 FERROUS MANUFACTURING INC.
                 PO BOX 488
                 1951 HAMBURG TURNPIKE
                 HAMBURG, NY 14075


                 FICHTE-ENDL EYE ASSOCIATES
                 2400 PINE AVENUE
                 NIAGARA FALLS, NY 14301


                 FILOFAX USA
                 372 DANBURY ROAD
                 WILTON, CT 06897




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 94 of 271
                 FILTRATION UNLIMITED, INC.
                 10 MAIN STREET
                 PO BOX 226
                 AKRON, OH 14001-0026


                 FIRE, INC.
                 107 N. PITTSBURG ST.
                 CONNELLSVILLE, PA 15425


                 Fireline Group Ltd.
                 611 W. 5th St.
                 Erie, PA 16507


                 FISHER CONTROLS INTERNATIONAL,LLC
                 22737 NETWORK PLACE
                 CHICAGO, IL 60673-1227


                 FISHER INTERNATIONAL
                 C/O NORTHEAST CONTROLS
                 6000 NORTH BAILEY AVENUE
                 AMHERST, NY 14226


                 FISHER SCIENTIFIC
                 DEPARTMENT 566797
                 PO BOX 360153
                 PITTSBURGH, PA 15250-6153


                 FISHER SCIENTIFIC COMPANY L.L.C.
                 DEPT. NBR, ACCT #566797-001
                 P.O. BOX 3648
                 BOSTON, MA 02241-3648


                 FITZSIMMONS HYDRAULICS, INC.
                 4400 SHISLER ROAD
                 CLARENCE, NY 14031


                 FIVE NORTH AMERICAN COMBUSTION, INC.
                 P.O. BOX 78000
                 DEPT. 781675
                 DETROIT, MI 48278-1675


                 FIVE STAR EQUIPMENT, INC.
                 P.O. BOX 176
                 DUNMORE, PA 18512



Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 95 of 271
                 Flagship Investment Group Inc
                 3939 W. Ridge Rd. #A105
                 Erie, PA 16506


                 FLAGSHIP INVESTMENT GROUP INC
                 RAYMOND JAMES FINANCIAL SAERVICES
                 3939 WEST RIDGE RD STE A-103
                 ERIE, PA 16506-1880


                 FLAMBORO GAMBLING MCCOYS
                 C/O MCCOY FOUNDRY COMPANY
                 R.R. # 1
                 TROY, ON L0R 2B0


                 FLEETPRIDE
                 P.O. BOX 847118
                 DALLAS, TX 75284-7118


                 FLEXICRAFT INDUSTRIES INC.
                 16847 COLLECTIONS CENTER DRIVE
                 CHICAGO, IL 60693


                 FLEXOSPAN STEEL BUILDINGS, INC.
                 253 RAILROAD STREET
                 BOX 515
                 SANDY LAKE, PA 16145-0515


                 FLOW EZY FILTERS, INC.
                 PO BOX 1749
                 ANN ARBOR, MI 48106


                 FLOW SAFE INC.
                 S-3865 TAYLOR ROAD
                 ORCHARD PARK, NY 14127-2297


                 FLOWSAFE SUPPLY, INC.
                 S-3865 TAYLOR ROAD
                 ORCHARD PARK, NY 14127-2297


                 FLOWSERVE CORPORATION
                 PO.BOX 91329
                 CHICAGO, IL 60693




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 96 of 271
                 FLOWSERVE US INC.
                 PO BOX 98325
                 CHICAGO, IL 60693


                 FLUENT ENERGY
                 403 MAIN STREET
                 SUITE 630
                 BUFFALO, NY 14203


                 FLUID CONDITIONING EQUIPMENT
                 PO BOX 338
                 500 BUFFALO ROAD
                 EAST AURORA, NY 14052


                 FLUID KINETICS, INC.
                 P.O. BOX 655
                 251 THORN AVE
                 ORCHARD PARK, NY 14127


                 FLUID MECHANICS, INC.
                 4521 WEST 160TH STREET
                 CLEVELAND, OH 44135


                 FLUID POWER SERVICE CORPORATION
                 4474 WALDEN AVENUE
                 LANCASTER, NY 14086


                 FLYNN'S TIRE & AUTO SERVICE
                 P.O. BOX 1050
                 HERMITAGE, PA 16148


                 FM COMMUNICATIONS, INC.
                 1914 COLVIN BOULEVARD
                 TONAWANDA, NY 14150


                 FMC
                 57 COOPER AVE.
                 HOMER CITY, PA 15748


                 FOLEY & MANSFIELD
                 250 MARQUETTE AVENUE
                 SUITE 1200
                 MINNEAPOLIS, MN 55401




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 97 of 271
                 FONBRAI INC
                 3450 BOUL GENE-H-KRUGER
                 CP 294
                 TROIS-RIVIERES, QC G9A 5G1


                 FORD CITY EQUIPMENT CO.
                 165 GOLF STATION ROAD
                 BOYERS, PA 16020


                 FORD FABRICATORS & SONS INC.
                 95 LESLIE ST.
                 BUFFALO, NY 14211


                 FORD MOTOR COMPANY
                 CONTROLLERS OFFICE
                 PO BOX 77671
                 DETRIOT, MI 48278


                 FORD MOTOR CREDIT COMPANY
                 PO BOX 94640
                 CLEVELAND, OH 44177-4640


                 FORD MOTOR CREDIT COMPANY
                 PO BOX 64400
                 COLORADO SPRINGS, CO 80962-4400


                 FORD MOTOR CREDIT COMPANY
                 PO BOX 55000 (AE)
                 DETROIT, MI 48255-0694


                 FORD MOTOR CREDIT COMPANY
                 ATTN: LISA KIMBERLING
                 PO BOX 220564
                 PITTSBURGH, PA 15257-2564


                 FOREST VUE RESEARCH LLC
                 12252 MOSSY POINT WAY
                 KNOXVILLE, TN 37922


                 FOREVERGREENS
                 4939 GUNBARREL ROAD
                 SPRINGVILLE, NY 14141




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 98 of 271
                 FORKS LUMBER COMPANY
                 2260 CLINTON AVE
                 BUFFALO, NY 14206


                 FORKS TOWNSHIP EMERGENCY SQUAD
                 2016 SULLIVAN TRAIL
                 EASTON, PA 18040


                 FORTUNE
                 CORPORATE RATE SERVICES
                 PO BOX 61444, FL 33661-1444


                 Fosbel Ceramic Technologies
                 20600 Sheldon Road
                 Brookpark, OH 44142


                 FOSBEL CERAMIC TECHNOLOGIES
                 20600 SHELDON ROAD
                 BROOK PARK, OH 44142


                 FOSS WAREHOUSE
                 289 SCHENCK STREET
                 NORTH TONAWANDA, NY 14120


                 FOUR STAR INVESTIGATIONS
                 PO BOX 17370
                 PITTSBURGH, PA 15235


                 FOX EQUIPMENT CORPORATION
                 2041 UNION ROAD
                 BUFFALO, NY 14224


                 FOX FENCE COMPANY, INC.
                 2637 LOCKPORT ROAD
                 NIAGARA FALLS, NY 14305


                 FOXY DELIVER SERVICE, INC.
                 P.O. BOX 691
                 KENMORE, NY 14217


                 FOXY DELIVERY SERVICE INC
                 PO BOX 691
                 KENMORE, NY 14217



Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 99 of 271
                 FRANBILT, INC
                 6746 AKRON ROAD
                 LOCKPORT, NY 14094


                 FRANCIS W. KING PETROLEUM PRODUCTS, INC.
                 370 ESSER AVNEUE
                 BUFFALO, NY 14207-1398


                 FRANK A. MASON
                 95 WEST SHORE DRIVE
                 PENNINGTON, NJ 08534


                 FRANK P. LANGLEY COMPANY, INC.
                 219 CREEKSIDE DRIVE
                 P.O. BOX 744
                 AMHERST, NY 14228


                 FRASER & BEATTY
                 PO BOX 100 - 1
                 FIRST CANADIAN PLACE
                 TORONTO, ON M5X 1B2


                 FRED PRYOR SEMINARS
                 PO BOX 219468
                 KANSAS CITY, MO 64121-9468


                 FREDERICK MACHINE REPAIR, INC
                 405 LUDINGTON STREET
                 BUFFALO, NY 14206-1445


                 FREEMAN ELECTRIC, INC.
                 P.O. BOX 512
                 EAGLE STREET & NORTH 2ND AVENUE
                 CORRY, PA 16407-0512


                 FRIEDRICH LEY GmbH
                 INDUSTRIEBRENNER-ANLAGEN
                 POSTFACH 60 04 17
                 D-44866 BO-WATTENSCHEID, GERMANY


                 FRIENDS OF DAMON PIATEK
                 36 DELAWARE AVE
                 TONAWANDA, NY 14150




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 100 of 271
                 FRONTIER
                 PO BOX 1509
                 SAN ANTONIO, TX 78295-1509


                 FRONTIER AUTO & PLATE, INC
                 1672 CLINTON STREET
                 BUFFALO, NY 14206


                 FRONTIER CHEVROLET, INC.
                 2915 NIAGARA FALLS BLVD
                 AMHERST, NY 14228


                 FRONTIER HYDRAULICS CORPORATION
                 1738 ELMWOOD AVENUE
                 BUFFALO, NY 14207


                 FRONTIER INDUSTRIAL SUPPLY CORPORATION
                 75 INNSBRUCK
                 BUFFALO, NY 14227


                 FRONTIER LUMBER COMPANY, INC.
                 1941 ELMWOOD AVENUE
                 BUFFALO, NY 14207


                 FRONTIER WATER & STEAM SUPPLY, INC.
                 PO BOX 1184
                 SYRACUSE, NY 13201


                 FT ENERGY
                 3333 WALNUT STREET
                 BOULDER, CO 80301-2525


                 FT ENERGY
                 AMERICAS
                 1600 WILSON BOULEVARD, SUITE 600
                 ARLINGTON, VA 22209


                 FT ENGERY PUBLISHING
                 MAPLE HOUSE
                 149 TOTTENHAM COURT RD.
                 LONDON, ENGLAND W1P 9LL




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 101 of 271
                 FUCHS LUBRICANTS COMPANY
                 135 SOUTH LASALLE STREET
                 DEPT. 5152
                 CHICAGO, IL 60674-5152


                 FUCHS LUBRICANTS COMPANY
                 75 REMITTANCE DRIVE
                 SUITE #1147
                 CHICAGO, IL 60675-1147


                 FULL CIRCLE STUDIOS SERVICES
                 712 MAIN STREET
                 THE ANSONIA CENTRE
                 BUFFALO, NY 14202


                 FULLONE TRUCKING, INC.
                 10862 MILE BLOCK ROAD
                 NORTH COLLINS, NY 14111


                 G & H OIL COMPANY, INC.
                 2553 PA. AVENUE W.
                 WARREN, PA 16365


                 G & H OIL COMPANY, INC.
                 20545 ROUTE 6
                 WARREN, PA 16365


                 G.C. SUPPLY, INC.
                 R.D. #3 BOX 199, CLOVER LANE
                 NEW CASTLE, PA 16105


                 G.C. SUPPLY, INC.
                 3587 CLOVER LANE
                 NEW CASTLE, PA 16105


                 G.E. RICHARDS GRAPHIC SUPPLIES, INC.
                 PO BOX 339
                 LANDISVILLE, PA 17583


                 G.NEIL DIRECT MAIL INC.
                 P.O. BOX 451179
                 SUNRISE, FL 33345-1179




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 102 of 271
                 G.W. BURNETT, INC.
                 145 GANSON STREET
                 BUFFALO, NY 14203


                 GABINO BALOY
                 300 TWO MILE CREEK ROAD
                 TONAWANDA, NY 14150


                 GAGE-IT, INC
                 94 N. BRANCH STREEET
                 SELLERSVILLE, PA 18960


                 GAGE-IT, INC.
                 94 N.BRANCH STREET
                 SELLERSVILLE, PA 18960


                 GAI-TRONICS CORPORATION
                 PO BOX 1060
                 READING, PA 19607-1060


                 GAI-TRONICS CORPORATION
                 P.O. BOX 930269
                 ATLANTA, GA 31193-0269


                 GALL'S INCORPORATED
                 PO BOX 55208
                 LEXINGTON, KY 40555-5208


                 GALLAGHER COAL RESEARCH CENTER
                 PO BOX 1227
                 CRAB ORCHARD, WV 25827


                 GALLOWAY TECHNICAL SERVICES INC
                 5726 TONAWANDA CREEK ROAD
                 LOCKPORT, NY 14094


                 GALSON LABORATORIES
                 PO BOX 8000
                 DEPT 684
                 BUFFALO, NY 14267


                 GANZER EQUIPMENT CO.
                 5045 BUFFALO ROAD
                 ERIE, PA 16510


Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 103 of 271
                 GAR ASSOCIATES LLC
                 2399 SWEETHOME RD
                 AMHERST, NY 14228


                 GARDNER / DENVER
                 C/0 ELLIOTT INDUSTRIAL EQUIPMENT INC.
                 6789 MAIN ST.
                 WILLIAMSVILLE, NY 14221


                 GARDNER DENVER NASH INC.
                 P.O. BOX 952453
                 SOLD TO #1009420
                 ST LOUIS, MO 63195-2453


                 GARY HOLLAND SALES, INC.
                 PO BOX 238
                 ALDEN, NY 14004


                 GARY ROESCH
                 4068 EAST RIVER ROAD
                 GRAND ISLAND, NY 14072


                 GASPORT WELDING & FABRICATING
                 8430 TELEGRAPH ROAD
                 PO BOX 410
                 GASPORT, NY 14067


                 GATEWAY ENVIRONMENTAL SERVICES, INC.
                 2619 PARKER BLVD.
                 TONAWANDA, NY 14150


                 GATEWAY INDUSTRIAL SUPPLY
                 SAFETY PRODUCTS DIVISION
                 PO BOX 400319
                 PITTSBURGH, PA 15268-0319


                 GATEWAY TRADE CENTER INC
                 P.O. BOX 645211
                 PITTSBURGH, PA 15264-5211


                 GDH Services, Inc.
                 651 Colby Dr.
                 Canada
                 N2C 1C2
                 Waterloo, ON


Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 104 of 271
                 GE CAPITAL TMS
                 PO BOX 277328
                 ATLANTA, GA 30384-7328


                 GE INFORMATION SERVICES, INC.
                 PO BOX 640371
                 PITTSBURGH, PA 15264-0371


                 GE INSPECTION TECHNOLOGY
                 50 INDUSTRIAL PARK
                 LEWISTON, PA 17044


                 GEMPLER'S
                 100 COUNTRYSIDE DRIVE
                 P.O. BOX 270
                 BELLEVILLE, WI 53508


                 GENERAL ELECTRIC MULTILIN
                 PO BOX 642493
                 PITTSBURGH, PA 15264-2493


                 GENERAL ELECTRIC SUPPLY COMPANY
                 PO BOX 102149
                 ATLANTA, GA 30368


                 GENERAL OIL EQUIPMENT CO
                 60 JOHN GLENN DRIVE
                 ANHERST, NY 14228


                 GENERAL TRUCKING & EQUIPMENT
                 161 MILLER ROAD
                 GETZVILLE, NY 14068


                 GENESEE INDUSTRIAL ELECTRONICS
                 2550 DELWARE AVENUE
                 BUFFALO, NY 14216


                 GENESEE INDUSTRIAL ELECTRONICS
                 180 SWEENEY STREET
                 NORTH TONAWANDA, NY 14120


                 GENESEE VALLEY GROUP HEALTH
                 PO BOX 0847
                 BUFFALO, NY 14240-0847


Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 105 of 271
                 GEORGE J. BURNETT M.D.
                 8600 SHERIDAN DRIVE
                 WILLIAMSVILLE, NY 14221


                 GEORGE O HILL SUPPLY COMPANY
                 PO BOX 412
                 710 BALMORAL STREET
                 THUNDER BAY, ON P7C 4W2


                 GERALD PRIAMO
                 363 DUSHANE DRIVE
                 TONAWANDA, NY 14223


                 GERHARDT'S INC.
                 PO BOX 54039
                 NEW ORLEANS, LA 70154


                 GHD SERVICES INC
                 P.O. BOX 392237
                 PITTSBURGH, PA 15251-9237


                 GHD SERVICES INC.
                 P.O. BOX 8000
                 DEPARTMENT 406
                 BUFFALO, NY 14267


                 GIBRALTER INDUSTRIAL SERVICES, INC.
                 92 COOPER AVENUE
                 TONAWANDA, NY 14150


                 GILCO C/O GILSON ENGINEERING SALES, INC.
                 535 ROCHESTER ROAD
                 PITTSBURG, PA 15237


                 GLASER WILLIAMS
                 2331 ALABAMA
                 SUITE 205
                 LAWRENCE, KS 66046


                 GLAUBER EQUIPMENT CORPORATION
                 DEPARTMENT # 191
                 PO BOX 8000
                 BUFFALO, NY 14267




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 106 of 271
                 GLAUBER EQUIPMENT CORPORATION
                 1600 COMMERCE PRKWY
                 LANCASTER, NY 14086


                 GLEN CAMPBELL CHEVROLET-OLDSMOBILE
                 8040 TRANSIT ROAD
                 WILLIAMSVILLE, NY 14221


                 GLIDEWELL SPECIALTIES FOUNDRY COMPANY
                 PO BOX 1089
                 600 FOUNDRY ROAD
                 CALERA, AL 35040


                 GLOBAL COMPUTER SUPPLIES
                 C/O SYX SERVICES
                 PO BOX 440939
                 MIAMI, FL 33144-0939


                 GLOBAL CROSSING CONFERENCING
                 PO BOX 790407
                 SAINT LOUIS, MO 63179-0407


                 GLOBAL CROSSING TELECOMMUNICATIONS
                 PO BOX 741276
                 CINCINNATI, OH 45274-1276


                 Global Environmental



                 GLOBAL ENVIRONMENTAL
                 P.O. BOX 170
                 3514 NEW ROAD
                 DUNKIRK, NY 14048


                 GLOBAL ENVIRONMENTAL
                 P.O. BOX 656
                 ORCHARD PARK, NY 14127


                 GLOBAL EXCHANGE SERVICES
                 PO BOX 640371
                 PITTSBURGH, PA 15264-0371


                 GLOBAL INDUSTRIAL
                 PO BOX 5200
                 SUWANEE, GA 30024

Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 107 of 271
                 GLOBAL RISK CONSULTANTS CORP.
                 100 WALNUT AVENUE
                 FIFTH FLOOR
                 CLARK, NJ 07066


                 GLOBAL-PAK,INC
                 9636 ELKTON RD.
                 P.O. BOX 89
                 ELKTON, OH 44415


                 GLOBE METALLURGICAL INC
                 PO BOX 637844
                 CINCINNATI, OH 45263-7844


                 GMAC PAYMENT PROCESSING CENTER
                 PO BOX 830069
                 BALTIMORE, MD 21283-0069


                 GMAC PAYMENT PROCESSING CENTER
                 PO BOX 5180
                 CAROL STREAM, IL 60197-5180


                 GNARUS ADVISORS LLC
                 4350 N. FAIRFAX DRIVE
                 SUITE 830
                 ARLINGTON, VA 22203


                 GNFC
                 BOY SCOUTS OF AMERICA
                 401 MARYVALE DRIVE
                 BUFFALO, NY 14225


                 GO INDUSTRY
                 1016 WEST 9TH AVENUE
                 SUITE 200
                 KING OF PRUSSIA, PA 19406


                 GODWIN PUMPS
                 PO BOX 191
                 BRIDGEPORT, NJ 08014


                 GOETZ ENERGY CORPORATION
                 PO BOX A
                 BUFFALO, NY 14217



Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 108 of 271
                 GOLF CAR CITY
                 2350 UNION ROAD
                 WEST SENECA, NY 14224


                 GOOD EARTH ORGANICS CORPORATION
                 P.O. BOX 266
                 5950 BROADWAY
                 LANCASTER, NY 14086


                 GOOD TIRE SERVICE, INC
                 13616 STATE ROUTE 422
                 KITTANNING, PA 16201


                 GOODWAY TECHNOLOGIES CORPORATION
                 PO BOX 150413
                 DEPT. 106040
                 HARTFORD, CT 06115-0413


                 GOULD PUBLICATIONS
                 199/300 STATE STREET
                 BINGHAMTON, NY 13901-2782


                 Grainger
                 50 McKesson Pkwy.
                 Buffalo, NY 14225


                 GRAINGER
                 DEPT 801173873
                 PALATINE, IL 60038-0001


                 GRAPHIC CONTROLS
                 PO BOX 1271
                 BUFFALO, NY 14240-1271


                 GRAPHIC CONTROLS CORPORATION
                 PO BOX 360417
                 PITTSBURGH, PA 15250-6417


                 GRAPHIC PRODUCTS, INC.
                 PO BOX 4030
                 6445 SW FALLBROOK PLACE SUITE 125
                 BEAVERTON, OR 97076-4030




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 109 of 271
                 GRAYBAR ELECTRIC COMPANY, INC.
                 12444 COLLECTIONS DRIVE
                 CHICAGO, IL 60693


                 GRAYTON COMPANY
                 4043 MAPLE ROAD
                 SUITE 204
                 AMHERST, NY 14226


                 GREAT LAKES CENTRAL RAILROD
                 600 OAKWOOD AVE
                 PO BOX 550
                 OWOSSO, MI 48867-0550


                 GREAT LAKES CONCRETE PRODUCTS
                 5690 CAMP ROAD
                 HAMBURG, NY 14075


                 GREAT LAKES EMERGENCY PHYSICIANS LLP
                 PO BOX 2490
                 BUFFALO, NY 14240-2490


                 GREAT LAKES ENVIRONMENTAL & SAFETY
                 50 RIDGE ROAD
                 BUFFALO, NY 14218


                 GREAT LAKES INDUSTRIAL PRODUCTS
                 PO BOX 496
                 TONAWANDA, NY 14151


                 GREAT LAKES OFFICE PRODUCTS INC.
                 206 MYRON AVE
                 KENMORE, NY 14217


                 GREAT LAKES PLASTIC CO. INC.
                 2371 BROADWAY AVE
                 BUFFALO, NY 14212


                 GREAT LAKES PLUMBING
                 PO BOX 283
                 DBA/DENNIS KENNEY II
                 GRAND ISLAND, NY 14072




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 110 of 271
                 GREAT LAKES POWER PRODUCTS
                 340 BILMAR DRIVE
                 PITTSBURGH, PA 15205


                 GREATER NIAGARA IMAGING
                 PO BOX 5123
                 BUFFALO, NY 14240-5123


                 GREATER S. BUFFALO CHAMBER OF COMMERCE
                 35 CAZENOVIA STREET
                 PO BOX 145
                 BUFFALO, NY 14220


                 GREATLAKES PUMP & SEAL, INC
                 PO BOX 971
                 GRAND ISLAND, NY 14072


                 GREEN ENVIROMENT SPECIALISTS, INC.
                 8335 QUARRY ROAD
                 NIAGARA FALLS, NY 14301


                 GREEN TREE PRESS COMPUTER COURSE
                 DEPARTMENT 665
                 3603 WEST 12TH STREET
                 ERIE, PA 16505


                 GREENBERG TRAURIG
                 METLIFE BUILDING
                 200 PARK AVENUE
                 NEW YORK, NY 10166


                 Greenberg Traurig LLP
                 54 State Street, 6th Floor
                 Albany, NY 12207


                 GRZ TRANSPORT LLC
                 1585 YALE FARM RD.
                 ROMULUS, NY 14541


                 GUARDIAN ENVIRONMENTAL ASSOCIATES INC
                 2619 PARKER BLVD
                 TONAWANDA, NY 14150


                 Guardian Environmental Associates, Inc.


Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 111 of 271
                 GUY WHALEN M.D.
                 HEALTH CARE PLAN
                 205 PARK CLUB LANE
                 BUFFALO, NY 14221-5239


                 GVW TIRE
                 4411 QUALITY DRIVE
                 SOUTH BEND, IN 46628


                 GXS
                 PO BOX 640371
                 PITTSBURG, PA 15264-0371


                 H&R CONSTRUCTION PARTS & EQUIPMENT
                 DEPARTMENT NO 234
                 PO BOX 8000
                 BUFFALO, NY 14267


                 H&R CONSTRUCTION PARTS & EQUIPMENT
                 20 MILBURN STREET
                 BUFFALO, NY 14212


                 H.A.J.L. WOOD, INC.
                 PO BOX 369
                 PEMBINA, ND 58271


                 H.C. DAVIS SONS MANUFACTURING COMPANY
                 PO BOX 395
                 BONNER SPRINGS, KS 66012


                 H.D. EDWARDS
                 8550 LYNDON AVE
                 DETROIT, MI 48238


                 H.J.MYE LUMBER CORPORATION
                 PO BOX 584
                 NORTH TONAWANDA, NY 14120-0584


                 HACH COMPANY
                 2207 COLLECTIONS DRIVE
                 CHICAGO, IL 60693


                 HAFCO FOUNDRY & MACHINE CO., INC.
                 301 GREENWOOD AVE.
                 MIDLAND PARK, NJ 07432

Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 112 of 271
                 HAGEMEYER NORTH AMERICA INC
                 PO BOX 404753
                 ATLANTA, GA 30384-4753


                 HAGERTY & BRADY ATTORNEYS AT LAW
                 69 DELEWARE AVENUE
                 SUITE 1010
                 BUFFALO, NY 14202-3875


                 HALL INDUSTRIES, INC.
                 514 MECKLEM LANE
                 ELLWOOD CITY, PA 16117


                 HAMBERGER & WEISS
                 GATEWAY EXECUTIVE PARK
                 SUITE 600 3556 LAKE SHORE
                 BUFFALO, NY 14219


                 HAMBURG OVERHEAD DOOR
                 5659 HERMAN HILL ROAD
                 HAMBURG, NY 14075


                 HAMILTON'S SMALL ENGINE REPAIR
                 4000 RIVER ROAD
                 TONAWANDA, NY 14150


                 HAMON RESEARCH-COTTRELL, INC.
                 PO BOX 601395
                 CHARLOTTE, NC 28260-1395


                 HAMON RESEARCH-COTTRELL, INC.
                 PO BOX 822773
                 PHILADELPHIA, PA 19182-2773


                 HANES SUPPLY INCORPORATED
                 55 JAMES E. CASEY DRIVE
                 BUFFALO, NY 14206


                 HANTZ LOCOMOTIVE SERVICES LLC
                 2121 FIFTH AVE
                 MCKEESPORT, PA 15132


                 HANTZ LOCOMOTIVE SERVICES,LLC.
                 2121 FIFTH AVE
                 MCKEESPORT, PA 15132

Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 113 of 271
                 HAPPY ICE CORPORATION
                 PAYMENT PROCESSING CENTER
                 1654 MARTHALER LANE
                 WEST ST. PAUL, MN 55118


                 HAPPY ICE CORPORATION
                 5 SONWIL DRIVE
                 BUFFALO, NY 14225


                 HARBISON-WALKER
                 2235 KENMORE AVENUE
                 BUFFALO, NY 14207


                 HARBISON-WALKER REFACTORIES CO.
                 PO BOX 640945
                 PITTSBURGH, PA 15264-0945


                 HARKINS SAFETY, INC.
                 400 HASTINGS STREET
                 PITTSBURG, PA 15206


                 HARLAN DEVELOPMENT CORP
                 SOUTHERN COAL CORP
                 106 LOCKHEED DRIVE
                 BEAVER, WV 25813


                 HAROLD BECK & SONS, INC.
                 11 TERRY DRIVE
                 NEWTOWN, PA 18940


                 HAROLD'S AUTO TOP
                 3521 SHERIDAN DRIVE
                 AMHERST, NY 14226


                 HARRINGTON & MAHONEY
                 70 NIAGARA STREET
                 BUFFALO, NY 14202-3407


                 HARRIS BEACH LLC
                 677 BROADWAY
                 SUITE 1101
                 ALBANY, NY 12207




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 114 of 271
                 HARRIS EXPORT COAL CORPORATION
                 PO BOX 11362
                 CHARLESTON, WV 25339


                 HARRIS WELDING EQUIPMENT COMPANY, INC.
                 2476 SENECA STREET
                 BUFFALO, NY 14210


                 HARRIS WELDING EQUIPMENT COMPANY, INC.
                 94 ORCHARD TERRACE
                 ORCHARD PARK, NY 14127


                 HARRY'S HARBOUR PLACE GRILLE
                 2192 NIAGARA STREET
                 BUFFALO, NY 14207


                 HARSCO METALS & MINERALS
                 300 SEVEN FIELDS BLVD. #300
                 P.O. BOX 532868
                 ATLANTA, GA 30353-2868


                 HARTER, SECREST & EMERY, LLP
                 1600 BAUSCH & LOMB PLACE
                 ROCHESTER, NY 14604-2711


                 HARTFORD FINANCIAL SERVICES
                 PO BOX 415738
                 BOSTON, MA 02241-5738


                 HARTFORD RETIREMENT SERVICES LLC
                 PO BOX 8500-54422
                 PHILADELPHIA, PA 19178-4422


                 HARTMAN - FAB CO. INC
                 1415 LAKE LANSING ROAD
                 LANSING, MI 48192


                 HARTZELL FAN, INC.
                 PO BOX 630187
                 CINCINNATI, OH 45263-0187


                 HASTINGS MARKING DEVICES
                 439 ELLICOTT STREET
                 BUFFALO, NY 14203


Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 115 of 271
                 HAUN WELDING SUPPLY INC
                 6000 COURT STREET ROAD
                 SYRACUSE, NY 13206


                 HAUSRATH'S LANDSCAPE MAINTENANCE
                 451 MEYER ROAD
                 AMHERST, NY 14226


                 HAWKE AUTOMOTIVE LLC
                 2543 ELMWOOD AVE
                 KENMORE, NY 14217


                 HAYS CLEVELAND
                 1111 BROOKPARK
                 CLEVELAND, OH 44102


                 HAZARD EVALUATIONS, INC.
                 3752 NORTH BUFFALO RD
                 ORCHARD PARK, NY 14127


                 HAZARD MANAGEMENT ADVISORY COUNCIL
                 ROBERT LUTZ, TREASURER HMAC
                 1835 SHERIDAN DRIVE
                 BUFFALO, NY 14223


                 HEALTHCOMP EVALUATION SERVICES CORP
                 P O BOX 30546
                 TAMPA, FL 33630-3546


                 HEALTHWORKS
                 2075 SHERIDAN DR
                 KENMORE, NY 14223


                 Healthworks-WNY, LLP
                 2075 Sheridan Drive
                 Buffalo, NY 14223


                 HEALTHWORKS-WNY, LLP
                 PO BOX 8000
                 DEPARTMENT NO. 425
                 BUFFALO, NY 14267


                 HEALTHWORKS-WNY, LLP
                 55 MELROY AVENUE
                 LACKAWANNA, NY 14218

Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 116 of 271
                 HEATREX INCORPORATED
                 21371 BLOOMING VALLEY ROAD
                 PO BOX 515
                 MEADVILLE, PA 16335


                 HEATTEQ REFRACTORIES SERVICES B.V.
                 POSTBUS 1059
                 1810 KB ALKMAAR
                 NETHERLANDS


                 HEESE INDUSTRIAL SALES INC.
                 3370 BENZING ROAD
                 ORCHARD PARK, NY 14127


                 HEIL TRANSPORTATION, INC.
                 8428 CAFLISCH RD.
                 PO BOX 9
                 CLYMER, NY 14724


                 HELIOS CONTAINER SYSTEMS, INC
                 1150 POWIS ROAD
                 UNIT #5
                 WEST CHICAGO, IL 60185


                 HELWIG CARBON PRODUCTS, INC.
                 8900 WEST TOWER
                 PO BOX 240160
                 MILWAUKEE, WI 53224-9008


                 HENDRICK MANUFACTURING COMPANY
                 PO BOX 2900
                 MEMPHIS, TN 38101-2900


                 HENDRICK MANUFACTURING COMPANY
                 1 SEVENTH AVENUE
                 CARBONDALE, PA 18407


                 HENSLEYS TRUCKING
                 59312 MAYFLOWER ROAD
                 SOUTHBEND, IN 46619


                 HERBERT VAN SCHAACK
                 432 WEST LAKE ROAD
                 OSWEGO, NY 13126



Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 117 of 271
                 HERITAGE BUILDING SYSTEMS, INC
                 2612 GRIBBLE STREET
                 N.LITTLE ROCK, AR 72114


                 HESSE INDUSTRIAL SALES, INC.
                 3370 BENZING ROAD
                 ORCHARD PARK, NY 14127


                 HETHERINGTON GROUP
                 1501 HAMBURG TURNPIKE
                 STE 302
                 WAYNE, NJ 07470


                 HEYLPAT TECHNOLOGIES INC.
                 PO BOX 6148
                 CLEVELAND, OH 44101-6148


                 HEYLPAT TECHNOLOGIES, INC.
                 PO BOX 6148
                 CLEVELAND, OH 44101-6148


                 HEYLPAT TECHNOLOGIES, INC.
                 PO BOX 36
                 333 TECHNOLOGY DRIVE, SUITE 110
                 PITTSBURGH, PA 15230


                 HI-TECH STEEL COMPANY
                 4058 WYNKOTE ROAD
                 S. EUCLID, OH 44121


                 Hickman Williams & Company
                 2009 Mackenzie Way, Suite 120
                 Cranberry Twp, PA 16066


                 HICKMAN WILLIAMS & COMPANY
                 250 E.5th STREET
                 SUITE 300
                 CINCINNATI, OH 45202


                 HILCO INDUSTRIAL
                 50 MONROE AVE. NW
                 SUITE 450
                 GRAND RAPIDS, MI 49503




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 118 of 271
                 HILCO WARREN LLC
                 50 MONROE AVE, NW
                 SUITE 450
                 GRAND RAPIDS, MI 49503


                 HILLS TRUCKING
                 P.O. BOX 148
                 FRIES, VA 24330


                 HILTI, INC.
                 PO BOX 382002
                 PITTSBURGH, PA 15250-8002


                 HIM WING CHAN MD
                 PO BOX 8000
                 DEPARTMENT 874
                 BUFFALO, NY 14267


                 HINES PARK LINCOLN MERCURY, INC.
                 40601 ANN ARBOR ROAD
                 PLYMOUTH, MI 48170-4499


                 HIPPO INDUSTRIES
                 250 BERRY HILL ROAD
                 OYSTER BAY COVE, NY 11771


                 HIRSCH SALES CORPORATION
                 219 CALIFORNIA DRIVE
                 WILLIAMSVILLE, NY 14221


                 HIS VISION
                 1260 LYELL AVENUE
                 ROCHESTER, NY 14606-2040


                 HISCOCK & BARCLAY LLP
                 1100 M&T CENTER
                 3 FOUNTAIN PLAZA
                 BUFFALO, NY 14203


                 HMC
                 R.R.#1, BOX 208A
                 PRINCETON, IN 47670




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 119 of 271
                 HODGSON RUSS LLP
                 THE GUARANTY BUILDING
                 140 PEARL STREET, SUITE 100
                 BUFFALO, NY 14202


                 HOFFMAN AIR & FILTRATION
                 C/0 ELLIOTT INDUSTRIAL EQUIPMENT INC.
                 6789 MAIN ST.
                 WILLIAMSVILLE, NY 14221


                 HOFFMAN AIR & FILTRATION SYSTEMS
                 PO BOX 1359
                 BUFFALO, NY 14240


                 HOHL INDUSTRIAL SERVICES, INC.
                 770 RIVERVIEW BLVD.
                 TONAWANDA, NY 14150


                 HOLIDAY ICE LLC
                 322 VINE STREET
                 SYRACUSE, NY 13203


                 HOLIDAY INN BUFFALO AIRPORT
                 4600 GENESEE STREET
                 CHEEKTOWAGA, NY 14225


                 HOLIDAY INN BUFFALO-AMHERST
                 1881 NIAGARA FALLS BLVD
                 AMHERST, NY 14228


                 HOLIDAY INN GRAND ISLAND
                 100 WHITEHAVEN RD
                 GRAND ISLAND, NY 14072


                 HOLMES BROTHERS, INC.
                 P.O. BOX 707
                 DANVILLE, IL 61834


                 HOLT EQUIPMENT COMPANY, LLC
                 3673 RELIABLE PARKWAY
                 CHICAGO, IL 60686-0036




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 120 of 271
                 HOLT EQUIPMENT COMPANY, LLC
                 ACCOUNTS RECEIVABLE
                 SECTION 471
                 LOUISVILLE, KY 40289


                 HOME DEPOT CREDIT SERVICES
                 P.O. BOX 183175
                 DEPT. 32 - 2010936510
                 COLUMBUS, OH 43218-3175


                 HONEYWELL INCORPORATED
                 PO BOX 92103
                 CHICAGO, IL 60675


                 HONORS
                 300 RENAISSANCE CENTER
                 SUITE 335
                 DETROIT, MI 48243


                 HORIZON SIGNAL TECHNOLOGIES
                 216 LINE ROAD
                 MALVERN, PA 19355


                 HOUSTON SERVICE INDUSTRIES, INC.
                 7901 HANSEN
                 HOUSTON, TX 77061


                 HOWARD P. SCHULTZ & ASSOCIATES LLC
                 4 CENTRE DRIVE
                 ORCHARD PARK, NY 14127


                 HOWARD P. SCHULTZ,
                 288 LINWOOD AVENUE
                 BUFFALO, NY 14209


                 HOWARD WEBER
                 351 BARAGA STREET
                 BUFFALO, NY 14220


                 HOWARD'S EXPRESS INC.
                 PO DRAWER 72
                 GENEVA, NY 14456




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 121 of 271
                 HOWES AND HOWES TRUCKING
                 PO BOX 159
                 MESICK, MI 49668


                 HSBC COMMERCIAL CARD
                 P.O. BOX 5477
                 CAROL STREAM, IL 60197-5477


                 HSI CORPORATION
                 PO BOX 706
                 HIGHWAY 15 NORTH
                 BAY SPRINGS, MS 39422


                 HUGHES HITECH,LLC.
                 9685 MAIN ST
                 CLARENCE, NY 14031


                 HUMPHREY,HANNON,MORIARITY,SCHOENER,PC
                 2301 W. BIG BEAVER
                 SUITE 720
                 TROY, MI 48048-3332


                 HUNYADY AUCTION COMPANY
                 1440 COWPATH ROAD
                 HATFIELD, PA 19440


                 HURTUBISE TIRE INC.
                 63 OLIVER STREET
                 P.O. BOX 173
                 NORTH TONAWANDA, NY 14120


                 HY-GRADE DISTRIBUTORS, INC.
                 574 MAIN STREET
                 TONAWANDA, NY 14150


                 HY-GRADE PRECAST CONCRETE
                 PO BOX 148
                 SOUTH BYRON, NY 14422


                 HY-TECH CONCRETE
                 6136 FIRST ST
                 PO BOX 27
                 NEWFANE, NY 14108




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 122 of 271
                 HYATTS GRAPHIC SUPPLY CO. INC.
                 910 MAIN STREET
                 BUFFALO, NY 14202


                 HYDROSWING NORTH AMERICA
                 UNION BANK
                 1435 CAMINO DEL MAR
                 DEL MAR, CA 92014


                 HYUNG C. PARK PHYSICIAN P.C.
                 PO BOX 822
                 HAMBURG, NY 14075


                 I.C.E.
                 25166 WEST STATE ROAD #2
                 SOUTH BEND, IN 46619


                 ICC THE COMPLIANCE CENTER, INC.
                 2150 LIBERTY DRIVE, UNITE #1
                 NIAGARA FALLS, NY 14304


                 ICI
                 250 DELAWARE AVENUE
                 SUITE NO.22
                 BUFFALO, NY 14202


                 ICI (SEE PPG) DO NOT USE
                 ATLANTA, GA 30353-6864



                 ICI DULUX PAINT CENTER
                 21033 NETWORK PLACE
                 CHICAGO, IL 60673-1210


                 ILD TELESERVICES
                 PO BOX 600607
                 JACKSONVILLE, FL 32260-0670


                 IMAGINIT TECHNOLOGIES
                 RAND WORLDWIDE SUBSIDIARY INC
                 28127 NETWORK PLACE
                 CHICAGO, IL 60673-1281




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 123 of 271
                 IMAGINiT Technologies, Inc.
                 6265 Sheridan Dr., #216
                 Buffalo, NY 14221


                 IMPACT TELECOM
                 433 LAS COLINAS BLVD
                 SUITE 500
                 IRVING, TX 75039


                 IMPERIAL DOOR CONTROLS
                 85 ORISKANY DRIVE
                 TONAWANDA, NY 14150-6722


                 IN & OUT DIGITAL PRINTING, INC.
                 245 COOPER AVE.
                 SUITE 100
                 TONAWANDA, NY 14150


                 INDEPENDENCE EXCAVATING INC.
                 5720 SCHAAF ROAD
                 INDEPENDENCE, OH 44131


                 INDEPENDENT CAN COMPANY
                 P.O. BOX 370
                 1300 BRASS MILL ROAD
                 BELCAMP, MD 21017-0370


                 INDEPENDENT HEALTH
                 DEPARTMENT 170
                 PO BOX 8000
                 BUFFALO, NY 14267


                 INDEPENDENT HEALTH FOUNDATION
                 FIRST NIGHT BUFFALO
                 511 FARBER LAKES DRIVE
                 BUFFALO, NY 14221


                 INDIANA MICHIGAN POWER
                 PO BOX 371496
                 PITTSBURGH, PA 15250-7496


                 Indiana Michigan Power Co.
                 P.O. Box 60
                 Fort Wayne, IN 46801



Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 124 of 271
                 INDUSTRIAL BEARING CORP.
                 590 CAYUGA ROAD
                 BUFFALO, NY 14225


                 INDUSTRIAL CONSTRUCTION EQUIPMENT CO.
                 25166 W. STATE ROAD 2
                 SOUTH BEND, IN 46619-4898


                 INDUSTRIAL DISTRIBUTION GROUP
                 PO BOX 8500-1251
                 PHILADELPHIA, PA 19178-1251


                 INDUSTRIAL INSULATION SALES,INC
                 2101 KENMORE AVE
                 BUFFALO, NY 14207


                 INDUSTRIAL POWER AND LIGHTING CORP
                 701 SENECA STREET
                 BUFFALO, NY 14210


                 INDUSTRIAL REPAIR & MACHINERY SERVICE
                 11 CARTER STREET
                 BUFFALO, NY 14220


                 INDUSTRIAL SCIENTIFIC CORP.
                 P.O. BOX 360939
                 PITTSBURGH, PA 15251


                 INDUSTRIAL TOOLS & TECHNOLOGY, INC.
                 250 COUNTRY COMMONS
                 CARY, IL 60013


                 INGERSOLL RAND COMPANY
                 15768 COLLECTIONS CENTER DRIVE
                 CHICAGO, IL 60693


                 INNER CITY PALLETS INC
                 ACCOUNTS RECEIVABLE FUNDING
                 P.O. BOX 1389
                 HOUSTON, TX 77251-1389


                 INNOVATIVE MECHANICAL CONTRACTORS, INC.
                 61 FILLMORE AVENUE
                 TONAWANDA, NY 14150


Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 125 of 271
                 INNOVATIVE MECHANICAL SYSTEMS, INC.
                 623 YOUNG STREET
                 TONAWANDA, NY 14150


                 Innovative Solutions
                 3495 Winton Place
                 Building C, Suite 2
                 Rochester, NY 14623


                 INSIGHT FLOOR COVERING
                 171 GLENCOVE ROAD
                 TONAWANDA, NY 14223


                 INSPECTORATE AMERICA CORPORATION
                 P.O. BOX 847921
                 DALLAS, TX 75284-7921


                 INSTANT TREE
                 150 HICKORY HILL
                 ELMA, NY 14059


                 INSTITUTE FOR SUPPLY MANAGEMENT
                 ATTENTION: MEMBERSHIP
                 P.O. BOX 22160
                 TEMPE, AZ 85285-2160


                 INSTRUMENT & VALVE SERVICES COMPANY
                 22737 NETWORK PLACE
                 CHICAGO, IL 60673-1227


                 INSTRUMENT & VALVE SERVICES, CO
                 22737 NETWORK PLACE
                 CHICAGO, IL 60673-1227


                 INTEGRATED C-E SERVICES INC.
                 PO BOX 500
                 2000 DAY HILL ROAD
                 WINDSOR, CT 06095


                 INTEGRATED WASTE SPECIAL SERVICES, INC.
                 201 GANSON STREET
                 BUFFALO, NY 14203




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 126 of 271
                 INTEGRITY INTERNATIONAL CORPORATION
                 490 WHEELER STREET
                 SUITE 165M
                 HAUPPAUGE, NY 11788


                 Interactive Health Inc.
                 1700 East Golf Road, Suite 900
                 Schaumburg, IL 60173


                 INTERACTIVE HEALTH INC.
                 1700 E GOLF ROAD
                 SUITE 900
                 SCHAUMBURG, IL 60173


                 INTERFACE SYSTEMS, INC.
                 5855 INTERFACE DRIVE
                 ANN ARBOR, MI 48103


                 INTERIM PERSONNEL
                 DEPARTMENT 4267
                 PO BOX 70497
                 CHICAGO, IL 60673-0497


                 INTERLAB
                 PO BOX 1970
                 ASHLAND, KY 41105-1970


                 INTERNATIONAL BUSINESS CONNECTIONS LLP
                 215 MOUNTAIN ROAD
                 WILTON, CT 06897-7641


                 INTERNATIONAL CHIMNEY CORPORATION
                 55 SOUTH LONG ST.
                 WILLIAMSVILLE, NY 14221


                 INTERNATIONAL CHIMNEY CORPORATION
                 P.O. BOX 260
                 BUFFALO, NY 14231-0260


                 INTERPIPE INC.
                 R.R. #3
                 3320 MILES ROAD
                 MOUNT HOPE, ONT L0R 1W0




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 127 of 271
                 INTERSTATE BATTERY SYSTEMS,INC
                 1445 MILITARY ROAD
                 KENMORE, NY 14217


                 INTERSTATE CHEMICAL COMPANY, INC.
                 PO BOX 400058
                 PITTSBURGH, PA 15268-0058


                 INTERSTATE CHEMICAL COMPANY, INC.
                 PO BOX 931412
                 CLEVELAND, OH 44193


                 INTERSTATE INDUSTRIAL SERVICES, CORP.
                 PO BOX 42
                 OAKFIELD, NY 14125


                 INTERTEC PUBLISHING CO.
                 29 NORTH WACKER DRIVE
                 CHICAGO, IL 60606-3298


                 INTERTEC PUBLISHING CORP.
                 PO BOX 12901
                 OVERLAND PARK, KS 66282-2901


                 INTERTECH
                 19 NORTHBROOK DRIVE
                 PORTLAND, ME 04105


                 INTERTECHPIRA
                 19 NORTHBROOK DRIVE
                 PORTLAND, ME 04105


                 INTERTEK TESTING SERVICES NA INC
                 PO BOX 405176
                 ATLANTA, GA 30384-5176


                 INTERTEK TESTING SERVICES NA, INC
                 PO BOX 405176
                 ATLANTA, GA 30384-5176


                 IOBP
                 PO BOX 1340
                 HAVERTOWN, PA 19083



Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 128 of 271
                 IPFS CORPORATION
                 125 S.WACKER DRIVE
                 SUITE 1650
                 CHICAGO, IL 60606


                 IPS OF BOSTON
                 100 GRANDVIEW ROAD SUITE 400
                 PO BOX 850410
                 BRAINTREE, MA 02184


                 IQBAL A. SAMAD, M.D., P.C.
                 2148 MAIN STREET
                 BUFFALO, NY 14214


                 IRISH PROPANE CORPORATION
                 1444 CLINTON STREET
                 PO BOX 409
                 BUFFALO, NY 14212-0409


                 IRON & STEEL SOCIETY
                 186 THORN HILL DRIVE
                 WARRENDALE, PA 15086-7528


                 IRON HORSE TRUCKING, INC
                 331 HWY. 32
                 COLUMBIANA, AL 35051


                 IRON PEDDLERS PARTS DIVISION, INC.
                 3504 ROCKY RIVER ROAD, NORTH
                 MONROE, NC 28110


                 IRR SUPPLIES INC
                 1674 KENMORE AVENUE
                 BUFFALO, NY 14216


                 IRR SUPPLIES INC
                 908 NIAGARA FALLS BLVD
                 NORTH TONAWANDA, NY 14120


                 ISCO, INC.
                 P O BOX 82565
                 LINCOLN, NE 68501-2565




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 129 of 271
                 ISCO, INC.
                 PO BOX 3362
                 OMAHA, NE 68103-0362


                 ISLCHEM, LLC
                 2801 LONG ROAD
                 GRAND ISLAND, NY 14072


                 ISLECHEM, LLC
                 2801 LONG ROAD
                 GRAND ISLAND, NY 14072


                 ISS FOUNDATION
                 186 THORN HILL ROAD
                 WARRENDALE, PA 15086-7528


                 ITT HARTFORD
                 PO BOX 4771
                 SYACUSE, NY 13221


                 ITT INDUSTRIES
                 FINANCIAL RESOURCE CENTER
                 P O BOX 8500-S3695
                 PHILADELPHIA, PA 19178-3695


                 IVYLEA PHARMACY
                 2446 ELMWOOD AVENUE
                 KENMORE, NY 14217


                 J & D'S SEAL TECH CORP.
                 138 CHANDLER ST.
                 BUFFALO, NY 14207


                 J & M SCHAEFER, INC.
                 5 COLLAMER CIRCLE
                 E SYRACUSE, NY 13067-1179


                 J&D ICE
                 1655 ORCHARD PARK RD
                 WEST SENECA, NY 14224


                 J. KENNETH JOHNSON
                 17326 BEECH DALY ROAD
                 ROMULUS, MI 48174


Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 130 of 271
                 J.C.'S EXCAVATING,INC
                 11 RIVER OAKS DRIVE
                 GRAND ISLAND, NY 14072


                 J.D. COUSINS, INC.
                 667 TIFT STREET
                 BUFFALO, NY 14220


                 J.D.COUSINS,INC.
                 667 TIFT ST.
                 BUFFALO, NY 14220


                 J.F. MALONEY, INC.
                 PO BOX 236
                 BUFFALO, NY 14217-0236


                 J.G. REFACTORY SERVICES
                 PO BOX 486
                 CARNEGIE, PA 15106


                 J.G. REFACTORY SERVICES
                 800 N. BELL AVENUE
                 BUILDING 6, SUITE 230
                 CARNEGIE, PA 15106


                 J.J. Keller & Associates Inc.
                 3003 Breezewood Ln.
                 Neenah, WI 54957


                 J.J.KELLER ASSOCIATES INC
                 PO BOX 6609
                 CAROL STREAM, IL 60197-6609


                 J.J.KELLER ASSOCIATES INC,
                 PO BOX 548
                 NEENAH, WI 05495-7548


                 J.P. ELLIOTT ASSOCIATES, INC.
                 6789 MAIN ST
                 BUFFALO, NY 14221


                 J.R. SWANSON PLUMBING CO. INC.
                 6680 MOORADIAN DR.
                 NIAGARA FALLS, NY 14304


Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 131 of 271
                 J.T. LYNNE REPS., INC.
                 84 HORSEBLOCK RD. J
                 YAPHANK, NY 11980


                 J.T.BUTZ
                 HCR#1 BOX 115
                 SWIFTWATER, PA 18370


                 JACK GRAY TRANSPORT, INC.
                 4600 EAST 15TH AVENUE
                 GARY, IN 46403


                 JACKSON-HIRSCH, INC.
                 700 ANTHONY TRAIL
                 NORTHBROOK, IL 60062-2542


                 JAEGER PRODUCTS, INC.
                 PO BOX 4309
                 HOUSTON, TX 77210-4309


                 JAHANGIR KOLEINI, MD
                 3457 CLINTON STREET
                 WEST SENECA, NY 14224


                 JAMES A SNYDER
                 8237 HUNTERS CREEK ROAD
                 HOLLAND, NY 14080


                 JAMES BABAY
                 4728 BAYWOOD DR
                 ERIE, PA 16509


                 JAMES F. TWIST, MD PC
                 2156 SHERDIAN DRIVE
                 BUFFALO, NY 14223


                 JAMES R DODSON
                 9272 BENCHMARK DR
                 APT. C
                 INDIANAPOLIS, IN 46240


                 JAMES RIVER INSURANCE COMPANY
                 P.O. BOX 27648
                 RICHMOND, VA 32361-7648


Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 132 of 271
                 JAMES V. RYAN
                 PARAMEDIC FOUNDATION
                 1835 SHERIDAN DRIVE
                 KENMORE, NY 14223-1269


                 JAMESTOWN INDUSTRIAL TRUCKS, INC.
                 52 S.PEARL ST.
                 PO BOX 613
                 FREWSBURG, NY 14738


                 JAMIE L. BRENON
                 132 VULCAN STREET
                 BUFFALO, NY 14207


                 JASC SOFTWARE INC
                 7905 FULLER ROAD
                 EDEN PRAIRIE, MN 55344


                 JAVA FARM SUPPLY INC.
                 4862 ROUTE 98
                 NORTH JAVA, NY 14113


                 JBC INDUSTRIES
                 57B INDUSTRIAL ROAD
                 BERKELEY HEIGHTS, NJ 07922


                 JCI JONES CHEMICALS, INC.
                 PO BOX 368
                 BUFFALO, NY 14240


                 JCI JONES CHEMICALS, INC.
                 P.O. BOX 12549
                 NEWARK, NJ 07101-3550


                 JDR MICRODEVICES
                 1850 SOUTH 10TH STREET
                 SAN JOSE, CA 95112-4108


                 JEAN EISENMENGER
                 2266 OAKLEY PLACE
                 LAKEVIEW, NY 14085




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 133 of 271
                 JEFFREY C. MANNILLO
                 120 DELAWARE AVENUE
                 SUITE 202
                 BUFFALO, NY 14202


                 JEM COMPUTER MARKETING
                 PO BOX 798
                 WILLIAMSVILLE, NY 14321-0798


                 JENNINGS TRUCKING
                 RR2 BOX 320 B
                 CANTON, PA 17724


                 JENTSCH & COMPANY INC.
                 290 SOUTH PARK AVENUE
                 BUFFALO, NY 14204


                 JEROME MASTRANDREA
                 300 TWO MILE CREEK ROAD
                 TONAWANDA, NY 14150


                 JF AUTOMATION USA INC
                 750 ENSMINGER RD.
                 SUITE 106
                 TONAWANDA, NY 14150


                 JF&M COMPANY
                 1632 8TH AVENUE
                 HUNTINGTON, WV 25703


                 JGB Enterprises, Inc.
                 2540 Walden Ave.
                 Buffalo, NY 14225


                 JGB ENTERPRISES, INC.
                 115 METROPOLITAN DRIVE
                 PO BOX 209
                 LIVERPOOL, NY 13088


                 JGM INC
                 251 NORWOOD ROAD
                 DOWNINGTOWN, PA 19335




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 134 of 271
                 JGM INSTALLATION & SERVICE, INC.
                 PO BOX 16
                 WEST SENECA, NY 14224


                 JGM SALES
                 251 NORTHWOOD ROAD
                 DOWNINGTOWN, PA 19335


                 JGM SALES LLC
                 P.O. BOX 293
                 WEST GRANBY, CT 06090


                 JOEL L. DANIELS
                 107 DELAWARE AVE
                 SUITE 1366
                 BUFFALO, NY 14202


                 JOEL ROSEN
                 GRAPHIC DESIGN
                 92 VIENNAWOOD DRIVE
                 ROCHESTER, NY 14618


                 JOHN A STRUG SR
                 2138 LOCKPORT RD
                 NIAGARA FALLS, NY 14304


                 JOHN B. CONOMOS, INC
                 P.O. BOX 279
                 COULTER & STATION STREETS
                 BRIDGEVILLE, PA 15017


                 JOHN C. THOMPSON
                 69 GRAYTON ROAD
                 TONAWANDA, NY 14150


                 JOHN CZERWINSKI
                 7450 BEAR RIDGE ROAD
                 N. TONAWANDA, NY 14120


                 JOHN DEERE LANDSCAPES
                 24110 NETWORK PLACE
                 CHICAGO, IL 60673-1241




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 135 of 271
                 JOHN J MOLLOY
                 ATTORNEY AT LAW
                 4268 SENECA STREET
                 WEST SENECA, NY 14224


                 JOHN M. ERHART, MD
                 1890 COLVIN BLVD.
                 TONAWANDA, NY 14150


                 JOHN P. MANEY, PH.D.
                 3 COMPASS WAY
                 GLOUCESTER, MA 01930


                 JOHN WOJTCZAK
                 11622 PARKER ROAD
                 EAST AURORA, NY 14052


                 JOHN'S TOWING & STORAGE
                 1121 SHERIDAN DRIVE
                 TONAWANDA, NY 14150


                 JOHN'S TOWING AND STORAGE
                 1121 SHERIDAN DRIVE
                 TONAWANDA, NY 14150


                 JON ROGERS
                 5057 THURSTON ROAD
                 BLASDELL, NY 14219


                 JOSEPH A. RALABATE, M.D.
                 2450 ELMWOOD AVENUE
                 KENMORE, NY 14217


                 JOSEPH FREEMAN PE
                 277 MAIN STREET
                 EAST AURORA, NY 14052


                 JOSEPH LENGEN
                 255 73RD STREET
                 NIAGARA FALLS, NY 14304


                 JOSEPH SMITH ENTERPRISES LLC
                 1907 NEWPORT GAP PIKE
                 WILMINGTON, DE 19808


Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 136 of 271
                 JOSEPH T. RYERSON & SON
                 PO BOX 98977
                 CHICAGO, IL 60693


                 JOSEPH W. BANIA
                 41 TROY VIEW LANE
                 WILLIAMSVILLE, NY 14221


                 JOYCE KUSMERSIK
                 257 TOWERS BLVD.
                 CHEEKTOWAGA, NY 14227


                 JP COMPUTER PRODUCTS
                 PO BOX 32
                 7724 VICTOR-MENDON ROAD
                 VICTOR, NY 14564


                 JP COMPUTER SERVICE
                 TOBEY VILLAGE OFFICE PARK
                 90 OFFICE PARK WAY
                 PITTSFORD, NY 14534


                 JP MORGAN CHASE
                 2300 MAIN PLACE TOWER
                 BUFFALO, NY 14202


                 JP MORGAN CHASE BANK
                 395 NORTH SERVICE ROAD
                 3RD FLOOR
                 MELVILLE, NY 11747


                 JS TROUP ELECTRIC, INC.
                 200 LAKE AVE.
                 BLASDELL, NY 14219


                 JUAN COLON
                 TONAWANDA MAINTENANCE
                 186 NORMAL AVENUE
                 BUFFALO, NY 14213


                 JUDITH A. LA MANNA
                 224 HARRISON STREET
                 SYACUSE, NY 13202




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 137 of 271
                 JULIUS KRAFT CO. INC.
                 PO BOX 1391
                 BINGHAMTON, NY 13902


                 JUNIOR ACHIEVEMENT OF WESTERN NEW YORK
                 181 FRANKLIN STREET
                 BUFFALO, NY 14202-9842


                 K & E FABRICATING COMPANY INC
                 40 STANLEY ST
                 BUFFALO, NY 14206


                 K & E FABRICATING COMPANY, INC
                 49 ROBERTS AVENEUE
                 BUFFALO, NY 14206


                 K & E Fabricating Company, Inc.
                 40 Stanley Street
                 Buffalo, NY 14206


                 K & E FABRICATING COMPANY, INC.
                 49 ROBERTS AVENUE
                 BUFFALO, NY 14206


                 K & J ELECTRIC
                 5894 EAST MOLLOY RD.
                 SYRACUSE, NY 13211


                 K & L SALES
                 2399 ROUTE 85
                 HOME, PA 15747


                 K & S CONTRACTORS SUPPLY, INC
                 1971 GUNNVILLE ROAD
                 LANCASTER, NY 14086


                 K&H AUTO SALES
                 5202 SENECA STRET
                 WEST SENECA, NY 04224


                 K-D SUPPLY CORPORATION
                 641 ERIE AVENUE
                 PO BOX 549
                 N. TONAWANDA, NY 14120


Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 138 of 271
                 K-TECH ASSOCIATES
                 1868 NIAGARA FALLS BLVD
                 #307
                 TONAWANDA, NY 14150


                 K.C. TRANSPORTATION, INC.
                 3180 ROUTE 6
                 WATERFORD, PA 16441


                 K.D.M. DIE CO. INC
                 620 ELK STREET
                 BUFFALO, NY 14210


                 K.I.S. LOGISTICS, INC.
                 PO BOX 3144
                 LIVERPOOL, NY 13090


                 K.V. KLEMENTOWSKI MD PC
                 3834 DELAWARE AVENUE
                 KENMORE, NY 14217


                 KAMAN FLUID POWER, LLC
                 195 S. MAIN STREET
                 P.O. BOX 569
                 AKRON, OH 44309


                 KAMAN INDUSTRIAL TECHNOLOGIES
                 P.O. BOX 74566
                 CHICAGO, IL 60696-4566


                 KAMHOLZ ENTERPRISES
                 57 BRANTWOOD DR
                 WEST SENECA, NY 14224


                 KAMHOLZ LANDSCAPE CONSTRUCTION
                 57 BRANTWOOD DR
                 WEST SENECA, NY 14224-3101


                 KASGRO RAIL CORPORATION
                 320 CHERRY STREET
                 NEW CASTLE, PA 16102


                 KATHLEEN KERR
                 300 TWO MILE CREEK ROAD
                 TONAWANA, NY 14150

Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 139 of 271
                 KC TRANSPORTATION INC
                 3180 ROUTE 6
                 WATERFORD, PA 16441


                 KEEN TRANSPORT INC
                 PO BOX 298
                 NEW KINGSTOWN, PA 17072


                 KEHR-BUFFALO WIRE FRAME
                 PO BOX 806
                 GRAND ISLAND, NY 14072


                 Kehr-Buffalo Wire Frame Co., Inc.
                 127 Kehr Street
                 Buffalo, NY 14211


                 KEN-TON CHAMBER OF COMMERCE
                 3411 DELAWARE AVE
                 KENMORE, NY 14217


                 KEN-TON GOP SUPERVISORS' TRIBUTE
                 % PHIL TASCH
                 307 WENDEL AVENUE
                 BUFFALO, NY 14223


                 KEN-TON MEALS ON WHEELS
                 169 SHERIDAN PARKSIDE DR
                 TONAWANDA, NY 14150


                 KEN-TON OPEN MRI PC
                 PO BOX 8000719
                 BUFFALO, NY 14267-0002


                 KENILWORTH ELECTRONICS CO.
                 860 NIAGARA FALLS BLVD
                 BUFFALO, NY 14223


                 KENMORE CAB DISPATCH SERVICE, INC.
                 35 SKILLEN STREET
                 BUFFALO, NY 14207


                 KENMORE CAB DISPATCH SERVICE, INC.
                 440 ONTARIO STREET
                 BUFFALO, NY 14207


Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 140 of 271
                 Kenmore Cab Dispatch Services
                 35 Skillen St.
                 Buffalo, NY 14207


                 KENMORE FAMILY MEDICINE
                 PO BOX 22744
                 ROCHESTER, NY 14692


                 KENMORE MERCY HOSPITAL
                 PROMEDICAL LLC
                 PO BOX 310
                 BEDFORD, MA 01730-0310


                 KENMORE RADIATOR CO. INC.
                 1200 MILITARY ROAD
                 KENMORE, NY 14217


                 KENMORE RENTING COMPANY,INC
                 1297 KENMORE AVE
                 KENMORE, NY 14217


                 KENMORE RX CENTER
                 2890 ELMWOOD AVENUE
                 KENMORE, NY 14217


                 KENMORE VOLUNTEER FIRE DEPARTMENT
                 16 NASH ROAD
                 KENMORE, NY 04217


                 KENMORE WEST HIGH SCHOOL
                 33 HIGHLAND PARKWAY
                 KENMORE, NY 14223


                 KENMORE-TONAWANDA MEDICAL ASSO., P.C.
                 50 ALCONA PLACE
                 BUFFALO, NY 14226


                 KENSINGTON MANAGEMENT GROUP, LTD.
                 PO BOX 10027
                 GRFAND CAYMAN KY1-1001


                 KENSINGTON XRAY
                 207 COMMERCE DRIVE
                 AMHERST, NY 14228-2399


Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 141 of 271
                 KENTON FEDERAL CREDIT UNION
                 642 SHERIDAN DRIVE
                 TONAWANDA, NY 14150


                 KEPHART TRUCKING COMPANY
                 PO BOX 398
                 BIGLER, PA 16825


                 KESSLER INSTRUMENTS, INC.
                 PO BOX 640
                 WESTBURY, NY 11590


                 KEVIN HEMMEN RAYNOR GARAGE COORS
                 3811 HARLEM ROAD
                 BUFFALO, NY 14225


                 KEVIN HOWE
                 15824 ROLLAND DRIVE
                 MANHATTAN, IL 60442


                 KEVIN SZPAK
                 3450 HOWARD ROAD #161
                 HAMBURG, NY 14075


                 KEY DATA SYSTEMS
                 16250 STAGG STREET
                 VAN NUYS, CA 91406


                 KEY PRODUCTIVITY CENTER
                 PO BOX 410
                 SARANAC LAKE, NY 12983-0410


                 KEYSTONE BUILDERS SUPPLY
                 3888 COLLECTIONS CENTER DRIVE
                 CHICAGO, IL 60693


                 KIDS ESCAPING DRUGS
                 ATTN:MARK ALVUT
                 86 PINE LAKE DRIVE
                 WILLIAMSVILLE, NY 14221


                 KILLAM ASSOCIATES
                 THORN HILL INDUSTRIAL PARK
                 100 ALLEGHENY DRIVE
                 WARRENDALE, PA 15086-7565

Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 142 of 271
                 KINEQUIP INCORPORATED
                 365 OLD NIAGARA FALLS BLVD.
                 BUFFALO, NY 14228-1636


                 KING BAG MANUFACTURING CO.
                 1500 SPRING LAWN AVENUE
                 CINCINNATI, OH 45223-1699


                 KING INUDSTRIAL REPAIR CO, INC
                 665 RIVER ROAD
                 NORTH TONAWANDA, NY 14120


                 KING WHOLESALE LOCK & DOOR SUPPLY
                 3134 DELAWARE AVENUE
                 BUFFALO, NY 14217


                 KINGSPORT FDRY. & MFG. COMPANY
                 PO BOX 880
                 KINGSPORT, TN 37662


                 KINSLEY POWER SYSTEMS
                 14 CONNECTICUT SOUTH DRIVE
                 EAST GRANBY, CT 06026


                 KIPLINGER'S BIOFUELS MARKET ALERT
                 KIPLINGERS WASHINGTON EDITORS INC
                 1729 H STREET NW
                 WASHINGTON, DC 20006-3938


                 KIPLINGERS RETIREMENT REPORT
                 PO BOX 5114
                 HARLAN, IA 51596-4614


                 Kirchner, LLC
                 3937 River Road
                 Tonawanda, NY 14150


                 KIRCHNER, LLC
                 PO BOX 242
                 TONAWANDA, NY 14151-0242


                 KIRK KEY INTERLOCK COMPANY
                 211 WETMORE AVE SE
                 MASSILLON, OH 44646


Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 143 of 271
                 KIWANIS CLUB OF THE TONAWANDA'S INC.
                 PO BOX 762
                 TONAWANDA, NY 14151-0762


                 KLECKER TRUCKING CO.
                 3571 N. SEELY ROAD
                 MANTON, MI 49663


                 KLEIN STEEL SERVICE INC.
                 P.O. BOX 8000
                 DEPT. 436
                 BUFFALO, NY 14267


                 Klein Steel Service, Inc.



                 KLINK TRUCKING
                 PO BOX 428
                 ASHLEY, IN 46705


                 KNOX MCLAUGHLIN GORNALL SENNETT, P.C.
                 120 WEST 10TH STREET
                 ERIE, PA 16501-1461


                 KOBOLD INSTRUMENTS, INC
                 1801 PARKWAY VIEW DRIVE
                 PITTSBURGH, PA 15205


                 KOEHLER INVESTIGATIVE SERVICES
                 PO BOX 362
                 CLARENCE, NY 14031


                 KOEHLER-GIBSON MARKING & GRAPHICS, INC.
                 875 ENGLEWOOD AVENUE
                 BUFFALO, NY 14223


                 KOM Automation Inc.
                 355 Commerce Dr.
                 Buffalo, NY 14228


                 KOM AUTOMATION INC.
                 PO BOX 5129
                 BUFFALO, NY 14240-5129



Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 144 of 271
                 KOM LAMB INC.
                 PO BOX 5129
                 BUFFALO, NY 14240-5129


                 KONECRANES INC
                 P.O. BOX 641807
                 PITTSBURGH, PA 15264-1807


                 KOPPERS INC.
                 436 SEVENTH AVE
                 ROOM 2050
                 PITTSBURG, PA 15219-1800


                 Kovalchick Corporation
                 1060 Wayne Ave.
                 Indiana, PA 15701


                 KOVALCHICK CORPORATION
                 1060 WAYNE AVENUE
                 PO BOX 279
                 INDIANA, PA 15701-0279


                 KRAFT TOOL COMPANY
                 8325 HEDGE LANE TERRACE
                 SHAWNEE, KS 66227


                 KRAMER CHEMICALS INC.
                 266 HARRISON ROAD
                 PO BOX 1118
                 GLEN ROCK, NJ 07452-1118


                 KRAMES PATIENT EDUCATION
                 PO BOX 90477
                 CHICAGO, IL 60696-0477


                 KRAMES STAYWELL LLC
                 PO BOX 90477
                 CHICAGO, IL 60696-0477


                 KRAUTKRAMER BRANSON INC.
                 50 INDUSTRIAL PARK
                 LEWISTON, PA 17044




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 145 of 271
                 KRUPP WILPUTTE
                 1370 WASHINGTON PIKE
                 BRIDGEVILLE, PA 15017


                 Kubota Materials Canada Corporation



                 KUBOTA MATERIALS CANADA CORPORATION
                 PO BOX 1700
                 FAHRAMET DIVISION
                 ORILLIA, ON L3V 6L6


                 KUBOTA MATERIALS CANANDA CORPORATION
                 FAHRAMET DIVISION
                 PO BOX 1700
                 ORILLIA, ON L3V 6L6


                 KUBOTA METAL CORPORATION
                 FAHRAMET DIVISION
                 PO BOX 1700
                 ORILLIA, ON L3V 6L6


                 KUERT CONCRETE, INC.
                 3402 LINCOLNWAY WEST
                 SOUTH BEND, IN 46628


                 KULJIT SINGH
                 194 ENCHANTED FOREST SOUTH
                 DEPEW, NY 14043


                 KUNKLE HOLDINGS LLC
                 2399 ROUTE 85
                 HOME, PA 15747


                 Kurk Fuel Company



                 KURK FUEL COMPANY
                 PO BOX A
                 78 SAWYER AVENUE
                 BUFFALO, NY 14217-0305


                 L-OVA ANALYZER SERVICES
                 13155 SPRING HILL DRIVE
                 SPRING HILL, FL 34609-5052

Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 146 of 271
                 L.A. WOOLLEY, INC
                 620 TIFFT STREET
                 BUFFALO, NY 14220


                 L.B. FOSTER COMPANY
                 PO BOX 371108M
                 PITTSBURGH, PA 15251-7108


                 L.B. SMITH INC.
                 PO BOX 828808
                 PHILADELPHIA, PA 19182-8808


                 L.L. GEANS & SONS, INC.
                 1923 N. HOME STREET
                 MISHAWAKA, IN 46545-7287


                 L.M.O. TRANSPORTATION SERVICES
                 P.O. BOX 996
                 CHESTERLAND, OH 44026


                 L.T. HARNETT TRUCKING INC.
                 7431 ST RT. 7
                 KINSMAN, OH 44428


                 L.T. HARNETT TRUCKING, INC
                 7431 STATE RT.7
                 KINSMAN, OH 44428-9789


                 L.T. Harnett Trucking, Inc.
                 7431 State Route 7
                 Kinsman, OH 44428


                 LAB SAFETY SUPPLY, INC.
                 P.O. BOX 5004
                 JANESVILLE, WI 53547-5004


                 LABELMASTER
                 PO BOX 46402
                 CHICAGO, IL 60646-0402


                 LABOR READY, INC.
                 PO BOX 82014S
                 PHILADELPHIA, PA 19182-0145



Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 147 of 271
                 LACEY HEAVY EQUIPMENT REPAIR,INC
                 6359 RIDDLE ROAD
                 LOCKPORT, NY 14094


                 LACKAWANNA PRODUCTS CORP
                 8545 MAIN STREET
                 PO BOX 660
                 CLARENCE, NY 14031


                 LADCO EQUIPMENT & JANTORIAL SUPPLY INC.
                 5628 MAELOU DRIVE
                 HAMBURG, NY 14075


                 LAFARGE GREAT LAKES DIVISION
                 WARREN PLANT
                 358 BURNETT ROAD
                 WARREN, OH 44481


                 LAFARGE NORTH AMERICA
                 DEPT. CH 19393
                 PALATINE, IL 60055-9393


                 LAIDLAW CARRIERS BULK LP
                 240 UNIVERSAL RD
                 PO BOX 1651
                 WOODSTOCK, ON N4S 0A9


                 LAIRD CONTROLS NORTH AMERICA INC.
                 P.O. BOX 418114
                 BOSTON, MA 02241-8114


                 LAKE EFFECT TRUCKING
                 23942 STATE RD 2
                 SOUTH BEND, IN 46619


                 LAKE FOUNDRY LTD
                 287 SOUTH SERVICE RD
                 GRIMSBY, ONT L3M 1Y6


                 Lake Foundry Ltd.
                 287 S. Service Rd.
                 Canada
                 L3M 1Y6
                 Grimsby, ON



Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 148 of 271
                 Lake Foundry Ltd.
                 287 S. Service Rd.
                 Canada
                 L3M 1Y6
                 Grimsby, ON


                 LAKE SHORE VOLUNTEER FIRE CO.
                 4591 LAKE SHORE
                 HAMBURG, NY 14075


                 LAKE STEEL, INC.
                 3370 BROADWAY
                 CHEEKTOWAGA, NY 14227-1131


                 LAKELAND SUPPLY, INC
                 536 NIAGARA FALLS BLVD
                 BUFFALO, NY 14223


                 Lakes Pipe & Supply Corporation
                 3525 Hyde Park Blvd.
                 Niagara Falls, NY 14305


                 LAKES PIPE & SUPPLY CORPORATION
                 PO BOX 429
                 NIAGARA FALLS, NY 14302


                 LAKESIDE STEEL SERVICES, INC.
                 3231 LAKESHORE ROAD
                 BLASDELL, NY 14219


                 LAMBTON DIESEL SPECIALISTS, INC.
                 120 SCOTT ROAD
                 SARINA, ON N7T 7H8


                 LANCASTER STEEL SERVICE COMPANY
                 DEPARTMENT 603
                 PO BOX 8000
                 BUFFALO, NY 14267


                 LANDSTAR INWAY, INC.
                 PO BOX 75492
                 CHICAGO, IL 60675-5492




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 149 of 271
                 LANDSTAR LIGON INC
                 DRAWER CS 100733
                 ATLANTA, GA 30384-0733


                 LANE FIRE & SAFETY
                 1243 MILITARY ROAD
                 BUFFALO, NY 14217


                 LANG & WASHBURN ELECTRIC
                 PO BOX 40
                 AMHERST, NY 14228-0040


                 LANGE,SIMPSON,ROBINSON & SOMERVILLE LLP
                 417 TWENTIETH STREET NORTH
                 SUITE 1700
                 BIRMINGHAM, AL 35203-3272


                 LARDON CONSTRUCTION CORP.
                 108 LAKE AVENUE
                 BLASDELL, NY 14219


                 Lardon Construction Corporation



                 LASALLE BODY SERVICE, INC.
                 28829 ORCHARD LAKE
                 FARMINGTON HILLS, MI 48334


                 LAW OFFICES OF JAMES D. EISS
                 19 LIMESTONE DRIVE
                 SUITE 1
                 BUFFALO, NY 14221


                 LAWRENCE - ANGUS CONTROLS
                 275 COOPER AVENUE
                 SUITE 105
                 TONAWANDA, NY 14150


                 LAWRENCE SHERMAN MD
                 1173 SHERIDAN DRIVE
                 TONAWANDA, NY 14150


                 LAYHER INC.
                 8225 HANSEN RD
                 HOUSTON, TX 77075

Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 150 of 271
                 LCT ENERGY
                 11 LLOYDE AVE
                 LATROBE, PA 15650


                 LEADERSHIP INSTITUTE
                 U.S. SENETOR PAUL RAND
                 1101 N. HIGHLAND STREET
                 ARLINGTON, VA 22201


                 LECG, LLC
                 PO BOX 952423
                 ST. LOUIS, MO 63195-2423


                 LECO CORPORATION
                 3000 LAKEVIEW AVENUE
                 ST. JOSEPH, MI 49085-2396


                 LEHIGH CONSTRUCTION GROUP, INC.
                 PO BOX 8000
                 DEPARTMENT 968
                 BUFFALO, NY 14267


                 Len-Co Lumber
                 1445 Seneca St.
                 Buffalo, NY 14210


                 LENCO LUMBER CORP.
                 1445 SENECA STREET
                 BUFFALO, NY 14210


                 LEO BRENON TOPSOIL
                 5530 KILLIAN ROAD
                 N. TONAWANDA, NY 14120


                 LEONI MOTOR EXPRESS
                 PO BOX 670
                 CHICAGO HEIGHTS, IL 60411


                 LEPCORP
                 403 MAIN STREET
                 SUITE 630
                 BUFFALO, NY 14203-2100




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 151 of 271
                 LESSONS IN LEADERSHIP
                 PO BOX 55083
                 LEXINGTON, KY 40555-5083


                 LEUKEMIA SOCIETY OF AMERICA
                 5500 MAIN STREET
                 SUITE 110
                 WILLIAMSVILLE, NY 14221


                 LEWIS INDUSTRIAL CONTROLS, INC.
                 1355 CENTERLINE RD
                 STRYKERSVILLE, NY 14145


                 LEWIS, RICE, & FINGERSH
                 500 N. BROADWAY
                 SUITE 2000
                 ST. LOUIS, MO 63102-2147


                 LHL EQUIPMENT
                 318 SAWYER AVENUE
                 TONAWANDA, NY 14150


                 LIBERTY ELECTRIC SALES INC.
                 6602 JOY RD.
                 EAST SYRACUSE, NY 13057


                 LIBERTY MUTUAL INSURANCE
                 PO BOX 2027
                 KEENE, NH 03431-7027


                 LIFE SAFETY SECURITY
                 60 SONWIL DRIVE
                 BUFFALO, NY 14225


                 LIFE TRANSITIONS CENTER, INC.
                 3580 HARLEM ROAD
                 BUFFALO, NY 14215


                 LIFETECH EQUIPMENT COMPANIES, INC
                 6847 ELLICOTT DRIVE
                 EAST SYRACUSE, NY 13057


                 LIFTECH HANDLING, INC.
                 PO BOX 2556
                 BUFFALO, NY 14240-2556

Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 152 of 271
                 LIGHTHART SALES, INC.
                 3811 HARLEM ROAD
                 BUFALO, NY 04226


                 LIGHTIN PORTABLE DIV.
                 PO BOX 277886
                 ATLANTA, GA 30384-7886


                 LIMESTONE PRIMARY CARE PH
                 3950 E.ROBINSON RD
                 STE 305
                 W. AMHERST, NY 14228


                 LINEAGE
                 150 LAWRENCE BELL DRIVE
                 SUITE 100
                 WILLIAMSVILLE, NY 14221


                 LIPSITZ GREEN SCIME CAMBRIA LLP
                 42 DELAWARE AVENUE
                 SUITE 120
                 BUFFALO, NY 14202-3924


                 LIQUID DRIVE CORPORATION
                 P.O. BOX 177
                 418 HADLEY STREET
                 HOLLY, MI 48442


                 LISA KOWAL-TREASURER
                 KEN-TON REPUBLICAN COMMITTEE
                 76 WAVERLY AVE.
                 KENMORE, NY 14217


                 LISTON MANUFACTURING, INC.
                 421 PAYNE AVENUE
                 P.O. BOX 178
                 NORTH TONAWANDA, NY 14120


                 LIVING LEADERSHIP
                 PO BOX 7700
                 ATLANTA, GA 30357-0700


                 LIVINGSTON INTERNATIONAL INC
                 PO BOX 490
                 BUFFALO, NY 14225


Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 153 of 271
                 LIVINGSTON INTERNATIONAL, INC.
                 PO BOX 490
                 BUFFALO, NY 14225


                 LOCAL NET CORPORATION
                 5500 MAIN STREET
                 WILLIAMSVILLE, NY 14611


                 LOCKMONDY EXCAVTING, INC.
                 20965 W. IRELAND RD.
                 SOUTH BEND, IN 46614


                 LOFTS ON PEARL
                 92 PEARL STREET
                 BUFFALO, NY 14202


                 LOGAN & KANAWHA COAL COMPANY LLC
                 3228 SUMMIT SQUARE PLACE - SUITE 180
                 ATTN: KEVIN STATON
                 LEXINGTON, KY 40509


                 LOGAN CORPORATION
                 PO BOX 58
                 HUNTINGTON, WV 25706-0058


                 LOGAN CORPORATION
                 20 MC JUNKIN RD
                 NITRO, WV 25143


                 LONG ISLAND PRODUCTIONS
                 106 CAPITOLA DRIVE
                 DURHAM, NC 27713


                 LORI REINHARDT
                 387 MILITARY ROAD
                 BUFFALO, NY 14207


                 LORMAN EDUCATION SERVICES
                 2510 ALPINE RD
                 PO BOX 509
                 EAU CLAIRE, WI 54702-0509




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 154 of 271
                 LOTEMPIO & BROWN
                 ONE FRANKLIN COURT
                 181 FRANKLIN STREET
                 BUFFALO, NY 14202-2448


                 LOTHLORIEN THERAPEUTIC RIDING CTR, INC
                 15 REITER RD
                 EAST AURORA, NY 14052


                 LOUIS DEL PRINCE & SONS, INC.
                 580 CAYUGA ROAD
                 CHEEKTOWAGA, NY 14225-1312


                 LOUIS LAZAR MD
                 28 PEORIA STREET
                 BUFFALO, NY 14207


                 LOVEJOY METALS INC
                 40 DINGENS STREET
                 BUFFALO, NY 14206


                 LOVEJOY METALS, INC.
                 40 DINGENS STREET
                 BUFFALO, NY 14206


                 LPM PARTS AND SERVICE
                 620 ONTARIO ST
                 BUFFALO, NY 14207


                 LRP PUBLICATIONS
                 PO BOX 980
                 DEPT 170 747 DRESHER RD. SUITE 500
                 HORSHAM, PA 19044-0980


                 LUCENT TECHNOLOGIES
                 PO BOX 9001077
                 LOUISVILLE, KY 10290-1077


                 LUCENT TECHNOLOGIES PRODUCT FINANCE
                 PO BOX 93000
                 CHICAGO, IL 60673-3000


                 LUCRATIVE STAFFING
                 P.O. 554
                 AMHERST, NY 14226

Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 155 of 271
                 LUMASENSE TECHNOLOGIES, INC.
                 3301 LEONARD COURT
                 SANTA CLARA, CA 95054


                 LUSHLAWN, INC.
                 224 DINGENS STREET
                 BUFFALO, NY 14206


                 LYNN PRODUCTS COMPANY, INC
                 400 BOSTON STREET
                 LYNN, MA 01905


                 LYNNE SELLERS
                 1220 EDEN EVANS CENTER ROAD
                 ANGOLA, NY 14006


                 LYONS INDUSTRIES,INC.
                 3912 ADMIRAL PEARY HIGHWAY
                 EDENSBURG, PA 15931


                 M&T BANK
                 C/O KAREN KUKLEWICZ
                 2882 DELAWARE AVE
                 KENMORE, NY 14217


                 M. DUSEL, INC.
                 11850 SEVEN OAKS DRIVE
                 INDIANAPOLIS, IN 46236


                 M.B. Orsolits Co., Inc.
                 73 Lafayette Blvd.
                 Buffalo, NY 14221


                 M.B. ORSOLITS CO., INC.
                 73 LAFAYETTE BLVD.
                 WILLIAMSVILLE, NY 14221


                 M.I.S. OF AMERICA, INC.
                 116 MAIN STREET
                 DEPEW, NY 14043


                 M.J. PIPE & SUPPLY
                 609 BUFFALO ROAD
                 ROCHESTER, NY 14611


Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 156 of 271
                 MACHINERY MAINTENANCE REBUILDERS
                 5341 MOUNTAIN VIEW ROAD
                 UNIT 170
                 ANTIOCH, TN 37013


                 MACHINERY MAINTENANCE REBUILDERS
                 6927 BRITTMOORE ROAD
                 HOUSTON, TX 77041


                 MAGAVERN, MAGAVERN & GRIMM LLP
                 1100 RAND BUILDING
                 14 LAFAYETTE SQUARE
                 BUFFALO, NY 14203


                 MAGNETROL c/o ACI CONTROLS, INC.
                 295 MAIN STREET
                 WEST SENECA, NY 14224


                 MAINTENANCE & MANAGEMENT ASSOCIATES
                 843 NIAGARA FALLS BLVD.
                 AMHERST, NY 14226


                 MAINTENANCE TROUBLESHOOTING PRODUCTS DIV
                 273 POLLY DRUMMOND ROAD
                 NEWARK, DE 19711


                 MALLARE ENTERPRISE INC.
                 174 N. ELLICOTT CREEK ROAD
                 AMHERST, NY 14228


                 MALLARE ENTERPRISES
                 174 N. ELLICOTT CREEK RD.
                 AMHERST, NY 14228


                 MALLARE ENTERPRISES INC.
                 174 N. ELLICOTT CREEK ROAD
                 AMHERST, NY 14228


                 MANCUSO STEEL PRODUCTS, INC.
                 5033 MAPLETON ROAD
                 LOCKPORT, NY 14094-9620


                 MANUFACTURERS & TRADERS TRUST COMPANY
                 PO BOX 1377
                 BUFFALO, NY 14240

Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 157 of 271
                 MARGARET JANKIEWICZ
                 38 WEST HOME ROAD
                 BOWMANSVILLE, NY 14026


                 MARK A ROSEN
                 4701 CONNECTICUT AVENUE #LL2
                 WASHINGTON, DC 20008


                 MARK FISHER, MD
                 2156 A SHERIDAN DRIVE
                 KENMORE, NY


                 MARK INDUSTRIES INC.
                 20 PARTRIDGE RUN
                 P.O. BOX 623
                 GETZVILLE, NY 14068


                 MARK INDUSTRIES, INC.
                 PO BOX 623
                 GETZVILLE, NY 14068


                 MARSHAL'S OF CITY COURT
                 50 DELAWARE AVENUE
                 BUFFALO, NY 14202


                 MARTECH CONTROLS DIV. SAFETY INC.
                 2000 TEALL AVE.
                 SUITE 103
                 SYRACUSE, NY 13206


                 MARTIN SILO
                 4850 ROBSON RD.
                 P.O. BOX 4850
                 STANLEY, NY 14561


                 MARVEL ENGINEERING CO.
                 2085 NORTH HAWTHORNE
                 MELROSE PARK, IL 60160-1173


                 MARVIN J. FELDMAN
                 1104 THE SUPERIOR BUILDING
                 815 SUPERIOR AVENUE, N.E.
                 CLEVELAND, OH 44114




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 158 of 271
                 MARWAS STEEL COMPANY
                 BOX 3475
                 PITTSBURGH, PA 15230-3475


                 MARWAS STEEL COMPANY
                 18 MOUNT PLEASANT ROAD
                 SCOTTDALE, PA 15683


                 MARY LOU'S PATENT TAXES
                 69 GRAYTON ROAD
                 TONAWANDA, NY 14150


                 Mass Mutual Financial Group
                 37 Franklin St., #600
                 Buffalo, NY 14202


                 MASSMUTUAL RETIREMENT SERVICES
                 PO BOX 5021
                 HARTFORD, CT 06102-5021


                 MASUNE COMPANY
                 PO BOX 971431
                 DALLAS, TX 75397-1431


                 MATERIAL CONTROL, INC.
                 197 POPLAR PLACE - UNIT 3
                 P.O. BOX 308
                 NORTH AURORA, IL 60542-0308


                 MATERIAL CONTROL, INC.
                 130 SELTZER ROAD
                 P.O. BOX 167
                 CROSWELL, MI 48422-0167


                 MATERIAL MOTION, INC
                 2914 LENOX ROAD NE, SUITE #10
                 ATLANTA, GA 30324-2831


                 MATHESON TRI-GAS
                 LOCKBOX 10080
                 PASADENA, CA 91189-0800


                 MATRIX TELECOM INC
                 PO BOX 660780
                 DALLAS, TX 75266

Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 159 of 271
                 MATTHEW A. SCHIIMPF
                 1442 BIRCH DRIVE
                 NORTH TONAWANDA, NY 14120


                 MATTHEW A. SCHIMA
                 1442 BIRCH DRIVE
                 NORTH TONAWANDA, NY 14120


                 MAXON CORPORATION
                 15189 COLLECTION CENTER
                 CHICAGO, IL 60693


                 MAXON INCORPORATED
                 201 EAST 18TH ST
                 MUNCIE, IN 47307


                 MAY TOOL & DIE, INC.
                 9 HACKETT DRIVE
                 TONAWANDA, NY 14151-3797


                 MAYER BROTHERS SPRING WATER
                 3300 TRANSIT RD
                 WEST SENECA, NY 14224


                 MAYER BROWN LLP
                 1999 K STREET N.W.
                 WASHINGTON, DC 20006-1101


                 MB INDUSTRIAL EQUIPMENT INC.
                 P.O. BOX 14
                 TARENTUM, PA 15084


                 McCANN INDUSTRIES, INC
                 4301 N. MAIN STREET
                 EAST PEORIA, IL 61611


                 MCCARTHY PARENT GROUP
                 1709 GRAND ISLAND BLVD
                 GRAND ISLAND, NY 14072


                 McCullagh Coffee
                 245 Swan St.
                 Buffalo, NY 14204



Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 160 of 271
                 McCULLAGH COFFEE
                 245 SWAN STREET
                 BUFFALO, NY 14204


                 MCDONALD MARINE SURVEYS INC.
                 5100 ERIN MILLS PARKWAY
                 #53030
                 MISSISSAUGA, ON L5M 5H7


                 MCGARD, INCORPORATED
                 3875 CALIFORNIA ROAD
                 ORCHARD PARK, NY 14127-4198


                 McGRAW HILL COMPANY
                 7707 COLLECTION CENTER DRIVE
                 CHICAGO, IL 60693-0077


                 MCI
                 PO BOX 1509
                 SAN ANTONIO, TX 78295-1509


                 MCINTOSH & MCINTOSH, P.C.
                 PO BOX 490
                 429 PINE STREET
                 LOCKPORT, NY 14095


                 MCIWORLDCOM COMM SERVICE
                 POST OFFICE BOX 856059
                 LOUISVILLE, KY 40285-6059


                 MCLEAN FOUNDRY LIMITED
                 PO BOX 1263
                 247 COLBORNE ST.W.
                 BRANTFORD, ONT N3T 5T3


                 McMAHON SCALE COMPANY INC.
                 34 PEUQUET PKWY
                 TONAWANDA, NY 14150


                 MCMASTER UNIVERSITY
                 DEPT OF MATERIALS SCIENCE & ENGINEERING
                 1280 MAIN STREET
                 JHE-213 HAMILTON, ON L8S 4L7




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 161 of 271
                 McMaster-Carr Supply, Inc.
                 P.O. Box 94930
                 Cleveland, OH 44101


                 MCMASTER-CARR SUPPLY, INC.
                 PO BOX 7690
                 CHICAGO, IL 60680-7690


                 MCNALLY INDUSTRIES, INC.
                 PO BOX 1425
                 MINNEAPOLIS, MN 5480-5035


                 MCSI
                 DEPARTMENT 0231
                 COLUMBUS, OH 43265-0231


                 MCWANE COAL SALES
                 1143 VANDERBILT ROAD
                 BIRMINGHAM, AL 35234


                 MCWANE DUCTILE - NEW JERSEY
                 183 SITGREAVES STREET
                 PHILLIPSBURG, NJ 08865


                 MDS EXPRESS
                 PO BOX 33455
                 SYACUSE, NY 13220-3345


                 MDS POWER INC
                 PO BOX 532
                 CHAMPLAIN, NY 12919


                 MEAD SUPPLY, INC.
                 1415 NIAGARA STREET
                 BUFFALO, NY 14213


                 MEDCOR INC
                 4805 W.PRIME PARKWAY
                 PO BOX 550
                 MCHENRY, IL 60050


                 Medfirst Urgent Care, LLC
                 3900 Sheridan Dr.
                 Buffalo, NY 14226


Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 162 of 271
                 MEDFIRST URGENT CARE, LLC
                 P.O. BOX 8000
                 DEPT. 168
                 BUFFALO, NY 14267-0002


                 MEDICAL GROUP OF WNY, PC
                 941 WASHINGTON STREET
                 BUFFALO, NY 14203


                 MELLOTT COMPANY
                 P.O. BOX 822915
                 PHILADELPHIA, PA 19182-2915


                 MEMORIAL SLOAN-KETTERING CANCER CENTER
                 PO BOX 27105
                 NEW YORK, NY 10087-7105


                 MENNE NURSERY CORPORATION
                 3100 NIAGARA FALLLS BLVD.
                 AMHERST, NY 14228-1696


                 MERCANTILE ADJUSTMENT BUREAU, INC.
                 737 DELAWARE AVENUE
                 BUFFALO, NY 14209


                 MERCY HOSPITAL OF BUFFALO
                 565 ABBOTT ROAD
                 BUFFALO, NY 14220-2039


                 MERCY MEDICAL EQUIPMENT & OXYGEN
                 2170 UNION ROAD
                 WEST SENECA, NY 14224


                 MERIAM PROCESS TECHNOLOGIES
                 10920 MADISON AVENUE
                 CLEVELAND, OH 44102


                 MERIDIAN IT
                 P.O. BOX 71426
                 CHICAGO, IL 60694-1426


                 MERIDIAN IT INC
                 PO BOX 71426
                 CHICAGO, IL 60694-1426


Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 163 of 271
                 Meridian IT Inc.
                 15 Hazelwood Dr., #10
                 Buffalo, NY 14228


                 MERRILL-STONE INC.
                 PO BOX 31097
                 INDIANAPOLIS, IN 46231


                 MET ONE INSTRUMENTS
                 1600 WASHINGTON BLVD.
                 GRANTS PASS, OR 97526


                 METAL LOCKING SERVICE, INC.
                 PO BOX 139
                 BUFFALO, NY 14207


                 Metalworking Lubricants Company
                 25 W. Silverdome Industrial Park
                 Pontiac, MI 48342


                 METALWORKING LUBRICANTS COMPANY
                 P.O. BOX 214379
                 AUBURN HILLS, MI 48321


                 METCOAL SALES, INC.
                 PNC LOCKBOX DEPT
                 ATTN 643363 500 FIRST AVENUE
                 PITTSBURGH, PA 15219


                 METCOAL SALES, INC.
                 PO BOX 640256
                 PITTSBURGH, PA 15264-0256


                 METLIFE
                 BOX 360229
                 PITTSBURGH, PA 15251-6229


                 METRO FINANCIAL SERVICES
                 PO BOX 970817
                 DALLAS, TX 75397-0817


                 METRO PHYSICAL THERAPY
                 1515 KENSINGTON AVENUE
                 BUFFALO, NY 14215


Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 164 of 271
                 Metso Minerals Industries, Inc.



                 METSO MINERALS INDUSTRIES, INC.
                 DEPT CH 19629
                 PALATINE, IL 60055-9629


                 METTLER TOLEDO, INC
                 P.O. BOX 730867
                 DALLAS, TX 75373-0867


                 METTLER TOLEDO, INC.
                 L-857
                 COLUMBUS, OH 43260


                 MFS RETIREMENT SERVICES INC
                 ATTN: TOM BEAN
                 3939 WEST RIDGE ROAD, SUITE A-103
                 ERIE, PA 16506


                 MGM ELECTRICAL SURPLUS COMPANY, INC.
                 2137 FAIRFIELD AVENUE
                 NIAGARA FALLS, NY 14305


                 MICHAEL A BALENT PE
                 6201 WARD RD
                 SANBORN, NY 14132


                 MICHAEL BEST & FRIEDRICH LLP
                 100 EAST WISCONSIN AVE
                 MILWAUKEE, WI 53202-4108


                 MICHAEL K. DUNKIN
                 18 APPLEFIELD DRIVE
                 WILLIAMSVILLE, NY 14221


                 MICHAEL K. DURKIN
                 18 APPLEFIELD DRIVE
                 WILLIAMSVILLE, NY 14221


                 MICHAEL RADCLIFFE
                 705 DORTHORY CT.
                 WANATAH, IN 46390



Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 165 of 271
                 MICHAELS FLORIST
                 2916 DELAWARE AVE
                 KENMORE, NY 14217-2398


                 MICHIANA CHAPTER AFS
                 ATTN: JOE WALKER-ATA CASTONG SERVICE
                 300 PHILADELPHIA STREET
                 LAPORTE, IN 46350


                 MICHIGAN CAT
                 DEPARTMENT 77586
                 DETROIT, MI 48277-0586


                 MICHIGAN DEPT. OF ENVIRONMENTAL QUALITY
                 CASHIERS OFFICE-HWUC
                 P.O. BOX 30657
                 LANSING, MI 48909-8157


                 MICHIGAN SMALL LOAD HAULERS
                 54810 OAK ROAD
                 SOUTH BEND, IN 46682


                 MICHIGAN STATE UNIVERSITY
                 SALLY VESCOLANI-PROGRAM COORDINATOR
                 3535 FOREST ROAD
                 LANSING, MI 48910-3831


                 MICHIGAN SUGAR BEET GROWERS, INC.
                 C/O TRI STAR TRUST BANK
                 5424 STATE STREET
                 SAGINAW, MI 48603


                 MID-CONTINENT COAL & COKE
                 PO BOX 74572
                 CLEVELAND, OH 44194-0655


                 MIDAS MUFFLER
                 943 PAYNE AVENUE
                 N. TONAWANDA, NY 14120


                 MIDCAP BUSINESS CREDIT LLC
                 433 SOUTH MAIN ST
                 WEST HARTFORD, CT 06110




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 166 of 271
                 MIDDLEPORT TRACTOR SALES, LLC
                 86 TELEGRAPH RD.
                 MIDDLEPORT, NY 14105


                 MIDLAND MOTORS INC
                 210 JOSEPH STREET
                 LAVALLETE, NJ 08735


                 MIDWAY INDUSTRIAL SUPPLY
                 PO BOX 303
                 UTICA, NY 13503-0303


                 MIDWAY INDUSTRIES
                 PO BOX 303
                 UTICA, NY 13503


                 MIDWAY STORAGE & DISTRIBUTION LLC
                 PO BOX 410
                 MONROE, OH 45050


                 MIDWAY STORAGE & DISTRIBUTION, LLC
                 P.O. BOX 410
                 MONROE, OH 45050


                 MIDWESCO FILTER RESOURCES, INC.
                 P.O. BOX 71641
                 CHICAGO, IL 60694-1641


                 MIDWEST INDUSTRIAL SUPPLY INC
                 PO BOX 8431
                 CANTON, OH 44711


                 Midwest Industrial Supply, Inc.
                 1101 3rd St. SE
                 Canton, OH 44707


                 MIDWEST INDUSTRIAL SUPPLY, INC.
                 PO BOX 75545
                 CLEVELAND, OH 44101-4755


                 MIDWEST METAL FAB, INC.
                 1830 S. OLIVE STREET
                 SOUTH BEND, IN 46613



Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 167 of 271
                 MIKRON INFRARED, INC.
                 16 THORNTON RD
                 OAKLAND, NJ 07436


                 MILL CONTROL SYSTEMS INC
                 757 COUNTY ROUTE 29
                 OSWEGO, NY 13126


                 MILL CONTROL SYSTEMS, INC.
                 757 CO. RTE.29
                 OSWEGO, NY 13126


                 MILL SPECIALTIES, INC.
                 PO BOX 398
                 LAGRANGE, IL 60525


                 MILLARD FILLMORE HOSPITAL
                 3 GATES CIRCLE
                 BUFFALO, NY 14209


                 MILLER INDUSTRIAL SALES
                 PO BOX 855
                 BUFFALO, NY 14231


                 MILLER'S PAINT & WALLPAPER
                 3218 TRANSIT RD
                 WEST SENECA, NY 14224


                 MILLS WELDING SUPPLY, INC.
                 PO BOX 5164
                 BUFFALO, NY 14240-5164


                 MILLTRONICS INC.
                 PO BOX 961013
                 FT. WORTH, TX 76161-0013


                 MILLTRONICS INC.
                 4459 COLLECTIONS CENTER DRIVE
                 CHICAGO, IL 60693


                 MIMCO PRODUCTS DIVISION
                 731 EAST MAIN STREET
                 PO BOX 230
                 MONONGAHELA, PA 15063


Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 168 of 271
                 MINDEMANN TRUCKING
                 N8067 MAPLE STREET
                 IXONIA, WI 53036-0344


                 MINE SAFETY APPLIANCES COMPANY
                 P.O. BOX 640348
                 PITTSBURGH, PA 15264-0348


                 MINERAL PROCESSING SYSTEM
                 PO BOX M-312
                 YORK, PA 17405


                 MINING, ROCK EXCAVATION & CONSTRUCTION
                 P.O. BOX 200948
                 PITTSBURGH, PA 15251-0948


                 MINUTE PRINT INC
                 3774 HARLEM ROAD
                 CHEEKTOWAGA, NY 14216


                 MITCHELL INSTRUMENT CO.
                 1570 CHEROKEE ST.
                 SAN MARCOS, CA 92069


                 MJ ENTERPRISES OF WNY, INC.
                 PO BOX 252
                 WILLIAMSVILLE, NY 14231-0252


                 MJ MECHANICAL SERVICES, INC.
                 2040 MILITARY ROAD
                 TONAWNADA, NY 14150


                 MJ MECHANICAL SERVICES, INC.
                 95 PIRSON PARKWAY
                 TONAWANDA, NY 14150


                 MMR CONSTRUCTION
                 2176 RIVER ROAD
                 NIAGARA FALLS, NY 14304-3750


                 MODERN DISPOSAL SERVICES, INC
                 4746 MODEL CITY ROAD
                 MODEL CITY, NY 14107-0209



Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 169 of 271
                 MODERN INDUSTRIAL FIREBRICK CORP
                 PO BOX 160
                 NEWFANE, NY 14108


                 MODERN INDUSTRIES, INC.
                 MRD - PITTSBURGH DIVISION
                 613 WEST 11 ST
                 ERIE, PA 16501


                 MODERN REFRACTORIES SERVICE
                 747 ERIE AVENUE
                 TONAWANDA, NY 14120-4488


                 MODERN REFRECTORIES SERVICE
                 747 ERIE AVENUE
                 TONAWANDA, NY 14120-4488


                 MOE'S AUTO GLASS
                 P.O. BOX 346
                 5067 TRANSIT ROAD
                 DEPEW, NY 14043-0346


                 MOHAWK LTD
                 1 NEWELL LANE
                 CHADWICKS, NY 13319


                 MOLEY MAGNETICS INC.
                 5202 COMMERCE DR.
                 LOCKPORT, NY 14094


                 Moley Magnetics, Inc.
                 5202 Commerce Dr.
                 Lockport, NY 14094


                 MOLLENBERG-BETZ, INC.
                 300 SCOTT STREET
                 BUFFALO, NY 14204


                 MOLY-COP ALTASTEEL LTD
                 9401 34 STREET
                 EDMONTON, AB T5J 2R3




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 170 of 271
                 MONCO PRODUCTS, INC.
                 731 EAST MAIN STREET
                 PO BOX 230
                 MONONGAHELA, PA 15063


                 MONDAY QUARTERBACK CLUB
                 PO BOX 66
                 ORCHARD PARK, NY 14127-0066


                 MONROE SYSTEMS FOR BUSINESS
                 PO BOX 7777
                 LOCKBOX WO315
                 PHILADELPHIA, PA 19175-0315


                 MONROE TRACTOR
                 5035 GENESEE STREET
                 BUFFALO, NY 14225


                 MONTROSE AIR QUALITY SERVICES, LLC
                 C/O MONTROSE ENVIRONMENTAL GROUP, INC.
                 P.O. BOX 419584
                 BOSTON, MA 02241-9584


                 MOORE PRODUCTS COMPANY
                 PO BOX 7777-W5490
                 PHILDELIPHA, PA 19175


                 MORTON SALT COMPANY
                 PO BOX 905016
                 CHARLOTTE, NC 28290-5016


                 MOTION INDUSTRIES
                 1000 YOUNG STREET
                 TONAWANDA, NY 14150


                 MOTION INDUSTRIES
                 PO BOX 98412
                 CHICAGO, IL 60693


                 MOUNT ST. MARYS HOSPITAL
                 5300 MILITARY ROAD
                 LEWISTON, NY 14051




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 171 of 271
                 MPULSE MAINTENANCE SOFTWARE
                 P.O. BOX 22906
                 EUGENE, OR 97402


                 MPW INDUSTRIAL SERVICES
                 9711 LANCASTER RD. SE
                 HEBRON, OH 43025


                 MR. CHARLES J. DOTY
                 166 ORCHARD BEACH ROAD
                 NORTH EAST,, PA 16428


                 MR. CHARLES J. DOTY
                 224 MEADOW DRIVE
                 MEADVILLE, PA 16335


                 MR. SHIMS
                 729 N. YALE AVENUE
                 PO BOX 6744
                 VILLA PARK, IL 60181


                 MRC INTERNATIONAL, INC.
                 PO BOX 87
                 VINEMONT, AL 35179


                 MRC TECHNOLOGIES OF NORTH AMERICA,LLC.
                 25 ROBERTS AVENUE
                 BUFFALO, NY 14206


                 MS MICHAELS ASSOCIATES
                 PO BOX 501
                 E. AMHERST, NY 14051


                 MTEK INC
                 337 WEST CHOCOLATE AVE
                 HERSHEY, PA 17033


                 MTEK, INC.
                 337 WEST CHOCOLATE AVE.
                 HERSHEY, PA 17033


                 MURPHY AND NOLAN, INC.
                 P.O. BOX 6689
                 SYRACUSE, NY 13217-6689


Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 172 of 271
                 MURRAY ROOFING CO., INC.
                 600 CAYUGA CREEK RD.
                 CHEEKTOWAGA, NY 14227-1932


                 MURRYSVILLE MACHINERY COMPANY
                 1000 COMMERCIAL COURT
                 IRWIN, PA 15642


                 MUSCULAR DYSTROPHY ASSOCIATION
                 FIFTH THIRD BANK
                 PO BOX 2431
                 GRAND RAPIDS, MI 49501-2431


                 MUSSO PLUMBING & HEATING, INC.
                 8574 SHERIDAN DRIVE
                 WILLIAMSVILLE, NY 14221


                 MVA DIAGNOSTICS INC
                 P.O. BOX 271
                 WHEELING, WV 26003


                 MVA DIAGNOSTICS, INC
                 P.O. BOX 271
                 WHEELING, WV 26003


                 MYRON BOWLING AUCTIONEERS
                 3901 KRAUS LANE
                 HAMILTON, OH 45014


                 MYRON MANUFACTURING CORP.
                 PO BOX 400
                 MAYWOOD, NJ 07607


                 N.A. CUDECK LTD
                 111 FIRETOWER DRIVE
                 TONAWANDA, NY 14150


                 N.TONAWANDA ACTION FOR RETARDED CITIZENS
                 PO BOX 475
                 N TONAWANDA, NY 14120


                 N.Y.S. DEPT.OF LABOR - UI DIVISION
                 GPO
                 PO BOX 27435
                 NEW YORK, NY 10087-7435

Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 173 of 271
                 NALCO COMPANY
                 P.O. BOX 70716
                 CHICAGO, IL 60673-0716


                 NAM Manufacturers
                 733 10th Street NW, Suite 700
                 Washington, DC 20001


                 NAM MANUFACTURERS
                 CENTER FOR LEGAL ACTION
                 733 10TH STREET NW, SUITE 700
                 WASHINGTON, DC 20001


                 NAPA AUTO PARTS
                 2110 ELMWOOD AVENUE
                 BUFFALO, NY 14207


                 NAPM-BUFFALO, INC.
                 PO BOX 888
                 HAMBURG, NY 14075-0888


                 NASON'S DELIVERY
                 71 NASON BLVD.
                 PO BOX 219
                 SPRINGVILLE, NY 14141


                 NATIONAL AIRVIEWS INC
                 11412 WILLIAMSPORT PIKE
                 GREENCASTLE, PA 17225


                 NATIONAL ASSCO. OF MFGRS.
                 1331 PENNSYLVANIA AVE. NW
                 SUITE 1500 - NORTH TOWER
                 WASHINGTON, DC 20004-1790


                 NATIONAL ASSOC. OF PURCHASING MGMT
                 PO BOX 22160
                 TEMPE, AZ 85285-2160


                 NATIONAL BUSINESS FURNITURE
                 735 N. WATER STREET
                 SUITE 440
                 MILWAUKEE, WI 53202




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 174 of 271
                 NATIONAL CHILD SAFETY COUNCIL
                 CITY OF TONAWANDA POLICE DEPARTMENT
                 200 NIAGARA ST. ATTN:DETECTIVE TOTH
                 TONAWANDA, NY 14150-1033


                 NATIONAL CORPORATE RESEARCH, LTD
                 225 WEST 34TH STREET
                 NEW YORK, NY 10122-0032


                 NATIONAL COURIER
                 P.O. BOX 3449
                 BUFFALO, NY 14240


                 NATIONAL FIRE PROTECTION ASSOCIATION
                 PO BOX 8977
                 BOSTON, MA 02266-8977


                 NATIONAL FUEL
                 PO BOX 371835
                 PITTSBURGH, PA 15250-7835


                 NATIONAL FUEL
                 10 LAFAYETTE SQUARE
                 BUFFALO, NY 14203


                 NATIONAL FUEL RESOURCES, INC
                 PO BOX 371810
                 PITTSBURGH, PA 15250-7810


                 NATIONAL FUEL RESOURCES, INC
                 PO BOX 9072
                 WILLIAMSVILLE, NY 14231


                 NATIONAL GRID
                 PO BOX 11742
                 NEWARK, NJ 07101-4742


                 NATIONAL HONOR SOCIETY
                 TONAWANDA SENIOR HIGH SCHOOL
                 150 HINDS STREET
                 TONAWANDA, NY 14150


                 NATIONAL INFORMATION DATA CENTER
                 PO BOX 96621
                 WASHINGTON, DC 20090-6621

Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 175 of 271
                 NATIONAL MAINTENANCE CONTRACTING CORP
                 PO BOX 258
                 NIAGARA FALLS, NY 14304


                 National Maintenance Contracting Corp.



                 NATIONAL MAINTENANCE CONTRACTING CORP.
                 P.O. BOX 258
                 5600 NIAGARA FALLS BLVD.
                 NIAGARA FALLS, NY 14304


                 NATIONAL OVERHEAD DOOR INC
                 5880 NEW TAYLOR RD
                 ORCHARD PARK, NY 14127


                 NATIONAL OVERHEAD DOOR, INC.
                 5880 NEW TAYLOR ROAD
                 ORCHARD PARK, NY 14127


                 NATIONAL REFRACTORIES & MINERALS CORP.
                 P.O. BOX 95867
                 CHICAGO, IL 60694


                 NATIONAL SAFETY CONSULTANTS INC.
                 1660 OAKRIDGE DR.
                 SALIX, PA 15952


                 NATIONAL SAFETY COUNCIL
                 PO BOX 558
                 ITASCA, IL 60143-0558


                 NATIONAL SEMINARS GROUP
                 PO BOX 2949
                 SHAWNEE MISSION, KA 66201-1349


                 NATIONAL TECHNOLOGY TRANSFER, INC.
                 PO BOX 4558
                 ENGLEWOOD, CO 80155-4558


                 NATIONAL VACUUM CORP.
                 408 47TH STREET
                 NIAGARA FALLS, NY 14304-2102



Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 176 of 271
                 NE CHAPTER, AFS
                 692 NORTH BEDFORD STREET
                 PO BOX 448
                 EAST BRIDGEWATER, MA 02333


                 NEAL'S RADIATOR SERVICE INC.
                 116 GRAND ISLAND BLVD
                 TONAWANDA, NY 14150


                 NEILLY CANVAS GOODS COMPANY
                 2700 PENN AVE
                 PITTSBURGH, PA 15222


                 NELSON FUEL, INC.
                 1511 SOUTH OLIVE DRIVE
                 SOUTH BEND, IN 46619-4297


                 NEPTUNE CHEMICAL PUMP COMPANY
                 204 DEKALB PIKE
                 PO BOX 247
                 LANSDALE, PA 19446


                 NES RENTALS
                 PO BOX 8500-1226
                 PHILADELPHIA, PA 19178-1226


                 NETWORK SOLUTIONS, INC.
                 PO BOX 17305
                 BALTIMORE, MD 21297-0525


                 NEU-VELLE LLC
                 1667 LAKE AVE
                 ROCHESTER, NY 14615


                 NEU-VELLE, LLC
                 1667 LAKE AVE.
                 BLDG. 59 - SUITE 101
                 ROCHESTER, NY 14615


                 NEW ENGLAND MOTOR FREIGHT
                 1-71 NORTH AVENUE EAST
                 PO BOX 6031
                 ELIZABETH, NJ 07207-6031




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 177 of 271
                 NEW ENGLAND TECHNICAL SALES
                 P.O. BOX 284
                 NORTH SALEM, NY 10560


                 NEW JERSEY METER CO.
                 1 HAZEL ST.
                 WOODLAND PARK, NJ 07424


                 NEW PIG CORPORATION
                 PO BOX 304
                 ONE PORK AVENUE
                 TIPTON, PA 16684


                 NEW WAVE ENERGY CORP
                 PO BOX 42
                 BOWMANSVILLE, NY 14026


                 NEW YORK LABOR LAW POSTER SERVICE
                 5859 W. SAGINAW HWY #343
                 LANSING, MI 48917-2460


                 NEW YORK LIFE INSURANCE
                 PO BOX 500
                 MINNEAPOLIS, MN 55440-0500


                 NEW YORK STATE COMPTROLLER
                 OFFICE OF UNCLAIMED FUNDS
                 110 STATE ST., 8TH FLOOR
                 ALBANY, NY 12236-0001


                 New York State Department of Health
                 Corning Tower
                 Empire State Plaza
                 Albany, NY 12237


                 NEW YORK STATE DEPARTMENT OF HEALTH
                 WADSWORTH CENTER    ELAP
                 PO BOX 509, LAB ID# 10505
                 ALBANY, NY 12201-0509


                 NEW YORK STATE SHERIFFS' ASSOCIATION
                 27 ELK ST.
                 ALBANY, NY 12214-7115




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 178 of 271
                 NEWARK ELECTRONICS
                 PO BOX 94151
                 PALATINE, IL 60094-4151


                 NEWARK InONE ELECTRONICS
                 PO BOX 94151
                 PALATINE, IL 60094-4151


                 NEWCOURT COMMUNICATIONS
                 FINANCE COPORATION
                 PO BOX 93000
                 CHICAGO, IL 60673-3000


                 NEWTEX INDUSTRIES, INC.
                 8050 VICTOR-MENDON ROAD
                 VICTOR, NY 14564


                 NEXT GENERATION VENDING & FOOD SERVICES
                 PO BOX 845032
                 BOSTON, MA 02284-5032


                 NIAGARA COUNTY COMMUNITY COLLEGE
                 50 MAIN STREET
                 LOCKPORT, NY 14094


                 NIAGARA COUNTY EMPLOYMENT & TRAINING
                 1001 ELEVENTH STREET
                 NIAGARA FALLS, NY 14301


                 NIAGARA COUNTY SCU
                 PO BOX 15329
                 ALBANY, NY 12212-5329


                 NIAGARA CUTTER SUPPLY
                 661 ERIE AVENUE
                 PO BOX 708
                 N.TONAWANDA, NY 14120


                 NIAGARA ELECTRIC MOTORS
                 PO BOX 264
                 SANBORN, NY 14132


                 NIAGARA ELECTRIC SALES
                 3280 SOUTH PARK AVENUE
                 BUFFALO, NY 14218

Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 179 of 271
                 NIAGARA ELEVATOR, INC.
                 PO BOX 904
                 TONAWANDA, NY 14151-0904


                 NIAGARA EMERGENCY PHYSICIANS GROUP, PC
                 50 ALCONA AVENUE
                 BUFFALO, NY 14226


                 NIAGARA ENVIRONMENTAL & WRECKING
                 777 EAST PARK DRIVE
                 TONAWANDA, NY 14150


                 NIAGARA FALLS MEM MED CTR
                 501 TENTH STREET LOWER LEVEL
                 NIAGARA FALLS, NY 14301


                 NIAGARA FILTRATION COMPANY, INC
                 6929 SUNNYDALE DRIVE
                 NIAGARA FALLS, NY 14304


                 NIAGARA FLUID POWER, INC.
                 2728 NIAGARA FALLS BLVD.
                 NIAGARA FALLS, NY 14304-4587


                 NIAGARA FRONTIER EQUIPMENT SALES, INC
                 4060 LAKE AVENUE
                 ROUTE 78
                 LOCKPORT, NY 14094-1196


                 NIAGARA FRONTIER RAD. ASSOC.
                 PO BOX 8000 DEPT 570
                 BUFFALO, NY 14267


                 NIAGARA INSULATIONS
                 79 PERRY STREET
                 BUFFALO, NY 14203


                 NIAGARA LUBRICANT CO. INC.
                 1057 E. DELAVAN AVE.
                 BUFFALO, NY 14215


                 NIAGARA MOHAWK POWER CORP.
                 300 ERIE BLVD.
                 SYRACUSE, NY 13202


Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 180 of 271
                 NIAGARA PISTON RING WORKS, INC.
                 18455 SCIOTA STREET
                 CORRY, PA 16407


                 NIAGARA PISTON RING WORKS, INC.
                 P.O. BOX 333
                 CLYMER, NY 14724


                 NIAGARA TRUCK EQUIPMENT
                 P.O. BOX 69
                 EAST AMHERST, NY 14051


                 NIAGARA WHOLESALE SUPPLY CO INC
                 4100 WITMER RD
                 NIAGARA FALLS, NY 14305


                 Niagara Wholesale Supply Co. Inc.
                 4100 Witmer Rd.
                 Niagara Falls, NY 14305


                 NIAGARA WHOLESALE SUPPLY CO. INC.
                 4100 WITMER RD
                 NIAGARA FALLS, NY 14305


                 NIATECH COMPANY
                 275 COOPER AVENUE
                 SUITE 100
                 TONAWANDA, NY 14150


                 NIATECH COMPANY
                 209 SCHOELLES RD
                 AMHERST, NY 14228


                 NIBSCO SUPPLY INC
                 S-3865 TAYLOR ROAD
                 OCHARD PARK, NY 14127-2297


                 NICHOLSON & HALL CORP.
                 PO BOX 8000
                 DEPARTMENT 201
                 BUFFALO, NY 14267


                 NICKEL CITY GLASS, INC.
                 4570 SOUTH PARK AVENUE
                 BLASDELL, NY 14219

Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 181 of 271
                 NLPC
                 107 PARK WASHINGTON COURT
                 FALLS CHURCH, VA 22046


                 NOCO Energy Corporation
                 700 Grand Island Blvd.
                 Tonawanda, NY 14150


                 NOCO ENERGY CORPORATION
                 ATTN: JOSETTE PUHL/EXPRESS DIVISION
                 2440 SHERIDAN DRIVE
                 TONAWANDA, NY 14150


                 NOCO ENERGY CORPORATION
                 DEPT. 116218
                 P.O. BOX 5211
                 BINGHAMTON, NY 13902-5211


                 NOON DAY CLUB
                 2019 OAKLAWN DRIVE
                 PARMA, OH 44134


                 NOONEY CONTROLS CORPORATION
                 P.O. BOX 375
                 NORTH KINGSTOWN, RI 02852


                 NORFOLK SOUTHERN CORP.
                 PO BOX 277531
                 ATLANTA, GA 30384-7531


                 Norfolk Southern Corporation



                 NORFOLK SOUTHERN CORPORATION
                 PO BOX 945503
                 ATLANTA, GA 30394-5503


                 NORFOLK SOUTHERN RAILWAY COMPANY
                 MAIL CODE 5629
                 P.O. BOX 105046
                 ATLANTA, GA 30348-5046




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 182 of 271
                 NORFOLK SOUTHERN RAILWAY COMPANY
                 REAL ESTATE DEPARTMENT
                 8000 RAVINES EDGE COURT, SUITE 100
                 COLUMBUS, OH 43235


                 NORRIS SCREEN & MANUFACTURING, INC.
                 24707 NETWORK PLACE
                 CHICAGO, IL 60673-1247


                 NORTH AMERICAN MFG CO
                 PO BOX 71009
                 CLEVELAND, OH 44191-0209


                 NORTH AMERICAN MFG CO
                 4455 EAST 71ST. STREET
                 CLEVELAND, OH 44105-5600


                 NORTH AMERICAN REFACTORIES COMPANY
                 PO BOX 7247-8741
                 PHILADELPHIA, PA 19170


                 NORTH COAST RAIL SERVICE
                 164 CHATHAM DRIVE
                 AURORA, OH 44202


                 NORTH STAR PIPE & TANK COMPANY
                 2845 HILLBROOK DRIVE
                 EDEN, NY 14057


                 NORTH STATE SUPPLY COMPANY
                 PO BOX 70
                 BUFFALO, NY 14217


                 NORTHEAST CANOPY
                 2187 RT. 11
                 KIRKWOOD, NY 13795


                 NORTHEAST MACHINE & MOTOR SUPPLY, INC.
                 71 TWO MILE CREEK ROAD
                 TONAWANDA, NY 14150-5887


                 NORTHEAST MECHANICAL INC
                 139 SAWYER AVE
                 DEPEW, NY 14043


Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 183 of 271
                 NORTHEAST MECHANICAL INC,
                 139 SAWYER AVENUE
                 DEPEW, NY 14043


                 NORTHEAST METROLOGY CORPORATION
                 2601 GENESEE STREET
                 BUFFALO, NY 14225


                 NORTHEAST PUBLISHING CORP.
                 MARINE INDUSTRIAL PARK
                 PO BOX 1659
                 BOSTON, MA 02205-1659


                 NORTHERN INDIANA AFS CHAPTER
                 BREMEN CASTINGS, INC/ANGIE PRINZ
                 P.O. BOX 129
                 BREMEN, IN 46506


                 NORTHERN TOOL & EQUIPMENT COMPANY
                 P.O. BOX 1499
                 BURNSVILLE, MN 55337


                 NORTHTOWNS IMAGING PC
                 PO BOX 8000
                 DEPT 189
                 BUFFALO, NY 14267-0002


                 NORTHTOWNS ORTHOPEDICS PC
                 8750 TRANSIT ROAD
                 SUITE 105
                 EAST AMHERST, NY 14051


                 NORTHWEST BULK TRANSFER INC
                 3600 NORTH SEELEY RD
                 MANTON, MI 49663


                 NOTABLE CORPORATION
                 4240 RIDGE LEA ROAD
                 AMHERST, NY 14226


                 NPL MANAGEMENT LIMITED
                 SWIFT BIC:BARCGB22
                 BARCLAYS BANK PLC
                 CANARY WHARF, LONDON E14 5HP



Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 184 of 271
                 NRC NY ENVIRONMENTAL SCIENCES, INC
                 401 CREEKSIDE DRIVE
                 SUITE 3
                 AMHERST, NY 14228


                 Nuchereno Auto Inc.
                 1021 Tonawanda St.
                 Buffalo, NY 14207


                 NUCHERENO AUTO SUPPLY, INC.
                 1021 TONAWANDA STREET
                 BUFFALO, NY 14207


                 NUCHERENO AUTO, INC.
                 1021 TONAWANDA STREET
                 BUFFALO, NY 14207


                 NUSSBAUMER & CLARKE, INC.
                 3556 LAKE SHORE ROAD
                 BUFFALO, NY 14219-1494


                 NUWAY AUTO PARTS
                 415 WEST MAIN ST
                 ROCHESTER, NY 14608


                 NYAAEL
                 316 ROOSEVELT STREET
                 SAYRE, PA 18840


                 NYS CHILD SUPORT PROCESSING CENTER
                 PO BOX 15363
                 ALBANY, NY 01221-2563


                 NYS DEC-REGION 9
                 270 MICHIGAN AVENUE
                 BUFFALO, NY 14203-2999


                 NYS DEPARTMENT OF STATE
                 DIVISION OF LICENSING SERVICES
                 PO BOX 5004
                 NEW YORK, NY 10087-5004


                 NYS DEPARTMENT OF TAXATION AND FINANCE
                 W A HARRIMAN CAMPUS
                 ALBANY, NY 12227-5100

Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 185 of 271
                 NYS DEPT. OF ENVIRONMENTAL CONSERVATION
                 FILE NO. 15-61/R9-20151215-132
                 P.O. 3782
                 NEW YORK, NY 10008-3782


                 NYS EMPLOYMENT CONTRIBUTIONS AND TAXES
                 PO BOX 4119
                 BINGHAMTON, NY 13902-4119


                 NYS EMPLOYMENT TAXES
                 CHURCH STREET STATION
                 PO BOX 1416
                 NEW YORK, NY 10008-1416


                 NYS SPECIAL OLYMPICS
                 504 BALLTOWN ROAD
                 SCHENECTADY, NY 12304


                 NYS UNEMPLOYMENT INSURANCE
                 EA5 ER#: 68-60755 1
                 PO BOX 4301
                 BINGHAMTON, NY 13902-4301


                 NYS-DOL DIVISION OF SAFETY & HEALTH
                 LICENSE & CERTIFICATION UNIT
                 BUILDING 12, ROOM 161, STATE CAMPUS
                 ALBANY, NY 12240


                 NYSDEC
                 SPILL PREVENTION & BULK STORAGE SECTION
                 625 BROADWAY, 11TH FLOOR
                 ALBANY, NY 12233-7020


                 NYSDEC DIVISION OF WATER
                 BUREAU OF WATER RESOURCES MANAGEMENT
                 625 BROADWAY
                 ALBANY, NY 12233-3508


                 NYSEG SOLUTIONS
                 81 STATE STREET
                 STEPHENS SQUARE 5TH FLOOR
                 BINGHAMTON, NY 13901-3133


                 O & L EQUIPMENT INC.
                 370 SOUTHSIDE PKWY
                 BUFFALO, NY 14220

Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 186 of 271
                 O Brien & Gere Engineers, Inc.
                 5000 Brittonfield Parkway
                 Syracuse, NY 13221


                 O'BRIEN & GERE ENGINEERS, INC
                 P.O. BOX 8000
                 DEPT. 956
                 BUFFALO, NY 14267


                 O'BRIEN & GERE ENGINEERS, INC.
                 P.O. BOX 8000
                 DEPT. 956
                 BUFFALO, NY 14267


                 O'CONNELL ELECTRIC COMPANY, INC.
                 DEPARTMENT 342
                 P.O. BOX 8000
                 BUFFALO, NY 14267


                 OAG AVIATION WORLDWIDE LLC
                 24328 NETWORK PLACE
                 CHICAGO, IL 60673


                 OAG BUSINESS TRAVEL PLANNER
                 PO BOX 55665
                 BOULDER, CO 80322-5665


                 OAG POCKET FLIGHT GUIDE
                 75 REMITTANCE DRIVE,SUITE 1570
                 CHICAGO, IL 60675-1570


                 OAK HILL FOUNDRY & MACHINE WORKS INC.
                 P.O. BOX 297
                 333 SOUTH FRONT STREET
                 OAK HILL, OH 45656-0397


                 Oak Mountain Industries
                 500 Superior St., #4
                 Carnegie, PA 15106


                 OAK MOUNTAIN INDUSTRIES, INC.
                 500 SUPERIOR ST. #4
                 CARNEGIE, PA 15106




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 187 of 271
                 OAKLEY TRUCKING, INC
                 3700 LINCOLN AVE.
                 NORTH LITTLE ROCK, AR 72114


                 OAKSTONE WELLNESS
                 PO BOX 263
                 CHELSEA, AL 35043


                 OCCHINO PAVING CORPORATION
                 2650 SENECA STREET
                 WEST SENECA, NY 14224


                 OCE-USA, INC.
                 PO BOX 92601
                 CHICAGO, IL 60675-2601


                 OFFICE FURNITURE CENTER
                 777 YOUNG STREET
                 TONAWANDA, NY 14150


                 OFFICE MAX
                 DEPT.80-01682734
                 PO BOX 30296
                 SALT LAKE, UT 84130-0296


                 OFFICE OF ARBITRATION SERVICES FMCS
                 2100 K STREET, NW
                 WASHINGTON, DC 20427


                 OHIO VALLEY RAILCAR CORP.
                 ROASEDALE AVENUE
                 P.O. BOX 325
                 WHEATLAND, PA 16161


                 OIL-RITE CORPORATION
                 4325 CLIPPER DRIVE
                 P.O. BOX 1207
                 MANITOWOC, WI 54221-1207


                 OLD DOMINION FREIGHT LINE, INC.
                 PO BOX 60908
                 CHARLOTTE, NC 28260-0908




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 188 of 271
                 OLD DOMINION FREIGHT LINE, INC.
                 P.O. BOX 415202
                 BOSTON, MA 02241-5202


                 OLIVIERI DEVELOPMENT, INC
                 4337 SOWLES ROAD
                 HAMBURG, NY 14075


                 OLSTAD CORPORATION
                 48 INDUSTRIAL DRIVE
                 NORTH TONAWANDA, NY 14120


                 OLV HOSPITAL
                 55 MELROY
                 LACKAWANNA, NY 14218


                 OMEGA ENGINEERING
                 PO BOX 740496
                 ATLANTA, GA 30374-0496


                 OMEGA ENGINEERING,INC
                 P.O. BOX 405369
                 ATLANTA, GA 30384-5369


                 Omni Services, Inc.
                 3187 Eggert Rd.
                 Tonawanda, NY 14150


                 OMNI SERVICES, INC.
                 P.O. BOX 350016
                 BOSTON, MA 02241-0516


                 ONDEO NALCO COMPANY
                 PO BOX 640863
                 PITTSBURGH, PA 15264-0863


                 ONEX, INC.
                 P.O. BOX 534128
                 PITTSBURGH, PA 15253-4128


                 ONYX ENVIRONMENTAL SERVICES
                 DEPT. 73709
                 CHICAGO, IL 60673-7709



Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 189 of 271
                 OP-TEC ENVIRONMENT
                 108 SAWYER AVE
                 TONAWANDA, NY 14150


                 OPENDNS INC
                 135 BLUXOME STREET
                 SAN FRANCISCO, CA 94107


                 ORASURE TECHNOLOGIES, INC.
                 P.O. BOX 67000
                 DEPT. 269701
                 DETROIT, MI 48267-2697


                 ORKIN EXTERMINATING
                 100 COMMERCE DRIVE
                 LACKAWANNA, NY 14218


                 Orkin Pest Control
                 60 Earhart Dr., Ste. 1
                 Buffalo, NY 14221


                 ORKIN PEST CONTROL
                 60 EARHART DRIVE
                 SUITE 10
                 AMHERST, NY 14221


                 ORLEANS COUNTY SCU
                 PO BOX 15334
                 ALBANY, NY 12212-5334


                 OSI BATTERIES
                 PO BOX 86
                 LOCKBOX 12-1976
                 MINNEAPOLIS, MS 55486


                 OTTO REDANZ FUNERAL HOME
                 2215 MILITARY ROAD
                 NIAGARA FALLS, NY 14304


                 OVERHEAD DOOR CO. OF ERIE COUNTY
                 400 VULCAN STREET
                 BUFFALO, NY 14207-1300




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 190 of 271
                 OVERNITE TRANS. COMPANY
                 PO BOX 79755
                 BALTIMORE, MD 21279-0755


                 O’Brien & Gere Engineers, Inc.
                 5000 Brittonfield Parkway
                 Syracuse, NY 13221


                 P.C. CAMPANA, INC.
                 1374 EAST 28TH STREET
                 LORAIN, OH 44055


                 P.J. MATERIALS INC.
                 1650 UNION ROAD
                 WEST SENECA, NY 14224


                 P.R.N. PHARMACEUTICALS
                 2890 ELMWOOD AVENUE
                 KENMORE, NY 14217


                 PADGETT THOMPSON
                 11221 ROE AVENUE
                 LEAWOOD, KS 66211-1748


                 PALLET SERVICES, INC
                 P.O. BOX 911
                 310 GRAND ISLAND BLVD
                 TONAWANDA, NY 14150-0911


                 PALMER INSTRUMENTS, INC.
                 234 WEAVERVILLE HWY
                 ASHEVILLE, NC 28804


                 PARADIGM ENVIRONMENTAL SERVICES, INC.
                 179 LAKE AVENUE
                 ROCHESTER, NY 14608


                 PARAGON PACKAGING PRODUCTS, INC.
                 625 BEAVER ROAD
                 GIRARD, PA 16417


                 PARAGON PRINT SYSTEMS, INC.
                 2021 PARAGON DRIVE
                 ERIE, PA 16510


Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 191 of 271
                 Paraiso Logistics
                 5055 Harbour Lake Dr., Apt I1
                 Goose Creek, SC 29445


                 PARENTE RANDOLPH LLC
                 824 MARKET STREET
                 SUITE 809
                 WILMINGTON, DE 19801


                 PARISO LOGISTICS
                 273 SOUTH ROYCROFT BLVD.
                 BUFALO, NY 14225


                 PARISO LOGISTICS
                 3649 RIVER ROAD
                 TONAWANDA, NY 14150


                 PARISO LOGISTICS, INC.
                 3649 RIVER ROAD
                 TONAWANDA, NY 14150


                 PARK SHER OPTICAL CO INC
                 1171 SHERIDAN DRIVE
                 TONAWANDA, NY 14150-7998


                 PARRY, ROMANI, DECONCINI & SYMMS
                 517 C STREET, NE
                 WASHINGTON, DC 20002


                 PATENT CONSTRUCTION SYSTEMS
                 PO BOX 93250
                 CHICAGO, IL 60673-3250


                 PATRICK J. ORLOFF
                 PO BOX 633
                 WILLIAMSVILLE, NY 14221


                 PATTERNS'N THINGS, INC.
                 PO BOX 105
                 3 PALMER ST.E.
                 NORWICH, ONT N0J 1PO


                 PAUL A. SAFERIN
                 PO BOX 585
                 ORCHARD PARK, NY 14127

Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 192 of 271
                 PAUL A. SAFFRIN
                 PO BOX 585
                 ORCHARD PARK, NY 14127


                 PAUL C. HOLMWOOD, M.D.
                 1 HOPKINS ROAD
                 WILLIAMSVILLE, NY 14221


                 PAUL CHOINSKI
                 23299 FOX CREEK
                 FARMINGTON HILLS, MI 48335


                 PAUL CHOINSKI
                 30240 FINK
                 FARMINGTON HILLS, MI 48336


                 PAUL PATTERSON MD
                 2540 SHERIDAN DRIVE
                 TONAWANDA, NY 14150


                 PAUL, HASTINGS,JANOFSKY & WALKER LLP
                 555 SOUTH FLOWER STREET
                 TWENTY THIRD FLOOR
                 LOS ANGELES, CA 90071-2371


                 PAULA DANGERFIELD & THOMAS E SCHWARTZ PC
                 2000 SOUTH 8TH STREET
                 ST. LOUIS, MO 63104


                 PAULA M. SUTTON
                 79 KNOWLTON AVENUE
                 KENMORE, NY 14217


                 PAULO GALLEGOS
                 1111 CANOE LANDING COURT
                 MISHAWAKA, IN 46544


                 PBS CONSULTANTS, INC.
                 PO BOX 388
                 LACKAWANNA, NY 14218


                 PDQ TRANSPORT OF WNY
                 PO BOX 1762
                 BUFFALO, NY 14225


Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 193 of 271
                 PEAKER SERVICES, INC.
                 8080 KENSINGTON COURT
                 BRIGHTON, MI 48116-8591


                 PEARL STREET GRILL
                 76 PEARL STREET
                 BUFFALO, NY 14202


                 PEERLESS CONVEYER & MFG.
                 201 E. QUINDARO BLVD 66115
                 PO BOX 171032
                 KANSAS CITY, KA 66117-0032


                 PEERLESS INC.
                 79 PERRY STREET
                 BUFFALO, NY 14203


                 PEERLESS MILL SUPPLY COMPANY
                 79 PERRY STREET
                 BUFFALO, NY 14203


                 PENN MACHINE COMPANY
                 106 STATION STREET
                 JOHNSTOWN, PA 15905


                 PENN PARTS & SERVICE
                 832 SARAH STREET
                 OSCEOLA MILLS, PA 16666


                 PENN POWER SYSTEMS
                 PO BOX 7777 W7830
                 PHILADELPHIA, PA 19175


                 PENN POWER SYSTEMS
                 8330 STATE ROAD
                 PHILADELPHIA, PA 19136


                 PENN STATE ERIE
                 THE BEHREND COLLEGE
                 5091 STATION ROAD
                 PHILADELPHIA, PA 16563-1000


                 PENNSYLVANIA CRUSHER CORP.
                 PO BOX 8500-50060
                 PHILADELPHIA, PA 19178

Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 194 of 271
                 PENNSYLVANIA ELECTRIC COIL, LTD.
                 5325 WEST 130TH STREET
                 CLEVELAND, OH 44130


                 PENNSYLVANIA ELECTRIC MOTOR SERVICE
                 4693 IROQUOIS AVENUE
                 ERIE, PA 16511


                 PENSION BENEFIT GUARANTY
                 PO BOX 105655
                 ATLANTA, GA 30348-5655


                 PEOPLE TO PEOPLE
                 29 CLEVELAND DRIVE
                 BUFFALO, NY 14223


                 PEOPLESYSTEMS
                 PO BOX 4816
                 SYRACUSE, NY 13221-4816


                 PEPPER HAMILTON LLP
                 HERCULES PLAZA, SUITE 5100
                 1213 MARKET STREET, PO BOX 1709
                 WILMINGTON, DE 19899-1709


                 PERAFLEX HOSE, INC.
                 155 GREAT ARROW AVENUE
                 BUFFALO, NY 14207


                 PERFECTION INDUSTRIAL SALES
                 2550 ARTHUR AVE
                 ELK GROVE VILLAGE, IL 60007


                 PERSONIUS MELBER LLP
                 2100 MAIN PLACE TOWER
                 BUFFALO, NY 14202


                 PERSONNEL CONCEPTS LTD.
                 DBA STATE COMPLIANCE
                 PO BOX 1183
                 COVINA, CA 91722-0183


                 PERTECH, INC.
                 586 N. FRENCH RD. # 6
                 BUFFALO, NY 14228-2199

Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 195 of 271
                 PETER E. SHIELDS MD PC
                 2540 SHERIDAN DRIVE
                 TONAWANDA, NY 14150


                 PETER J MONAHAN
                 3566 PALMER RD
                 RANSOMVILLE, NY 14131


                 PETER M. VITO & ASSOCIATES, INC.
                 461 LINWOOD AVE.
                 BUFFALO, NY 14209


                 PGT SERVICES, INC.
                 6715 CONNER ROAD
                 EAST AMHERST, NY 14051


                 PHENIX AUTOMATION, INC.
                 349 W. COMMERCIAL ST.
                 E. ROCHESTER, NY 14445


                 Philipps Bros. Supply Inc
                 2525 Kensington Ave.
                 Buffalo, NY 14226


                 PHILLIPS BROS. SUPPLY INC.
                 2525 KENSINGTON AVENUE
                 AMHERST, NY 14226-4999


                 PHILLIPS LYTLE LLP
                 ONE CANALSIDE
                 125 MAIN STREET
                 BUFFALO, NY 14203-2887


                 PHILPAC CORPORATION
                 1144 MILITARY
                 BUFFALO, NY 14217


                 PHOENIX MINING EQUIPMENT,INC
                 2000 CENTRAL AVENUE
                 CINCINNATI, OH 45214


                 PHOENIX SAFETY MANAGEMENT INC
                 5549 NORTH MILITARY TRAIL
                 APT 2501
                 BOCA RATON, FL 33496

Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 196 of 271
                 PICO CORPORATION
                 5000 GOODRICH ROAD
                 CLARENCE, NY 14031


                 PILOT FREIGHT SERVICES
                 1573 PAYSPHERE CIRCLE
                 CHICAGO, IL 60674


                 PINE HILL COFFEE SERVICE INC
                 S-3538 CALIFORNIA ROAD
                 BUFFALO, NY 14127


                 PINTO'S COLLISION LLC.
                 8700 NORTH MAIN STREEET
                 ANGOLA, NY 14006


                 PINTO'S COLLISION, LLC
                 8700 NORTH MAIN STREET
                 ANGOLA, NY 14006


                 PLATTS
                 24 HARTWELL AVENUE
                 3RD FLOOR
                 LEXINGTON, MA 02421


                 PLIBRICO REFRACTORY CONSTRUCTION
                 23416 NETWORK PLACE
                 CHICAGO, IL 60673-1234


                 PNC BANK c/o GUARDIAN
                 STD# 488540
                 PO BOX 677458
                 DALLAS, TX 75267-7458


                 POCAHONTAS COKE & COAL
                 312 INDUSTRIAL PARK ROAD
                 BEAVER, WV 25813


                 POHL CORPORATION
                 PO BOX 13613
                 READING, PA 19612


                 POHLMAN FOUNDRY COMPANY INC.
                 205 BAITZ AVENUE
                 BUFFALO, NY 14206

Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 197 of 271
                 POLICY FIND
                 602 NORTH CAPITOL AVE
                 INDIANAPOLIS, IN 46204


                 Pooley Inc.
                 196 Vulcan St.
                 Buffalo, NY 14207


                 POOLEY, INC.
                 207 WEST HERON ST.
                 BUFFALO, NY 14201


                 POOLEY, INC.
                 196 VULCAN ST
                 BUFFALO, NY 14207


                 POSITIVE PROMOTIONS
                 40-01 168TH STREET
                 FLUSHING, NY 11358


                 POSTAL CASHIER-BUFFALO
                 1200 WILLIAM STREET
                 BUFFALO, NY 14240-9998


                 POSTER COMPLIANCE CENTER
                 1971 WESTERN AVENUE
                 ALBANY, NY 12203


                 POSTER COMPLIANCE CENTER
                 3687 MT. DIABLO BLVD.
                 SUITE B100
                 LAFAYETTE, CA 94549-3744


                 POWER DOOR PRODUCTS INC.
                 610 FENIMORE ROAD
                 MAMARONECK, NY 10543


                 POWER DRIVES, INC.
                 PO BOX 10
                 BUFFALO, NY 14220-0010


                 POWER DRIVES, INC.
                 801 EXCHANGE STREET
                 BUFFALO, NY 14210


Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 198 of 271
                 POWER ELECTRONICS
                 161R WINDSOR COURT
                 AMHERST, NY 14228


                 POWERS COAL & COKE LLC
                 4807 ROCKSIDE ROAD
                 STE 640
                 INDEPENDENCE, OH 44131


                 Powers Coal & Coke, LLC
                 4807 Rockside Rd. #640
                 Independence, OH 44131


                 Powers Drivers, Inc.
                 801 Exchange St.
                 Buffalo, NY 14210


                 PPG ARCHITECTURAL FINISHES
                 P.O. BOX 536864
                 ATLANTA, GA 30353-6864


                 PRAGMATIC
                 80 BROAD STREET
                 5TH FLOOR
                 NEW YORK, NY 10004


                 PRAXAIR DISTRIBUTION INC
                 PO BOX 120812
                 DEPT 0812
                 DALLAS, TX 75312-0812


                 Praxair Distribution, Inc.
                 P.O. Box 382000
                 PDMA
                 Pittsburgh, PA 15250


                 PRAXAIR DISTRIBUTION, INC.
                 DEPT 0812
                 PO BOX 120812
                 DALLAS, TX 75312-0812


                 PRECISION ANALYTICAL
                 4450 JOHNSTON PARKWAY
                 UNIT B
                 CLEVELAND, OH 44128


Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 199 of 271
                 PRECISION ENGINE
                 3160 UNION ROAD
                 BUFFALO, NY 14227


                 PRECISION SCALE & BALANCE
                 9760 MAIN ST
                 CLARENCE, NY 14031


                 PRECISION SCALE & BALANCE
                 140 ROTECH DRIVE
                 LANCASTER, NY 14086


                 PRECISION SCIENTIFIC
                 PO BOX 25308
                 RICHMOND, VA 23260-5308


                 PREDATOR TRUCKING
                 PO BOX 315
                 MCDONALD, OH 44437


                 PREDATOR TRUCKING CO.
                 P.O. BOX 315
                 MCDONALD, OH 44437


                 PREISER SCIENTIFIC, INC.
                 94 OLIVER STREET
                 PO BOX 1330
                 ST.ALBANS, WV 25177


                 PREISER SCIENTIFIC, INC.
                 ACCOUNTING DEPT. #4493501
                 PO BOX 1330
                 ST.ALBANS, WV 25177-1330


                 PRENTICE HALL SIMON & SCHUSTER
                 PO BOX 11022
                 DES MOINES, IA 50336-1022


                 PRINTCRAFT MARKING DEVICES INC.
                 1193 MILITARY ROAD
                 KENMORE, NY 14217


                 PRO-AM SAFETY, INC
                 551 KEYSTONE DRIVE
                 WARRENDALE, PA 15086

Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 200 of 271
                 PROCESS CONTROL SPECIALIST LLC
                 620 PARK AVENUE
                 SUITE 365
                 ROCHESTER, NY 14607


                 PROCESS INSTRUMENTS, INC.
                 615 E. CARSON STREET
                 PITTSBURGH, PA 15203-1021


                 PROCESS VALVE & EQUIPMENT
                 7205 CHAGRIN ROAD
                 CHAGRIN FALLS, OH 44023


                 PRODUCTIVE TRANSPORTATION INC
                 530 GRAND ISLAND BLVD
                 TONAWANDA, NY 14150


                 PROGRESSIVE BUSINESS COMPLIANCE
                 PO BOX 3014
                 MALVERN, PA 19355-9790


                 PROGRESSIVE BUSINESS PUBLICATIONS
                 INTERNATIONAL CREDIT RECOVERY
                 300 MAIN ST, PO BOX 992
                 VESTAL, NY 13851


                 PROGRESSIVE BUSINESS PUBLICATIONS
                 PO BOX 3019
                 370 TECHNOLOGY DRIVE
                 MALVERN, PA 19355


                 PROLIFT, INC
                 1835 DALE ROAD
                 PO BOX 256
                 BUFFALO, NY 14225


                 PROLINE STONE
                 PO BOX 158
                 WEST CREEK, NJ 08092


                 PROSCAN RADIOLOGY BUFFALO
                 5214 MAIN STREET
                 WILLIAMSVILLE, NY 14221-5373




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 201 of 271
                 PROSCO PRODUCTS
                 DIV. OF THE CHISHOLM CORPORATION
                 PO BOX 629
                 CORTLAND, NY 13045-0629


                 PROSCO PRODUCTS (DO NOT USE SEE DLTAI)
                 DIV. OF THE CHISHOLM CORPORATION
                 17 POWDER HILL ROAD
                 LINCOLN, RI 02865


                 PROTANK LTD
                 8971 YAHWEH ROAD
                 OLIVE BRANCH, MS 38654


                 PROTOCOL RESTAURANT
                 DEPOSIT - 12/7/12
                 6677 TRANSIT ROAD
                 WILLIAMSVILLE, NY 14221


                 PROVANTAGE CORPORATION
                 7249 WHIPPLE AVE NW
                 NORTH CANTON, OH 44720


                 PROVANTAGE LLC
                 ACCOUNTS RECEIVABLE
                 7576 FREEDOM AVE NW
                 NORTH CANTON, OH 44720


                 PRUDENT PUBLISHING
                 THE GALLERY COLLECTION
                 PO BOX 360
                 RIDGEFIELD PARK, NJ 07660-0360


                 PSYCHEMEDICS CORP.
                 PO BOX 414435
                 BOSTON, MA 02241-4435


                 PSYCHEMEDICS CORPORATION
                 PO BOX 844065
                 BOSTON, MA 02284-4065


                 PULSE OCCUPATIONAL MEDICINE
                 PO BOX 1326
                 BUFFALO, NY 14240-1326



Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 202 of 271
                 PUMPCRETE CORPORATION
                 7126 ELLICOTT ROAD
                 ORCHARD PARK, NY 14127


                 PVS PROCESS EQUIPMENT, INC.
                 PO BOX 59
                 HAMBURG, NY 14075


                 PVS PROCESS EQUIPMENT, INC.
                 189 BUFFALO STREET
                 HAMBURG, NY 14075


                 PWR, LLC
                 6402 DEERE ROAD
                 SYRACUSE, NY 13206


                 PYRAMID WALDEN CO
                 ONE WALDEN GALLERIA
                 BUFFALO, NY 14225


                 QIP EQUIPMENT
                 A DIVISION OF WOLSELEY IND. CANADA INC.
                 3780 98 AVENUE
                 EDMONTON, AB T6E 6B4


                 QLS SOLUTIONS GROUP
                 701 SENECA STREET
                 BUFFALO, NY 14210


                 QLS SOLUTIONS GROUP INC
                 701 SENECA STREET #600
                 BUFFALO, NY 14210


                 QUACKENBUSH COMPANY, INC.
                 495 KENNEDY RD
                 BUFFALO, NY 14227-1031


                 QUALITY ASSOCIATES INTERNATIONAL LTD.
                 PO BOX 117
                 DOUGLAS, ON K0J 1S0


                 QUALITY ASSOCIATES INTERNATIONAL LTD.
                 RR 1
                 DOUGLAS, ONT K0J 1S0


Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 203 of 271
                 QUALITY INSIGHTS
                 20633 CANAL DRIVE
                 GROSSE ILE, MI 48138


                 QUALITY INSPECTION SERVICES, INC.
                 37 FRANKLIN STREET
                 SUITE 400
                 BUFFALO, NY 14202


                 QUANTEX TECHNOLOGIES INC.
                 260 SHOEMAKER STREET
                 KITCHENER, ON N2E 3E1


                 QUARTERDECK SELECT CORP.
                 PO BOX 18049
                 CLEARWATER, FL 34620


                 QUATTRO ASSOCIATES INC.
                 300 OLD POND ROAD
                 SUITE 201
                 BRIDGEVILLE, PA 15017


                 QUEEN CITY MOTORS
                 1387 SOUTH PARK AVENUE
                 BUFFALO, NY 14220


                 QUERMBACK ELECTRIC
                 215 GENESEE STREET
                 BUFFALO, NY 14203


                 QUICK CUT GASKET & RUBBER CORP.
                 PO BOX 330
                 193 ERIE STREET
                 LANCASTER, NY 14086


                 QUINLAN PUBLISHING COMPANY
                 NORTHEAST PUBLISHING GROUP
                 MARINE INDUSTRIAL PARK   PO BOX 1659
                 BOSTON, MA 02205-1659


                 QUINLAN PUBLISHING COMPANY
                 23 DRYDOCK AVENUE
                 BOSTON, MA 02210




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 204 of 271
                 R & C CONSTRUCTION SERVICES CO. LLC
                 P.O. BOX 1647
                 ASHLAND, KY 44105-1647


                 R & R INDUSTRIES, INC.
                 1000 CALLE CORDILLERA
                 SAN CLEMENTE, CA 92673


                 R & R TRUCKING, INC.
                 1818 BURLINGTON ST. EAST
                 HAMILTON, ON L8H 3L4


                 R B U'REN EQUIPMENT, INC
                 1120 CONNECTING ROAD
                 NIAGARA FALLS, NY 14304


                 R&C CONSTRUCTION SERVICES CO, LLC
                 PO BOX 1647
                 ASHLAND, KY 41105-1647


                 R&L CARRIERS
                 PO BOX 10020
                 PORT WILLIAM, OH 45164-2000


                 R.B. U'REN EQUIPMENT, INC
                 1120 CONNECTING ROAD
                 NIAGARA FALLS, NY 14304


                 R.H. MARLIN INC
                 2202 WEST THOMPSON ROAD
                 INDIANAPOLIS, IN 46217


                 R.H. MARLIN, INC.
                 2202 W. THOMPSON ROAD
                 INDIANAPOLIS, IN 46217


                 R.H.STARK COMPANY INC.
                 303 SOUTH PARK AVENUE
                 BUFFALO, NY 14204


                 R.J. KINDZIA ELECTRIC & CONSTRUCTION
                 9115 BUFFALO AVE
                 NIAGARA FALLS, NY 14304



Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 205 of 271
                 R.J.R IMPROVEMENTS INC.
                 RICHARD J. ROCKWOOD
                 5509 FOREST HILL ROAD
                 LOCKPORT, NY 14094


                 R.M. Headlee Company Inc.
                 3649 California Rd.
                 Orchard Park, NY 14127


                 R.M. HEADLEE COMPANY INC.
                 3649 CALIFORNIA ROAD
                 ORCHARD PARK, NY 14127-1786


                 R.M. NEWELL COMPANY, INC.
                 5150 MAIN STREET
                 BUFFALO, NY 14221


                 R.P. Adams, Inc.
                 P.O. Box 963
                 Buffalo, NY 14240


                 R.P. ADAMS, INC.
                 P.O. BOX 95359
                 PALATINE, IL 60095-0359


                 R.S.LANG ENTERPRISES INC.
                 7 FORESTREAM DRIVE
                 DEPEW, NY 14043


                 RADIANTWEBHOSTING.COM
                 1600 1050 WEST PENDER STREET
                 VANCOUVER, BC V6E4T3


                 RADIO SHACK
                 P.O. BOX 1981
                 FT. WORTH, TX 76101-1981


                 RADISSON HOTEL NIAGARA FALLS-GR. ISLAND
                 100 WHITEHAVEN RD.
                 GRAND ISLAND, NY 14072


                 RAGAN COMMUNICATIONS INC
                 PO BOX 5970
                 CAROL STREAM, IL 60197


Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 206 of 271
                 RAGAN COMMUNICATIONS INC.
                 PO BOX 5970
                 CAROL STREAM, IL 60197


                 RAIL SCALE, INC
                 111 NATURE WALK PARKWAY
                 SUITE 105
                 SAINT AUGUSTINE, FL 32092


                 RAIL SYSTEMS, INC
                 P.O. BOX 201713
                 HOUSTON, TX 77216-1713


                 RAILINC
                 7001 WESTON PARKWAY
                 CARY, NC 27513


                 RAIN FOR RENT
                 DBA / WESTERN OILFIELDS SUPPLY COMPANY
                 FILE 52541
                 LOS ANGELES, CA 90074


                 RAK CORROSION CONTROL, INC.
                 7455 SOUTH DEWEY ROAD
                 AMHERST, OH 44001


                 RALPH FULGHAM
                 59 PURDY
                 BUFFALO, NY 14208


                 RALPH W. EARL CO.
                 PO BOX 2369
                 SYRACUSE, NY 13220


                 RAND MATERIALS HANDLING
                 PO BOX 3003
                 515 NARRAGANSETT PK. DR.
                 PAWTUCKET, RI 02861


                 RANDALL MARINCHEK
                 1458 MASTER STREET
                 NORTH TONAWANDA, NY 14120




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 207 of 271
                 RANDUSTRIAL SUPPLY
                 4529 INDUSTRIAL PARKWAY
                 CLEVELAND, OH 44135


                 RAPISTAK CORPORATION
                 2025 ELECTRIC AVE
                 BLASDELL, NY 14219


                 RAPPOLD'S REMODELING
                 239 CLEVELAND DRIVE
                 BUFFALO, NY 14223


                 RASCHIG JAEGER TECHNOLOGIES
                 PO BOX 918817
                 DENVER, CO 80291-8817


                 RAYMOND MITCHELL
                 1540 LASALLE AVE
                 NIAGARA FALLS, NY 14301


                 RBS BUSINESS CAPITAL
                 ATTN: RON TASSONE
                 525 WILLIAM PENN PLACE
                 PITTSBURGH, PA 15219


                 RCR LOGISTICS INC
                 6947 RT 60 SOUTH
                 CASSADAGA, NY 14718


                 RDMURRAY FIRE APPARATUS
                 S-4760 CAMP ROAD
                 HAMBURG, NY 14075


                 RE-NET SPRL
                 RUE DU TRONE 192
                 1ST FLOOR
                 BRUSSELS, BELGIUM 01050-0000


                 REAL HEALTH STRATEGIES
                 5593 WEST LANE
                 LAKE VIEW, NY 14085


                 RED ROOF INNS, INC.
                 PO BOX 93967
                 CHICAGO, IL 60673-3867

Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 208 of 271
                 RED WING SHOES
                 1151 N. FALLS BLVD.
                 AMHERST, NY 14228


                 RED WING SHOES
                 6354 TRANSIT ROAD
                 DEPEW, NY 14043


                 REDKOH INDUSTRIES INC.
                 P.O. BOX 801
                 BELLE MEAD, NJ 08502


                 REED'S HEAVY EQUIPMENT PARTS, INC
                 1650 JOHNSON ROAD
                 LONDON, KY 40741


                 REGIONAL COMPUTER RECYCLING & RECOVERY
                 7318 VICTOR-MENDON RD
                 VICTOR, NY 14564


                 RENKERT OIL INC.
                 4480 CONESTOGA ROAD
                 PO BOX 205
                 ELVERSON, PA 19520


                 RENO REFRACTORIES, INC.
                 P.O. BOX 201
                 MORRIS, AL 35116


                 REPROCRAFT
                 282 DELAWARE AVENUE
                 BUFFALO, NY 14202


                 REPUBLIC SERVICES #111
                 P.O. BOX 9001099
                 LOUISVILLE, KY 40290-1099


                 REPUBLIC TECHNOLOGIES INTERNATIONAL
                 3770 EMBASSY PARKWAY
                 AKRON, OH 44333


                 RES COAL LLC
                 224 GRANGE HALL ROAD
                 PO BOX 228
                 ARMAGH, PA 15920

Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 209 of 271
                 RESCO PRODUCTS INC
                 P.O. BOX 62701
                 BALTIMORE, MD 21264-2701


                 RESCO PRODUCTS INC.
                 P.O. BOX 62701
                 BALTIMORE, MD 21264-2701


                 RESEARCH FOUNDATION OF SUNY-TRC
                 UNIV. AT BUFFALO, TOXICOLOGY RESEARCH
                 CENTER, HAYES B-3435 MAIN ST
                 BUFFALO, NY 14214-3015


                 REXEL, INC.
                 P.O. BOX 416443
                 BOSTON, MA 02241-6443


                 Rhino Energy LLC



                 Rhino Energy LLC
                 424 Lewis Hargett Circle
                 Suite 250
                 Lexington, KY 40503


                 Rhino Energy LLC
                 424 Lewis Hargett Circle
                 Lexington, KY 40503


                 RICHARD GONZALEZ
                 397 TRENTON
                 BUFFALO, NY 14201


                 RICHARD LANHAM, MD
                 2156A SHERIDAN DRIVE
                 KENMORE, NY 14223


                 RIDGE MAINTENANCE CORPORATION
                 493 SOUTH SHORE BLVD.
                 LACKAWANNA, NY 14218


                 RIGHT HAND INDUSTRIAL SALES AND SERVICE
                 21920 ELROY AVENUE
                 WARREN, MI 48089


Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 210 of 271
                 RITCHIE EQUIPMENT INC
                 PO BOX 1588
                 PRINCETON, WV 24740


                 RIVER BEND LABS
                 3500 HARRY S. TRUMAN BLVD
                 ST CHARLES, MO 63301


                 RIVER HILL COAL COMPANY
                 PO BOX 141
                 KYLERTOWN, PA 16847


                 RIVER ROAD VOLUNTEER FIRE COMPANY
                 57 KAUFMAN AVENUE
                 TONAWANDA, NY 14150


                 RIVER ROAD VOLUNTEER FIRE COMPANY
                 KAUFMAN AVE. & GELLEY ST.
                 TONAWANDA, NY 14150


                 RIVERSIDE CHEMICAL CO, INC.
                 PO BOX 197
                 N. TONAWANDA, NY 14120-0197


                 Riverside Chemical Company
                 871 River Rd.
                 North Tonawanda, NY 14120


                 RIVERSIDE REFRACTORIES INC.
                 DRAWER 371 PO BOX 11407
                 BIRMINGHAM, AL 35246-0371


                 RIVERSIDE REFRACTORIES INC.
                 201 TRUSS FERRY ROAD
                 PELL CITY, AL 35128


                 RIVERTON COAL SALES INC.
                 PO BOX 3143
                 CHARLESTON, WV 25331


                 RKB ENTERPRISES INC.
                 PO BOX 263
                 ELMIRA, NY 14902



Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 211 of 271
                 RL Stone Company, Inc.
                 630 Cleveland Dr.
                 Buffalo, NY 14225


                 RL STONE COMPANY, INC.
                 1215 MT. READ BLVD.
                 ROCHESTER, NY 14606-2817


                 RL STONE COMPANY, INC.
                 P.O. BOX 712465
                 CINCINNATI, OH 45271-2465


                 ROADWAY EXPRESS INC.
                 PO BOX 905587
                 CHARLOTTE, NC 28290-5587


                 ROB'S AUTO GLASS
                 140 HAWTHORNE AVENUE
                 TONAWANDA, NY 14223


                 ROBERT BLOOM
                 445 HAMMOCKS DRIVE
                 ORCHARD PARK, NY 14127


                 ROBERT HALF FINANCE & ACCOUNTING
                 PO BOX 743295
                 LOS ANGELES, CA 90074-3295


                 ROBERT HOUSTON
                 546 BROAD STREET
                 TONAWANDA, NY 14150


                 ROBERT J HERMAN
                 PO BOX 444
                 GRAND ISLAND, NY 14072


                 ROBERT J. GEYER OFFICE MACHINES, INC.
                 PO BOX 349
                 LANCASTER, NY 14086


                 ROBERT J. KUBERKA
                 170 BERKLEY ROAD
                 WILLIAMSVILLE, NY 14221



Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 212 of 271
                 ROBERT JAMES SALES, INC
                 2585 WALDEN AVE
                 CHEEKTOWAGA, NY 14225


                 ROBINDALE ENERGY SERVICES
                 224 GRANGE HALL RD
                 PO BOX 228
                 ARMAGH, PA 14920


                 ROCHESTER INDUSTRIAL EDUCATIONAL FUND
                 DEPT URM
                 930 EAST AVENUE
                 ROCHESTER, NY 14607-2296


                 ROCHESTER INSTITUTE OF TECHNOLOGY
                 ACCOUNTS RECEIVABLE
                 25 LOMB MEMORIAL DRIVE
                 ROCHESTER, NY 14623-5608


                 ROCHESTER MIDLAND
                 PO BOX 1515
                 ROCHESTER, NY 14603


                 ROCK & DIRT
                 174 4TH STREET
                 PO BOX 489
                 CROSSVILLE, TN 38555


                 ROCKELMAN & HENN PUMP CO., INC.
                 PO BOX 239
                 1333 MILITARY RD
                 BUFFALO, NY 14217


                 ROCKFORD SYSTEMS INC.
                 4620 HYDRAULIC ROAD
                 ROCKFORD, IL 61109


                 ROCKHUST UNIV. CONTINUING ED. CENTER
                 PO BOX 419107
                 KANSAS CITY, MO 64141-6107


                 RODGER KEPHART TRUCKING
                 R.R. #1 BOX 298
                 HOUTZDALE, PA 16651



Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 213 of 271
                 RODGERS WELDING SUPPLY
                 1791 FILLMORE AVENUE
                 BUFFALO, NY 14214


                 RODMAN VENTILATING CO.
                 534 UNIVERSITY AVENUE
                 BUFFALO, NY 14223


                 ROGER KLECKER
                 3571 N. SEELEY ROAD
                 MANTON, MI 49663


                 ROGERS INDUSTRIAL SPRINGS, INC.
                 PO BOX 806
                 GRAND ISLAND, NY 14072


                 ROHRER TRUCKING, INC.
                 3180 ROUTE 6
                 WATERFORD, PA 16441


                 ROMAR INDUSTRIAL SERVICES
                 P.O. BOX 226
                 TARENTUM, PA 15084


                 RON BALABAN
                 13780 HILL ROAD
                 MISHAWAKA, IN 46544


                 RON'S BLACKTOP & CONCRETE PAVING
                 3971 TUDOR PLACE
                 HAMBURG, NY 14075


                 RON'S BLCKTOP & CONCRETE SEALING
                 3971 TUDOR PLACE
                 HAMBURG, NY 14075


                 RONALD G. HOSTLER
                 40 HILLDALE AVE.
                 WEST SENECA, NY 14224


                 RONAN ENGINEERING COMPANY
                 P.O. BOX 1275
                 WOODLAND HILLS, CA 91365



Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 214 of 271
                 RONCO
                 PO BOX 8000
                 DEPT. 410
                 BUFFALO, NY 14267


                 ROOFMASTERS ROOFING CO. INC.
                 381 ONTARIO STREEET
                 BUFFALO, NY 14207


                 ROOFMASTERS ROOFING CO., INC.
                 381 ONTARIO STREET
                 BUFFALO, NY 14207


                 Root, Neal & Company
                 64 Peabody St.
                 Buffalo, NY 14210


                 ROOT, NEAL & COMPANY
                 PO BOX 101
                 BUFFALO, NY 14240


                 ROOT, NEAL & COMPANY
                 64 PEABODY STREET
                 BUFFALO, NY 14210


                 ROSEMOUNT INC.
                 PO BOX 70114
                 CHICAGO, IL 60673


                 ROSWELL PARK ALLIANCE FOUNDATION
                 ROSWELL PARK CANCER INSTITUTE
                 PO BOX 631
                 BUFFALO, NY 14240-0631


                 ROTO-ROOTER SERVICES COMPANY
                 5672 COLLECTIONS CENTER DRIVE
                 CHICAGO, IL 60693


                 Rouse Breihan, Inc.
                 1320 Liberty Bldg.
                 Buffalo, NY 14202


                 ROUSE BREIHAN, INC.
                 PO BOX 420
                 AMHERST, NY 14226

Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 215 of 271
                 ROW ELECTRICAL EQUIPMENT, INC.
                 PO BOX 2812
                 3300 BISHOP STREET
                 TOLEDO, OH 43606


                 ROWE MACHINERY, INC
                 P.O. BOX 818
                 HALEYVILLE, AL 35565


                 ROXUL SOCIAL CLUB
                 805 STEELES AVENUE EAST
                 MILTON, ON L9T 5H3


                 ROXUL, INC.
                 551 HARROP DRIVE
                 MILTON, ON L9T 3H3


                 ROY'S PLUMBING INC.
                 140 COOPER AVENUE
                 TONAWANDA, NY 14150


                 ROY'S RADIATOR REPAIR
                 2400 HYDE PARK BOULEVARD
                 NIAGARA FALLS, NY 14305


                 RT SPECIALTY ON BEHALF
                 USI INSURANCE SERVICES
                 1301 E. 9TH STREET
                 SUITE 3800
                 CLEVELAND, OH 44114


                 RUBBER ENGINEERING
                 PO BOX 93779
                 CHICAGO, IL 60673-3779


                 RYAN'S ROAD
                 6950 MAPLE DR
                 NORTH TONAWANDA, NY 14120


                 S-S ELECTRIC REPAIR SHOP
                 2470 SENECA STREET
                 BUFFALO, NY 14210-2608




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 216 of 271
                 S.H. POOLEY BELTING
                 207 WEST HURON
                 BUFFALO, NY 14201


                 S.I.S., INC.
                 107 CONNEAUTTEE DR
                 EDINBORO, PA 16412


                 S.J.MCCULLAGH, INC.
                 245 SWAN STREET
                 BUFFALO, NY 14204


                 S.KATZ ASSOCIATES, INC.
                 4388 KNIGHTSBRIDGE LANE
                 WEST BLOOMFIELD, MI 48323


                 SADLO LUMBER COMPANY
                 4550 MAPLETON ROAD
                 PENDLETON, NY 14094-9624


                 SAFETY KLEEN SYSTEMS, INC.
                 PO BOX 382066
                 PITTSBURGH, PA 15250-8066


                 Safety-Kleen, Inc.
                 2600 North Central Expressway, Suite 400
                 Richardson, TX 75080


                 SAGE CAD APPLICATIONS INC
                 1 COMPUTER DRIVE SOUTH
                 ALBANY, NY 12205


                 SAGE ENVIRONMENTAL CONSULTING LP
                 PO BOX 1883
                 SAN ANTONIO, TX 78297


                 SAGINAW NEWS
                 203 S.WASHINGTON
                 SAGINAW, MI 48607-1283


                 SAIA COMMUNICATIONS
                 12530 OLEAN ROAD
                 CHAFFEE, NY 14030



Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 217 of 271
                 SAIA COMMUNICATIONS
                 100 STRADTMAN STREET
                 BUFFALO, NY 14206


                 SALVATORE'S ITALIAN GARDENS
                 6461 TRANSIT ROAD
                 DEPEW, NY 14043


                 SAM-SON DISTRIBUTION, INC.
                 P.O. BOX 248
                 BUFFALO, NY 14225


                 SAMCO TECHNOLOGIES INC.
                 P.O. BOX 1047
                 BUFFALO, NY 14207


                 SAMUEL J LANSBERRY INC
                 PO BOX 58
                 WOODLAND, PA 16881


                 SAMUEL J. LANSBERRY, INC.
                 PO BOX 58
                 JCT. RTS. 322 & 970
                 WOODLAND, PA 16881


                 SAMUEL SHATKIN SR MD
                 2500 KENSINGTON AVE
                 AMHERST, NY 14226


                 SAMUEL SPECIALTY METALS
                 PO BOX 641427
                 PITTSBURGH, PA 15264-1427


                 SAMUEL VALVE & FITTING
                 21 MARWAY CIRCLE
                 ROCHESTER, NY 14624


                 SAMUEL VALVE & FITTING
                 PO BOX 641427
                 PITTSBURGH, PA 15264-1427


                 SANDERS COUNTY SOLID WASTE DEPT.
                 PO BOX 519
                 THOMPSON FALLS, MT 59873


Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 218 of 271
                 SANITARY WIPING CLOTH, INC.
                 PO BOX 1078
                 JAMESTOWN, NY 14702-1078


                 SANTES SERVICE INC
                 3519 BROADWAY ST
                 CHEEKTOWAGA, NY 14227


                 SARAH GONZALEZ
                 NIAGARA FRONTIER MAINTENANCE
                 101 ECKHERT STREET
                 BUFFALO, NY 14207


                 SBC
                 P.O. BOX 660011
                 DALLAS, TX 75266-0011


                 SCANLON ELECTRIC CO. INC
                 1007 SOUTH CHAPIN STREET
                 SOUTH BEND, IN 46601-2830


                 SCHAEFER PLUMBING SUPPLY CO. INC.
                 146-160 CLINTON STREET
                 BUFFALO, NY 14203


                 Schagrin Associates



                 Schagrin Associates
                 900 7TH STREET NW
                 SUITE 500
                 WASHINGTON, DC 20001


                 SCHAGRIN ASSOCIATES
                 900 SEVENTH STREET, N.W.
                 SUITE 500
                 WASHINGTON, DC 20001


                 SCHENCK PROCESS LLC
                 P.O. BOX 19747
                 PALATINE, IL 60055-9747


                 SCHNEIDER ELECTRIC SYSTEMS USA, INC
                 14526 COLLECTION CENTER DRIVE
                 CHICAGO, IL 60693

Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 219 of 271
                 SCHROCK EXCAVATING INC.
                 PO BOX 859
                 111 INDUSTRIAL DRIVE
                 WAKARUSA, IN 45673


                 SCHUELE PAINT COMPANY
                 12 SUMMER STREET
                 BUFFALO, NY 14209


                 SCIENCES INTERNATIONAL
                 % FRANKLIN NATIONAL BANK
                 1421 PRINCE STREET
                 ALEXANDRIA, VA 22314


                 SCIENTIFIC COLUMBUS CO.
                 PO BOX 93288
                 CHICAGO, IL 60673


                 SCOTT J ADAMS
                 21 E.CHATEAU TERRACE
                 AMHERST, NY 14226


                 SCOTT J. ADAMS
                 21 E. CHATEAU TERRACE
                 AMHERST, NY 14226


                 SCRANTON'S THRUWAY BUILDERS SUPPLY CORP
                 3360 WALDEN AVENUE
                 DEPEW, NY 14043


                 SCRANTON'S THRUWAY BUILDERS SUPPLY CORP
                 3949 FOREST PARKWAY
                 SUITE 400
                 NORTH TONAWANDA, NY 14120


                 SCRAPCO
                 186 ROAD 1909
                 VALLEY HEAD, AL 35989


                 SE-MAR ELECTRIC CO., INC.
                 101 SOUTH AVENUE
                 WEST SENECA, NY 14224




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 220 of 271
                 SEABOARD TANK LINES, INC
                 124 MONAHAN AVENUE
                 PO BOX 166
                 DUNMORE, PA 18512-0166


                 SEAL & DESIGN DIVISION
                 4015 CASILIO PARKWAY
                 CLARENCE, NY 14031


                 Seal & Design Inc.
                 4015 Casilio Pkwy
                 Clarence, NY 14031


                 SEARS COMMERCIAL ONE CREDIT SERVICES
                 75 REMITTENCE DRIVE
                 SUITE 1674
                 CHICAGO, IL 60675-1674


                 SEARS COMMERCIAL ONE CREDIT SERVICES
                 PO BOX 689131
                 DES MOINES, IA 50368-9131


                 SECURITY CREDIT SYSTEMS, INC.
                 PO BOX 846
                 BUFFALO, NY 14240-0846


                 SECURITY WEAPONS & TRAINING
                 659 RIDGE ROAD
                 LACKAWANNA, NY 14218


                 SECURITY WEAPONS & TRAINING
                 PO BOX 388
                 LACKAWANNA, NY 14218


                 SEE AMETEK
                 DEPARTMENT 1924
                 TULSA, OK 74182


                 SEE WNYFL   (DO NOT USE)
                 1225 PORTLAND AVE
                 ROCHESTER, NY 14621




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 221 of 271
                 SELECTONE
                 2813 WEHRLE DR
                 SUITE 3
                 WILLIAMSVILLE, NY 14221


                 SENDRA SERVICE CORPORATION
                 P.O. BOX 957
                 MOKENA, IL 60448


                 SENECA BLUEPRINT CO.
                 90 PEARCE AVENUE
                 TONAWANDA, NY 14150


                 SENECA BLUEPRINT CO.
                 PO BOX 255
                 BUFFALO, NY 14225


                 SENECA FENCE
                 1186 SENECA STREET
                 BUFFALO, NY 14210


                 SENIOR TECHNICAL SERVICES, INC.
                 8827 LONG ST.
                 LENEXA, KS 66215-3586


                 SERVICE BEARING & TRANSMISSION, INC.
                 206 OLIVER STREET
                 N. TONAWANDA, NY 14120-5432


                 SGS NORTH AMERICA INC
                 PO BOX 2502
                 CAROL STREAM, IL 60132-2502


                 SHADE ENTERPRISES, INC.
                 7648 LINCOLN HIGHWAY
                 CENTRAL CITY, PA 15926


                 SHAHIR AIAD M.D.
                 HEALTH CARE PLAN
                 205 PARK CLUB LANE
                 BUFFALO, NY 14221-5239


                 SHAKO INCORPORATED
                 PO BOX 607
                 LATHAM, NY 12210

Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 222 of 271
                 SHAW PITTMAN
                 2300 N STREET, N.W.
                 WASHINGTON, DC 20037


                 SHAWN & LAURIE DARCY
                 65 BROWN AVENUE
                 CHEEKTOWAGA, NY 14227


                 SHAWNEE SERVICES INC.
                 4991 SHAWNEE ROAD
                 SANBORN, NY 14132


                 SHEA'S PERFORMING ARTS CENTER
                 646 MAIN STREET
                 BUFFALO, NY 14202


                 SHENANGO INCORPORATED
                 ATTN: TRACY PERRUCCI
                 200 NEVILLE ROAD
                 PITTSBURGH, PA 15225-1690


                 SHERIDAN PARK VOLUNTEER FIRE CO. INC.
                 738 SHERIDAN DRIVE
                 TN. OF TONAWANDA, NY 14150


                 SHERWIN WILLIAMS
                 2775 SHERIDAN DRIVE
                 TONAWANDA, NY 14150


                 SHEVLET ENTERPRISES INC.
                 1386 MILITARY ROAD
                 KENMORE, NY 14217


                 SHIRLEY HUNTER
                 560 SPRING STREET
                 BUFFALO, NY 14204


                 SID HARVEY INDUSTRIES, INC.
                 2745 BROADWAY AVE
                 CHEEKTOWAGA, NY 14227


                 SIEMENS ENERGY & AUTOMATION, INC.
                 P.O. BOX 371-034
                 PITTSBURGH, PA 15251-7034


Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 223 of 271
                 SIEMENS WATER TECHNOLOGIES CORP
                 6713 COLLAMER ROAD
                 SYRACUSE, NY 13057


                 SIERRA INSTRUMENTS
                 5 HARRIS COURT, BLDG. L
                 MONTEREY, CA 93940


                 SIEWERT EQUIPMENT CO. INC.
                 P.O. BOX 75976
                 BALTIMORE, MD 21275-5976


                 SIEWERT EQUIPMENT CO. INC.
                 P.O. BOX 824438
                 PHILADELPHIA, PA 19182-4438


                 Siewert Equipment Co., Inc.
                 2829 Wehrle Dr., Suite 12B
                 Buffalo, NY 14221


                 SIGNATURE HEATING & COOLING
                 66 HIGHLAND PARKWAY
                 BUFFALO, NY 14223


                 SIGNATURES SIGN ART
                 219 ORCHARD PARK RD
                 WEST SENECA, NY 14224


                 SILICON TECHNOLOGY INC.
                 3251 OLD FRANKSTOWN ROAD
                 PITTSBURGH, PA 15239


                 SILVER SPUR CONVEYORS, INC
                 PO BOX 1269
                 CEDAR BLUFF, VA 24609


                 SIMMERS CRANE DESIGN & SERVICES CO.
                 1146 SALEM PKWY WEST
                 SALEM, OH 44460


                 SIMON ELECTRIC COMPANY INC
                 PO BOX 744
                 BUFFALO, NY 14203-0744



Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 224 of 271
                 SIMPLEX TIME RECORDER CO.
                 DEPT. CH 10320
                 PALATINE, IL 60055-0320


                 SIMPLEXGRINNELL
                 DEPT. CH 10320
                 PALATINE, IL 60055-0320


                 SIMPLICITY ENGINEERING
                 PO BOX 38
                 FLINT, MI 48501


                 SIMPLICITY ENGINEERING
                 4960 COLLECTIONS CENTER DRIVE
                 CHICAGO, IL 60693


                 SIMPLY CERTIFICATES
                 2050 WESTERN AVENUE
                 SUITE 209
                 GUILDERLAND, NY 12084


                 SIMPSON & SIMPSON PLLC
                 5555 MAIN STREET
                 WILLIAMSVILLE, NY 14221


                 SISTERS DIAGNOSTIC IMAGING
                 PO BOX 33452
                 HARTFORD, CT 06150


                 SISTERS OF CHARITY HOSPITAL
                 2157 MAIN STREET
                 BUFFALO, NY 14214


                 SJB SERVICES, INC.
                 5167 SOUTH PARK AVENUE
                 HAMBURG, NY 14075


                 SKILLED SERVICES INTERNATIONAL
                 45 PANNELL STREET
                 BUFFALO, NY 14214


                 SKILLPATH SEMINARS
                 PO BOX 804441
                 KANSAS CITY, MO 64180-4441


Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 225 of 271
                 SKYGUIDE
                 PO BOX 3229
                 HARLAN, IA 51593-0409


                 SKYWORKS, LLC
                 100 THIELMAN DRIVE
                 BUFFALO, NY 14206


                 Sleep Inn
                 100 Holtz Dr.
                 Buffalo, NY 14225


                 SLEEP INN
                 75 INN KEEPERS LANE
                 AMHERST, NY 14228


                 SMART SIGN
                 32 COURT STREET
                 BROOKLYN, NY 11201


                 SMART/EDGE
                 PO BOX 8000
                 DEPT. NO. 084
                 BUFFALO, NY 14267


                 SMITH COOK & ASSOC. INC.
                 CLARK/BARDES
                 300 INTERNATIONAL DR. SUITE 3
                 WILLIAMSVILLE, NY 14221


                 SMITH'S HEAVY EQUIPMENT, INC.
                 515 CROSS RD.
                 GENEVA, NY 14456


                 SML RESOURCES INTERNATIONAL
                 5029 WEST LAKE ROAD
                 GENESEO, NY 14454


                 SNL FINANCIAL
                 ONE SNL PLAZA
                 PO BOX 2124
                 CHARLOTTESVILLE, VA 22902




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 226 of 271
                 SOCIETY FOR HUMAN RESOURCE MANAGEMENT
                 PO BOX 79482
                 BALTIMORE, MD 21279-0482


                 SOMMER BARNARD ATTORNEYS, PC
                 ONE INDIANA SQUARE
                 SUITE 3500
                 INDIANAPOLIS, IN 46204-2023


                 SONDEX, INC.
                 7040 INTERNATIONAL DRIVE
                 LOUISVILLE, KY 40258


                 SORRENTINO'S SPORTS CENTER
                 2330 SHERIDAN DRIVE
                 TONAWANDA, NY 14150


                 SORRENTINO'S SPORTS CENTER, INC.
                 2330 SHERIDAN DRIVE
                 TONAWANDA, NY 14150


                 SOUTH BUFFALO RAILWAY
                 PO BOX 295
                 ALBANY, NY 12201


                 SOUTH BUFFALO RAILWAY
                 1170 EIGHTH AVENUE
                 ROOM 649
                 BETHLEHEM, PA 18018


                 SOUTHEAST RAILROAD SUPPLY COMPANY
                 PO BOX 71387
                 MARIETTA, GA 30007


                 Southern Minerals, Inc.



                 Southern Minerals, Inc.
                 PO BOX 770
                 BLUEFIELD, WV 24701


                 SOUTHSIDE TRAILER SERVICE, INC
                 P.O. BOX 2300
                 BLASDELL, NY 14219-0500


Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 227 of 271
                 SOUTHTOWNS MEDICAL PHARMACY LL
                 3671 SOUTHWESTERN BLVD #113
                 ORCHARD PARK, NY 14127


                 SOUTHTOWNS RADIOLOGY ASSOC.LLC
                 207 COMMERCE DRIVE
                 AMHERST, NY 14228-2399


                 SOUTHTOWNS WELDING & FABRICATION
                 4259 SHEVA LANE
                 HAMBURG, NY 14075


                 SOUTHWORTH - MILTON, INC
                 PO BOX 3851
                 BOSTON, MA 02241-3851


                 Southworth-Milton, Inc.
                 100 Quarry Drive
                 Milford, MA 01757


                 SOUTHWORTH-MILTON, INC.
                 P.O. BOX 3851
                 BOSTON, MA 02241-3851


                 SPARTA CORPORATION
                 1541 HYATT AVENUE
                 MORGANTOWN, WV 26505


                 Spatial Integrated Systems, Inc.
                 P.O. Box 5635
                 Kinston, NC 28503


                 SPECIAL OLYMPICS NEW YORK
                 504
                 BALLTOWN ROAD BUILDING 12C
                 SCHENECTADY, NY 12304-2201


                 SPECIALIZED PRODUCTS
                 PO BOX 843706
                 DALLAS, TX 75284-3706


                 SPECIALIZED SERVICES GRJ-BJGS BLDS, LLC
                 PO BOX 129
                 LAKEVIEW, NY 14085-0129


Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 228 of 271
                 SPECIALTY TECHNICAL PUBLISHERS, INC.
                 #306-267 WEST ESPLANDE
                 N. VANCOVER, BC V7M 1A5


                 SPECTRODYNE, INC.
                 2950 J ADVANCE LANE
                 COLMAR, PA 18915


                 SPECTRODYNE, INC.
                 PO BOX 577
                 QUAKERTOWN, PA 18951


                 SPECTRUM COMMUNICATIONS
                 636 SHERIDAN DRIVE
                 TONAWANDA, NY 14150


                 SPECTRUM RADIOLOGY ASSOCIATES PLLC
                 PO BOX 3417
                 BUFFALO, NY 14240-3417


                 SPEED MOTOR EXPRESS OF WNY, INC.
                 2299 KENMORE AVE.
                 P.O. BOX 738
                 KENMORE, NY 14217


                 SPHERION CORPORATION
                 4259 COLLECTIONS CENTER DR
                 CHICAGO, IL 60693


                 SPHERION CORPORATION
                 PO BOX 70497
                 CHICAGO, IL 60673-0497


                 SPILL SOLUTIONS COMPANY
                 P.O. BOX 458
                 ELK GROVE VILLAGE, IL 60009


                 SPL
                 PO BOX 842013
                 DALLAS, TX 75284-2013


                 SPORTS PT OF NY PC
                 6319 FLY ROAD
                 SUITE 3
                 EAST SYRACUSE, NY 13057

Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 229 of 271
                 SPRAYING SYSTEMS COMPANY
                 P.O. BOX 5046
                 MANCHESTER, NH 03108-5046


                 SPRESTER'S INDUSTRIAL SERVICES, INC.
                 107 CONNEAUTTEE DR.
                 EDINBORO, PA 16412


                 Spresters Industrial Services
                 107 Conneauttee Dr.
                 Edinboro, PA 16412


                 SPRESTERS INDUSTRIAL SERVICES
                 107 CONNEAUTTEE DR
                 EDINBORO, PA 16412


                 SPRINT
                 PO BOX 600670
                 JACKSONVILLE, FL 32260-0670


                 SPS TEMPORARIES, INC.
                 135 DELAWARE AVENUE
                 BUFFALO, NY 14202


                 SPX FLOW US, LLC
                 P.O. BOX 277886
                 ATLANTA, GA 30384-7886


                 SPX VALVES AND CONTROLS, COPES-VULCAN
                 C/O SEPCO CORPORATION
                 413 COMMERCE PARK DRIVE
                 CRANBERRY TOWNSHIP, PA 16066


                 SRA MEDICAL IMAGING LLC
                 PO BOX 3
                 CLIFTON SPRINGS, NY 14432-0003


                 Sri Quality System Registrar
                 300 Northpointe Cir #304
                 Mars, PA 16046


                 SRI QUALITY SYSTEM REGISTRAR
                 300 NORTHPOINTE CIRCLE
                 SUITE 304
                 SEVEN FIELDS, PA 16046

Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 230 of 271
                 ST JOSEPH HOSPITAL
                 APPLE TREE BUSINESS PARK/REVENUE MANGMNT
                 2875 UNION ROAD SUITE 3550
                 CHEEKTOWAGA, NY 14227


                 STABLES BUSINESS ADVANTAGE
                 500 STPLES DRIVE
                 FRAMINGHAM, MA 01702


                 STANLEY BLACK & DECKER, INC.
                 P.O. BOX 223516
                 PITTSBURGH, PA 15251-2516


                 STANLEY STEEL SERVICE
                 PO BOX 236
                 1612 WILLIAM STREET
                 BUFFALO, NY 14240-0236


                 Stapleco Inc.
                 3785 E Andrew Johnson Hwy.
                 Morristown, TN 37814


                 STAPLECO INC.
                 7172 ELLICOTT RD.
                 ORCHARD PARK, NY 14127


                 Staples Business Advantage
                 P.O. Box 70242
                 Philadelphia, PA 19176


                 STAPLES BUSINESS ADVANTAGE
                 DEPT ROC
                 PO BOX 415256
                 BOSTON, MA 02241-5256


                 STAR HEADLIGHT & LANTERN CO., INC.
                 PO BOX 3186
                 BUFFALO, NY 14240


                 STATITE CORPORATION
                 PO BOX 705
                 BUFFALO, NY 01421-3705




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 231 of 271
                 STAUFFER GLOVE & SAFETY
                 PO BOX 45
                 RED HILL, PA 18076-0045


                 STEAM PLANT SYSTEMS INC.
                 PO BOX 897
                 CLIFTON PARK, NY 12065


                 STEEL CITY SALT LLC
                 P.O. BOX 226
                 BOWMANSVILLE, NY 14026


                 Steel City Salt, LLC
                 3175 Lake Shore Rd.
                 Buffalo, NY 14219


                 STEEL CITY SALT, LLC
                 P.O. BOX 226
                 BOWMANSVILLE, NY 14026


                 STEEL PLANT MUSEUM OF WNY
                 100 LEE STREET
                 BUFFALO, NY 14210


                 STEPHEN D. RYCINA MD
                 2540 SHERIDAN DRIVE
                 TONAWANDA, NY 14150


                 STEPHEN FOSSLER COMPANY
                 439 SOUTH DARTMOOR DRIVE
                 CRYSTAL LAKE, IL 60014


                 STERLING COMMERCE
                 PO BOX 8000
                 4600 LAKEHURST COURT
                 DUBLIN, OH 43016


                 STERLING FLUID SYSTEMS (USA) INC.
                 2005 DR. M.L. KING JR. STREET
                 P.O. BOX 7026
                 INDIANAPOLIS, IN 46207-7026


                 STERLING REFACTORY SALES/INSTALLATION
                 120 MICHIGAN AVENUE
                 BUFFALO, NY 14203

Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 232 of 271
                 STETSON CHEMICALS INC.
                 391 EXCHANGE STREET
                 BUFFALO, NY 14204


                 STEWARD MACHINE COMPANY, INC.
                 DEPARTMENT 3409
                 PO BOX 11008
                 BIRMINGHAM, AL 35202


                 STILL OTTO GMBH
                 POSTFACH 10 18 50
                 4630 BOCHUM
                 1 CHRISTS-TRABE 9, GERMANY


                 STOCHOS, INCORPORATED
                 P.O. BOX 29
                 DUANESBURG, NY 12056


                 STOCKWELL CONSTRUCTION CO., INC.
                 P.O. BOX 377
                 9835 COUNTY ROAD
                 CLARENCE CENTER, NY 14032


                 STONE CONSULTING & DESIGN, P.C.
                 324 PENNSYLVANIA AVENUE WEST
                 P.O. BOX 306
                 WARREN, PA 16365


                 STONE RIVER PHARMACY SOLUTIONS
                 PO BOX 504591
                 ST. LOUIS, MO 63150-4591


                 STONE TRANSPORT
                 PO BOX 633473
                 CINCINNATI, OH 45263-3473


                 STRATE WELDING SUPPLY CO., INC.
                 PO BOX 570
                 BUFFALO, NY 14207-0570


                 STRATHALLAN CORPORATION
                 PO BOX 2130
                 SOUTHFIELD, MI 48037-2130




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 233 of 271
                 STRAUSS GROUP INC.
                 8201 MAIN ST.
                 STE. 10
                 WILLIAMSVILLE, NY 14221


                 Strett & Priebe, Inc.
                 37 Clyde Ave.
                 Buffalo, NY 14215


                 STRITT & PRIEBE INC.
                 37 CLYDE AVENUE
                 BUFFALO, NY 14215-2298


                 STROMECKI ENGINEERS, PC
                 574 MAIN STREET
                 EAST AURORA, NY 14052-1725


                 STS TRUCK & TRAILER SALES
                 6495 TRANSIT RD
                 BOWMANSVILLE, NY 14206


                 STUART C. IRBY
                 PO BOX 23060
                 JACKSON, MS 39225-3060


                 STUDIO Z
                 2541 RIVER ROAD
                 WHEATFIELD, NY


                 SUBURBAN LOCK & KEY SERVICE
                 3122 DELAWARE AVENUE
                 KENMORE, NY 14217


                 SUDBURY LOGISTICS
                 6100 E.21ST (STE 220)
                 WICHITA, KS 67208


                 SUIT-KOTE CORPORATION
                 505 COMO PARK BLVD
                 BUFFALO, NY 14227


                 SUMAR PROMOTIONS LLC
                 7954 TRANSIT RD
                 SUITE 311
                 WILLIAMSVILLE, NY 14221

Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 234 of 271
                 SUMMERS PRESS BUSINESS PUBLISHING
                 PO BOX 822068
                 FORT WORTH, TX 76182-2068


                 SUMMIT CONSTRUCTION GROUP, INC.
                 6 LANCASTER PARKWAY
                 LANCASTER, NY 14086


                 SUN LIFE INSURANCE & ANNUITY CO. OF NY
                 SUN LIFE FINANCIAL
                 PO BOX 7247-7188
                 PHILADELPHIA, PA 19170-7188


                 SUNBELT RENTALS
                 12501 PAUL COFFEY BLVD
                 ASHLAND, KY 41101


                 SUNBELT RENTALS INC
                 PO BOX 409211
                 ATLANTA, GA 30384-9211


                 SUNNEN PRODUCTS, INC.
                 7910 MANCHESTER AVENUE
                 ST. LOUIS, MO 63143


                 SUNOHIO, INC.
                 1515 BANK PLACE, S.W.
                 CANTON, OH 44706


                 SUNY BUFFALO RESEARCH FOUNDATION
                 UNIV AT BUFFALO TOXICOLOGY RESEARCH CTR
                 3435 MAIN ST - HAYES BUILDING B
                 BUFFALO, NY 14215-3015


                 SUPERIOR HEATING & COOLING
                 2312 ORCHARD PLACE
                 CHEEKTOWAGA, NY 14225


                 SUPERIOR PALLETS, INC.
                 136 DINGENS STREET
                 BUFFALO, NY 14206


                 SUPERIOR PARTS AND EQUIPMENT SALES
                 1690 MCDOWELL ROAD
                 WOODLAND, PA 16881

Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 235 of 271
                 SUPERIOR STAFFING SERVICES, INC.
                 PO BOX 9057
                 250 INTERNATIONAL DRIVE
                 WILLIAMSVILLE, NY 14231-9057


                 SUPERVISOR
                 WASTE WATER TREATMENT/PRETREATMENT DIV.
                 779 TWO MILE CREEK ROAD
                 TONAWANDA, NY 14150


                 SVEDALA BULK MATERIALS HANDLING
                 PO BOX 2220
                 CAROL STREAM, IL 60132-2220


                 SVEDALA INDUSTRIES, INC.
                 GRINDING DIVISION
                 240 ARCH STREET
                 YORK, PA 17405


                 SVEDALA INDUSTRIES, INC.
                 PO BOX 2312
                 CAROL STREAM, IL 60132-2312


                 SWIFT RIVER ASSOC. INC.
                 4051 RIVER ROAD
                 TONAWANDA, NY 14150


                 SYENTEK INC.
                 PO BOX 26588
                 SAN FRANCISCO, CA 94126


                 SYN TECH PRODUCTS CORPORATION
                 520 E.WOODRUFF
                 TOLEDO, OH 43624


                 SYNERGY SOUTH, INC.
                 200 COMMERCE DRIVE
                 PELHAM, AL 35124


                 SYNERGY SYSTEMS, INC.
                 1982 OHIO STREET
                 LISLE, IL 60532




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 236 of 271
                 SYRACUSE SUPPLY COMPANY
                 PO BOX 2995
                 TAFT ROAD STATION
                 SYRACUSE, NY 13220


                 SYSTEMATION
                 1387 FAIRPORT ROAD
                 SUITE 880
                 FAIRPORT, NY 14450


                 SYSTRAN FINANCIAL SERVICES CORP
                 PO BOX 640296
                 PITTSBURGH, PA 15264-0296


                 SYSTRAN FINANCIAL SERVICES CORP
                 28904 NETWORK PLACE
                 CHICAGO, IL 60673-1289


                 T K HARRIS
                 1033 WITTSHIRE CIRCLE
                 CINCINNATI, OH 45255


                 T. BRUCE SALES, INC.
                 ROUTE 18 & CARBAUGH STREET
                 PO BOX 607
                 WEST MIDDLESEX, PA 16159


                 TAMROY, INC.
                 1920 LIBERTY BUILDING
                 BUFFALO, NY 14202


                 TAP PUBLISHING COMPANY
                 PO BOX 489
                 CROSSVILLE, TN 38557-0489


                 TARVER TRANSIT CORPORATION
                 PO BOX 1931
                 CHEEKTOWAGA, NY 14225


                 TARVER TRANSIT CORPORATION
                 P.O. BOX 287
                 TONAWANDA, NY 14151-0287




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 237 of 271
                 TAURO BROTHERS TRUCKING CO
                 1775 NORTH STATE STREET
                 GIRARD, OH 44420


                 TAXPAYERS FOR STEFAN
                 P.O. BOX 362
                 BUFFALO, NY 14205


                 TAYLOR COAL SALES LLC
                 38 COLLEGE DRIVE
                 BLUEFIELD, VA 24605


                 Taylor Technologies Inc.
                 31 Loveton Circle
                 Sparks Glencoe, MD 21152


                 TAYLOR TECHNOLOGIES, INC.
                 31 LOVETON CIRCLE
                 SPARKS, MD 21152


                 TEAL'S EXPRESS, INC.
                 PO BOX 6010
                 WATERTOWN, NY 13601


                 TEAM HARDINGER TRANSPORTATION, INC.
                 1314 WEST 18th STREET
                 ERIE, PA 16502


                 TEAM INDUSTRIAL SERVICES, INC.
                 P.O. BOX 842233
                 DALLAS, TX 75284-2233


                 TEC SMITH INC.
                 P.O. BOX 383
                 ELMA, NY 14059-0383


                 TEC WORLDWIDE, INC.
                 FILE 57158
                 LOS ANGELES, CA 90074-7158


                 TECUMSEH REDEVELOPMENT LLC
                 3250 INTERSTATE DRIVE
                 RICHFIELD, OH 44286



Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 238 of 271
                 TEK SALES INC.
                 20 BERMAR PARK
                 ROCHESTER, NY 14624


                 TEK SALES INC.
                 65 BERMAR PARK
                 ROCHESTER, NY 14624


                 TEK SERVICES, CO.
                 42 BUFFALO ROAD
                 PO BOX 620
                 EAST AURORA, NY 14052


                 Teledyne Monitor Labs
                 35 Inverness Dr., E.
                 Englewood, CO 80112


                 TELEDYNE MONITOR LABS
                 12497 COLLECTIONS DRIVE
                 CHICAGO, IL 60693


                 TEMP-PRESS, INC.
                 95 MT. READ BLVD.
                 ROCHESTER, NY 14611


                 TEMP-PRO INC,
                 PO BOX 89
                 NORTHAMPTON, MA 01061


                 TEMPLETON LANDING
                 2 TEMPLETON TERRACE
                 BUFALO, NY 14202


                 TERPCO INDUSTRIAL PRODUCTS COMPANT
                 99 16TH ST. S.W.
                 BARBERTON, OH 44203


                 TERPCO INDUSTRIAL PRODUCTS COMPANY
                 99 16TH ST. S.W.
                 BARBERTON, OH 44203


                 TERRASOURCE GLOBAL CORPORATION
                 P.O. BOX 6326
                 CAROL STREAM, IL 60197-6326


Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 239 of 271
                 TERRY THOMSON
                 10104 SIDEHILL RD.
                 NORTH EAST, PA 16428


                 TESCO TANK SYSTEMS,INC.
                 83 UNION CITY ROAD
                 PROSPECT, CT 06712


                 TESTAMERICA LABORATORIES INC
                 P.O. BOX 204290
                 DALLAS, TX 75320-4290


                 TESTAMERICA LABORATORIES, INC.
                 P.O. BOX 204290
                 DALLAS, TX 75320-4290


                 TESTEX, INC.
                 535 OLD FRANKSTOWN ROAD
                 PITTSBURGH, PA 15239


                 TEXAS REFINERY CORP.
                 PO BOX 711
                 FORT WORTH, TX 76101


                 TEXTRON FINANCIAL CORP.
                 28904 NETWORK PLACE
                 CHICAGO, IL 60673-1289


                 THE 9000 STORE
                 16526 W. 78TH STREET #242
                 EDEN, MN 55346


                 THE ADVANTAGE OPPORTUNITY COMPANY
                 PO BOX 602
                 BUFFALO, NY 14240-0602


                 THE ALDON COMPANY
                 3410 SUNSET AVENUE
                 WAUKEGAN, IL 60087-3295


                 THE AMERICAN GROUP OF CONSTRUCTORS, INC.
                 5020 COLUMBIA AVE.
                 HAMMOND, IN 46327



Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 240 of 271
                 THE ANAPOLIS CENTER
                 111 FORBES STREET
                 SUITE 200
                 ANAPOLIS, MD 21401


                 THE ARRIC CORPORATION
                 5033 TRANSIT ROAD
                 DEPEW, NY 14043


                 THE BATTERY POST, INC
                 4109 ST. FRANCIS DRIVE
                 HAMBURG, NY 14075


                 THE BIO SOLVE COMPANY
                 329 MASSACHUSETTS AVENUE
                 LEXINGTON, MA 02420


                 THE BUFFALO NEWS
                 ONE NEWS PLAZA
                 PO BOX 100
                 BUFFALO, NY 14240


                 THE BULB MAN
                 2207 ELMWOOD AVENUE
                 BUFFALO, NY 14216


                 THE BUSINESS COUNCIL OF NYS, INC
                 152 WASHINGTON AVENUE
                 ALBANY, NY 12210


                 THE BUSINESS COUNCIL OF NYS, INC.
                 111 WASHINGTON AVE
                 SUITE 400
                 ALBANY, NY 12210


                 THE BUSINESS COUNCIL OF NYS, INC.
                 12 CORPORATE WOODS BLVD.
                 ALBANY, NY 12211-2344


                 THE CHASE MANHATTAN BANK
                 ASSET BASED REGION-OPERATOR
                 395 N. SERVICE ROAD THIRD FLOOR
                 MELVILLE, NY 11747




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 241 of 271
                 THE COMPANY DOCTOR
                 1173 SHERIDAN DR
                 TONAWANDA, NY 14150


                 THE COMPLIANCE CENTER
                 2150 LIBERTY DRIVE, UNIT #2
                 NIAGARA FALLS, NY 14304


                 THE COYNE GROUP
                 30600 TELEGRAPH ROAD
                 SUITE 1255
                 BINGHAM FARMS, MI 48025


                 THE DOUG BEAT COMPANY
                 2940 SPRING WATER DRIVE
                 TOLEDO, OH 43617


                 THE ECONOMIST
                 SUBSCRIPTION DEPT
                 PO BOX 46977
                 ST LOUIS, MO 63146-6977


                 THE ENVIRONMENTAL SERVICE GROUP (NY) INC
                 661 MAIN STREET
                 NIAGARA FALLS, NY 14301


                 THE ESTABROOK CORPORATION
                 PO BOX 804
                 BEREA, OH 44017


                 THE FIRELINE GROUP
                 P.O. BOX 6470
                 ERIE, PA 16512


                 THE FIRELINE GROUP
                 611 W. 15TH ST
                 PO BOX 6470
                 ERIE, PA 16512


                 THE FISHMAN GROUP
                 40950 WOODWARD AVENUE
                 SUITE 350
                 BLOOMFIELD HILLS, MI 48304




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 242 of 271
                 THE FOUNDATION ENDOWMENT
                 611 CAMERON STREET
                 ALEXANDRIA, VA 22314


                 THE FOXBORO CORPORATION
                 PO BOX 360015
                 PITTSBURGH, PA 15251-6015


                 THE GLASSMAN OF WNY
                 549 HERTEL AVENUE
                 BUFFALO, NY 14207


                 THE GUARDIAN LIFE INSURANCE COMPANY
                 POL# 923832
                 PO BOX 824418
                 PHILADELPHIA, PA 19182-4418


                 THE HARTFORD - DBL
                 PO BOX 8500-3760
                 PHILADELPHIA, PA 19178-3760


                 THE HARTFORD STEAM BOILER
                 INSPECTION & INSURANCE CO.
                 21045 NETWORK PLACE
                 CHICAGO, IL 60673-1210


                 The Holiday Ice Company
                 322 Vine St.
                 Syracuse, NY 13203


                 THE HOME DEPOT
                 CRC
                 PO BOX 9915 DEPT 24
                 MACON, GA 31297-9915


                 THE IRONPEDDLERS
                 3504 ROCKY RIVER RD N
                 MONROE, NC 28110


                 THE KIPLINGER LETTER
                 PO BOX 10910
                 DES MOINES, IA 50340-0910




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 243 of 271
                 THE KIPLINGER TAX LETTER
                 PO BOX 5113
                 HARLAN, IA 51593-4613


                 THE KROG CORPORATION
                 4 CENTRE DRIVE
                 ORCHARD PARK, NY 14127


                 THE LEUKEMIA & LYMPHOMA SOCIETY
                 WESTERN NEW YORK & FINGER LAKES CHAPTER
                 4053 MAPLE ROAD SUITE 110
                 AMHERST, NY 14226


                 THE MARLIN COMPANY
                 PO BOX 304
                 NEW HAVEN, CT 06502-0304


                 THE MOTOR CONTROL CENTER LLC
                 4019 WINDGAP AVE
                 PITTSBURGH, PA 15204-1095


                 THE MOTOR CONTROL CENTER, LLC
                 4019 WINDGAP AVE.
                 PITTSBURGH, PA 15204-1095


                 THE ORGANIZED EXECUTIVE
                 DEPT. OTJ133
                 1101 KING STREET, SUITE 110
                 ALEXANDRIA, VA 22314


                 THE PRENTICE GROUP OF NY, INC
                 472 FRANKLIN STREET
                 BUFFALO, NY 14202


                 THE PUBLIC POLICY INSTITUTE OF NY STATE
                 152 WASHINGTON AVENUE
                 ALBANY, NY 12210


                 THE PUMP & MOTOR WORKS, INC.
                 1900 NORTH WOOD DRIVE
                 OKMULGEE, OK 74447




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 244 of 271
                 THE SAFETY AND HEALTH TRAINING CENTER
                 2495 MAIN ST
                 SUITE 118
                 BUFFALO, NY 14214


                 THE SUMMIT FCU
                 ATTN: ELECTRONIC SERVICES DEPT
                 100 MARINA DR
                 ROCHESTER, NY 14626


                 THE SUPERIOR ALLOY STEEL COMPANY
                 3835 LAKESIDE AVENUE
                 CLEVELAND, OH 44114


                 THE TIRE SHOPPE OF NIAGARA & ERIE CO.
                 200 COLORADO AVENUE
                 BUFFALO, NY 14215


                 THE TRAINING NETWORK INC.
                 1432 KEARNEY STREET
                 EL CERRITO, CA 94530


                 THE TRAVEL TEAM, INC.
                 2495 MAIN STREET
                 BUFFALO, NY 14214-2154


                 THE WALL STREET JOURNAL
                 PO BOX 240
                 200 BURNETT ROAD
                 CHICOPEE, MA 01021-9984


                 THE WATSON SALES CO. INC.
                 990 KENMORE AVENUE
                 BUFFALO, NY 14216


                 Thermo Environmental Instruments LLC
                 8 West Forge Parkway
                 Franklin, MA 02038


                 THERMO ENVIRONMENTAL INSTRUMENTS LLC
                 P.O. BOX 742784
                 ATLANTA, GA 30374-2784




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 245 of 271
                 THERMO PROCESS INSTRUMENTS
                 PO BOX 711998
                 CINCINNATI, OH 45271-1998


                 THG & ASSOCIATES
                 623 WASHINGTON STREET
                 MEADVILLE, PA 16335


                 THIRD PARTY SOLUTIONS
                 PO BOX 504591
                 ST. LOUIS, MO 63150-4591


                 THOMAS BIRMINGHAM
                 4548 DRAYTON PARK
                 HAMBURG, NY 14075


                 THOMAS C. WILSON
                 21-11 44TH AVE
                 LONG ISLAND, NY 11101


                 THOMAS PUBLISHING CO.
                 510 PLAZA
                 NEW YORK, NY 10001


                 THOMAS TURTLE
                 PO BOX 830
                 444 PAYNE AVENUE
                 NORTH TONAWANDA, NY 14120


                 THOMPSON MACHINE CO. INC.
                 1128 N. FOURTH AVENUE
                 ALTOONA, PA 16601


                 THRUWAY FASTENERS INC.
                 PO BOX 766
                 N. TONAWANDA, NY 14120-0766


                 THURSTON INVESTIGATIVE AGENCY INC
                 236 BUFFALO STREET
                 HAMBURG, NY 14075


                 TIMEVALUE SOFTWARE
                 22 MAUCHLY
                 IRVINE, CA 92618-3809


Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 246 of 271
                 TIP TOP OF WNY
                 56 ROUND TRAIL ROAD
                 WEST SENECA, NY 14218


                 TIP TOPP OF WNY DELIVERY, INC.
                 P.O. BOX 119
                 125 GALLERIA DRIVE
                 CHEEKTOWAGA, NY 14225


                 TITLE BUREAU, NYS DEPT OF MOTOR VEHICLES
                 EMPIRE STATE PLAZA
                 ALBANY, NY 12228


                 TMHC INC
                 PO BOX 411
                 DECATUR, TX 76234


                 TOCADE CORPORATION
                 1920 LIBERTY BANK BLDG.
                 BUFFALO, NY 14202


                 TOLEDO TARP SERVICE, INC.
                 PO BOX 80129
                 TOLEDO, OH 43608-8277


                 TOLLS BY MAIL
                 PAYMENT PROCESSING CENTER
                 P.O. BOX 15183
                 ALBANY, NY 12212-5183


                 TONAWANDA HIGH SCHOOL
                 150 HINDS STREET
                 TONAWANDA, NY 14150


                 TONAWANDA REFRACTORY CORPORATION
                 P O BOX 952
                 AMHERST, NY 14226


                 TONAWANDA TANK TRANSPORT SERVICE INC.
                 P.O. BOX H
                 1140 MILITARY RD.
                 BUFFALO, NY 14217


                 Tonawanda Town Clerk


Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 247 of 271
                 TONAWANDA TOWN CLERK/RM 14 MUNICIPAL BLD
                 2919 DELAWARE AVENUE
                 KENMORE, NY 14217


                 TOPS MARKETS LLC
                 6592 PAYSPHERE CIRCLE
                 CHICAGO, IL 60674


                 TOTAL CRANE SYSTEMS INC
                 2225 KENMORE AVE
                 BUFFALO, NY 14207


                 Total Crane Systems, Inc.
                 2225 Kenmore Ave., #104
                 Buffalo, NY 14207


                 TOTAL CRANE SYSTEMS, INC.
                 2225 KENMORE AVE.
                 SUITE 104
                 BUFFALO, NY 14207


                 TOWN CLERK
                 ROOM 16 MUNCIPAL FACILITY
                 2919 DELAWARE AVENUE
                 KENMORE, NY 14217-2390


                 TOWN OF TONAWANDA
                 WASTE TREATMENT FACILITY
                 779 TWO MILE CREEK ROAD
                 TONAWANDA, NY 14150


                 TOWN OF TONAWANDA CERT
                 1835 SHERIDAN DRIVE
                 KENMORE, NY 14223


                 TOWN OF TONAWANDA DEVELOPMENT CORP
                 3411 DELAWARE AVENUE
                 KENMORE, NY 14217-1422


                 TOWN OF TONAWANDA POLICE CLUB
                 1835 SHERIDAN DRIVE
                 KENMORE, NY 14223




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 248 of 271
                 TOWNE AUTOMOTIVE GROUP
                 3531 SOUTHWESTERN BLVD
                 ORCHARD PARK, NY 14127


                 TOXSTRATEGIES
                 23123 CINCO RANCH BLVD
                 SUITE 220
                 KATY, TX 77494


                 TPC WIRE & CABLE
                 135 S.LASALLE DEPT 4570
                 CHICAGO, IL 60674-4570


                 TPC WIRE & CABLE CORP
                 8387 SOLUTIONS CENTER
                 CHICAGO, IL 60677-8003


                 TRADESMEN INTERNATIONAL INC
                 774478
                 4478 SOLUTIONS CENTER
                 CHICAGO, IL 60677-4004


                 TRANSCAT
                 PO BOX 711243
                 CINCINNATI, OH 45271-1243


                 TRANSCAT, INC.
                 23698 NETWORK PLACE
                 CHICAGO, IL 60673-1236


                 TRANSMISSION EXCHANGE
                 333 RIDGE ROAD
                 LACKAWANNA, NY 14218


                 TRANSPERFECT DOCUMENT MANAGEMENT INC
                 ATTN:ACCOUNTS RECEIVABLE
                 THREE PARK AVENUE, 39TH FLOOR
                 NEW YORK, NY 10016


                 TRANSPORT CLEARINGS EAST, INC.
                 PO BOX 1093
                 CHARLOTTE, NC 28201-1093




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 249 of 271
                 TRANSPORTATION ALLIANCE BANK INC.
                 On Acct. of BUTLER TRUCKING COMPANY
                 P.O. BOX 150290
                 OGDEN, UT 84415-0290


                 TRANSPORTATION INC.
                 PO BOX 369
                 OTTAWA, KA 66067


                 TRANSPORTATION, INC.
                 PO BOX 369
                 OTTAWA, KA 66067


                 TRANSTAR BROKERAGE, INC.
                 388 STATE RT.61
                 KULPMONT, PA 17834


                 TRANSTECH OF SOUTH CAROLINA,INC.
                 P.O. BOX 751988
                 CHARLOTTE, NC 28275-1988


                 TRANTER INC.
                 DRAWER CS-100540
                 ATLANTA, GA 30384-0540


                 TRI STAR LTD
                 265 MAYVILLE AVE
                 BUFFALO, NY 14217


                 TRIAD, INC.
                 PO BOX 7669
                 3286 HOFFMAN-NORTON ROAD
                 WARREN, O 44483


                 TRIANGLE PUMP COMPONENTS, INC
                 1010 WEST UNIVERSITY
                 ODESSA, TX 79764


                 TRIDENT FLUID POWER
                 PO BOX 368
                 MIDDLETOWN, OH 45042


                 TRINITY CONSULTANTS, INC.
                 PO BOX 972047
                 DALLAS, TX 75397-2047

Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 250 of 271
                 TRIPLE TIRE CO. INC.
                 PO BOX 711241
                 CINCINNATI, OH 45271-1241


                 TROEMNER
                 201 WOLF DRIVE
                 P.O. BOX 87
                 THOROFARE, NJ 08086-0087


                 TROY NORMANDIN
                 214 KELLER AVE
                 KENMORE, NY 14217


                 TRS CONTAINERS
                 301 E. ESSEX AVENUE
                 P.O. BOX 188
                 AVENEL, NJ 07001-0188


                 TRUCKMEN
                 1486 HARPERSFIELD
                 GENEVA, OH 44041


                 TRUE ENERGY COAL SALES INC
                 L3163
                 COLUMBUS, OH 43260


                 TRUMBULL INDUSTRIES
                 PO BOX 931450
                 CLEVELAND, OH 44193-0521


                 TU, LLC./TRIAD
                 PO BOX 33726
                 DEPT. #999311
                 DETROIT, MI 48232


                 TURNKEY CATALOG 2004
                 PO BOX 64784
                 ST. PAUL, MN 55164-0784


                 TURNKEY ENVIRONMENTAL RESTORATION, LLC
                 726 EXCHANGE STREET
                 SUITE 624
                 BUFFALO, NY 14210




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 251 of 271
                 TURNKEY MATERIAL HANDLING
                 PO BOX 64784
                 ST PAUL, MN 55164-0784


                 TURTLE & HUGHES, INC
                 1900 LOWER ROAD
                 LINDEN, NJ 07036


                 TUSCOLA & SAGINAW BAY
                 PO BOX 550
                 308 W MAIN - SUITE 303
                 OWOSSO, MI 48867


                 TWIN CITY AMBULANCE
                 365 FILLMORE AVE
                 TONAWANDA, NY 14150


                 TWIN CITY GLASS CORPORATION
                 856 WURLITZER DRIVE
                 N. TONAWANDA, NY 14120-3094


                 TWIN CITY PHYSICIANS GROUP, P C
                 50 ALCONA AVENUE
                 BUFFALO, NY 14226


                 U. S. FILTER CORP.
                 PO BOX 360766
                 PITTSBURGH, PA 15250-6766


                 U.S DEPT. OF LABOR/OSHA
                 OSHA# 315502708
                 130 S.ELMWOOD AVE, STE. 500
                 BUFFALO, NY 14202-2465


                 U.S. BULK TRANSPORT
                 972 STATE RT 18
                 ALIQUIPPA, PA 15001


                 U.S. BULK TRANSPORT, INC.
                 205 PENNBRIAR DRIVE
                 ERIE, PA 16509


                 U.S. BULK TRANSPORT, INC.
                 6286 STERRETTANIA RD.
                 FAIRVIEW, PA 16415

Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 252 of 271
                 U.S. DEPARTMENT OF LABOR/OSHA
                 OSHRC DOCKET NO.: 16-1188
                 130 S. ELMWOOD AVE, SUITE 500
                 BUFFALO, NY 14202-2465


                 U.S. DEPT. OF LABOR/OSHA
                 OSHA# 315502732
                 130 S. ELMWOOD AVE, STE 500
                 BUFFALO, NY 14202-2465


                 U.S. POSTAL SERVICE
                 POSTMASTER
                 96 SEYMOUR STREET
                 TONAWANDA, NY 14150


                 U.S.I.
                 98 FORT PATH ROAD
                 PO BOX 18117
                 MADISON, CT 06443-2264


                 UEC COAL & COKE LAB
                 4000 TECH CENTER DRIVE
                 MONROEVILLE, PA 15146


                 UNCONVENTIONAL SOLUTIONS INC.
                 28056 OAKLAND OAKS CT.
                 WIXOM, MI 48393


                 UNIFRAX CORPORATION
                 PO BOX 710985
                 CINCINNATI, OH 45271-0985


                 UNION CONCRETE & CONSTRUCTION CORP.
                 105 CENTER ROAD
                 P.O. BOX 410
                 WEST SENECA, NY 14224


                 UNITED ASSET COVERAGE, INC
                 1733 PARK STREET / SUITE 200
                 NAPERVILLE, IL 60563


                 UNITED BUSINESS SYSTEMS
                 316 SENECA STREET
                 BUFFALO, NY 14204



Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 253 of 271
                 UNITED MATERIALS
                 3949 FOREST PARKWAY
                 SUITE 400
                 NORTH TONAWANDA, NY 14120


                 United Materials LLC
                 3374 Walden Ave, Suite 120
                 Depew, NY 14043


                 UNITED MATERIALS LLC
                 561 PAVEMENT RD
                 LANCASTER, NY 14086


                 UNITED MATERIALS LLC
                 3949 FOREST PARKWAY
                 SUITE 400
                 NORTH TONAWANDA, NY 14120


                 UNITED PARCEL SERVICE
                 PO BOX 7247-0244
                 PHILADELPHIA, PA 19170-0001


                 UNITED RENTALS (NORTH AMERICA), INC.
                 CREDIT OFFICE #214
                 P.O. BOX 100711
                 ATLANTA, GA 30384-0711


                 UNITED RENTALS, INC
                 DEPARTMENT 168
                 PO BOX 19633A
                 NEWARK, NJ 07195-0633


                 UNITED RICHTER ELECTRIC MOTORS, INC.
                 106 MICHIGAN AVENUE
                 BUFFALO, NY 14204


                 UNITED STEELWORKERS
                 UNITED STEEL WORKERS OF AMERICA
                 PO BOX 644485
                 PITTSBURGH, PA 15264-4485


                 UNITED UNIFORM COMPANY INC.
                 C/O THE SAFARILAND GROUP
                 13386 INTERNATIONAL PARKWAY
                 JACKSONVILLE, FL 32218


Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 254 of 271
                 UNITED UNIFORM COMPANY INC.
                 495 NORTH FRENCH ROAD
                 BUFFALO, NY 14228


                 UNITED WAY OF BUFFALO & ERIE COUNTY
                 742 DELWARE AVENUE
                 BUFFALO, NY 14209


                 UNIVERA HEALTHCARE
                 205 PARK CLUB LANE
                 BUFFALO, NY 14221-5239


                 UNIVERSITY EMERGENCY MEDICAL
                 PO BOX 3487
                 BUFFALO, NY 14240-3487


                 UNIVERSITY MED. PRACTICE
                 PO BOX 1024
                 BUFFALO, NY 14240


                 UNIVERSITY ORTHOPAEDIC SERVICES
                 PO BOX 2867
                 BUFFALO, NY 14240


                 UNIVERSITY SURGICAL ASSN
                 PO BOX 73016
                 ROCHESTER, NY 14673-3016


                 UPS
                 P.O. BOX 7247-0244
                 PHILADELPHI, PA 19170-0001


                 UPS CUSTOMHOUSE BROKERAGE, INC.
                 PO BOX 34486
                 LOUISVILLE, KY 40232


                 UPS SUPPLY CHAIN SOLUTIONS, INC.
                 28013 NETWORK PLACE
                 CHICAGO, IL 60673-1280


                 UPSTATE STEEL
                 1800 DALE ROAD
                 CHEEKTOWAGA, NY 14225



Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 255 of 271
                 UPSTATE WORKCOMP
                 111 HAWTHORNE DRIVE
                 SPENCERPORT, NY 14559


                 US & D SAFETY SYSTEMS
                 PO BOX 973042
                 DALLAS, TX 75397-3042


                 US DEPT OF TRANSPORTATION
                 HAZARDOUS MATERIALS REGISTRATION
                 PO BOX 530273
                 ATLANTA, GA 30353-0273


                 US DEPT OF TRANSPORTATION
                 HAZARD MATERIALS REGISTRATION
                 PO BOX 740188
                 ATLANTA, GA 30374-0188


                 US EQUIPMENT
                 PO BOX 6606
                 HUNTINGTON, WV 25772


                 US GEOLOGICAL SURVEY DC - ESIC
                 EARTH SCIENCE INFO CENTER
                 1849 C STREET NW ROOM 2650
                 WASHINGTON, DC 20240


                 USA MOBILITY WIRELESS INC
                 PO BOX 4062
                 WOBURN, MA 01888-4062


                 USF HOLLAND INC.
                 DRAWER #5833
                 PO BOX 79001
                 DETROIT, MI 48279-5833


                 USF HOLLAND INC.
                 27052 NETWORK PLACE
                 CHICAGO, IL 60673-1270


                 USF RED STAR INC.
                 24 WRIGHT AVENUE
                 AUBURN, NY 13021-2721




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 256 of 271
                 USF RED STAR INC.
                 PO BOX 13458
                 NEWARK, NJ 07188-0458


                 USI Insurance Services National



                 USI INSURANCE SERVICES NATIONAL
                 PO BOX 62889
                 VIRGINIA BEACH, VA 23466


                 USI, INC.
                 PO BOX 18117
                 98 FORT PATH ROAD
                 MADISON, CT 06443-2264


                 USX ENGINEERS & CONSULTANTS, INC.
                 4000 TECH CENTER DRIVE
                 TECHNICAL CENTER
                 MONROEVILLE, PA 15146


                 VALLEN SAFETY SUPPLY CO.
                 PO BOX 200097
                 HOUSTON, TX 77216


                 VALLEN SAFETY SUPPLY CO.
                 PO BOX 951567
                 DALLAS, TX 75395-1567


                 VALLEY COAL & SUPPLY INC.
                 PO BOX 384
                 RIDGWAY, PA 15853


                 VALLEY TIRE CO. INC.
                 500 NEW BABCOCK STREET
                 BUFFALO, NY 14206


                 VALLEY TRANSPORTATION SERVICES INC
                 73137 STATE HIGHWAY, 16 WEST
                 BOX 414
                 GRAND MEADOW, MN 55936


                 VALUE VISON
                 1171 SHERIDAN DRIVE
                 TONAWANDA, NY 14150

Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 257 of 271
                 Van Pelt Corporation
                 13700 Sherwood Ave., 2nd Floor
                 Hamtramck, MI 48212


                 VAN PELT CORPORATION
                 P.O. BOX 780012
                 PHILADELPHIA, PA 19178-0012


                 VAN STONE CONVEYOR INC.
                 1305 W. ARROW HWY.
                 SUITE 201
                 SAN DIMAS, CA 91773


                 Van Wyk Risk & Financial Management



                 VAN WYK RISK & FINANCIAL MANAGEMENT
                 2237 WEALTHY STREET
                 GRAND RAPIDS, MI 49506


                 VANDALIA SAND & GRAVEL INC
                 PO BOX 391
                 VANDALIA, IL 62471


                 VANGUARD SOLUTIONS, INC.
                 DBA: INTERLAB
                 2104 13TH ST. - PO BOX 1970
                 ASHLAND, KY 41105-1970


                 Vanocur Refractories LLC



                 VANOCUR REFRACTORIES LLC
                 P.O. BOX 146
                 4001 RIVER ROAD
                 TONAWANDA, NY 14151-0146


                 VANTAGE EQUIPMENT LLC
                 5985 COURT STREET ROAD
                 SYRACUSE, NY 13206


                 VARGO TRUCKING INC.
                 108 LAKE AVE.
                 BLASDELL, NY 14219


Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 258 of 271
                 VASTOLA HEATING & COOLING, LLC
                 3315 ABBOTT ROAD
                 ORCHARD PARK, NY 14127


                 VEKTRON INTERNATIONAL INC.
                 PO BOX 840874
                 DALLAS, TX 75284-0874


                 VELLANO BROS. INC.
                 7 HEMLOCK STREET
                 LATHAM, NY 12110


                 VENABLE LLP
                 PO BOX 62727
                 BALTIMORE, MD 21264-2727


                 VERILON PRODUCTS COMPANY
                 452 DIENS DRIVE
                 WHEELING, IL 60090


                 VERIZON
                 PO BOX 1100
                 ALBANY, NY 12250-0001


                 VERIZON
                 PO BOX 15124
                 ALBANY, NY 12250-0001


                 VERIZON WIRELESS
                 PO BOX 408
                 NEWARK, NJ 07101-0408


                 VERIZON WIRELESS
                 PO BOX 489
                 NEWARK, NJ 07101-0489


                 VERNON TOWING SERVICE LLC
                 12689 HICKORY DRIVE
                 CONNEAUT LAKE, PA 16316


                 VICI METRONICS, INC. CONDYNE DIVISION
                 1956 EVERGREEN STREET
                 DUARTE, CA 91010



Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 259 of 271
                 VICKERS-WARNICK INC.
                 50 BERMAR PK, SUITE 4A
                 ROCHESTER, NY 14624


                 VICKERS-WARNICK INC.
                 37 INDUSTRIAL PARK CIRCLE
                 ROCHESTER, NY 14624


                 VICTORY RADIOLOGISTS
                 PO BOX 216
                 HMBURG, NY 14075


                 VIDEO SECURITY NATIONAL
                 706 BEACH RD.
                 BUFFALO, NY 14225-1756


                 VILLAGE MOTOR SALES
                 1630 KENMORE AVE
                 BUFFALO, NY 14216


                 VILLARINI & HENRY LLP
                 16 MAIN STREET
                 HAMBURG, NY 14075


                 VIOLATION PROCESSING CENTER
                 P O BOX 149033
                 STATEN ISLAND, NY 10314-9003


                 VISION FLOOR COVERING, INC
                 3852 BROADWAY
                 CHEEKTOWAGA, NY 14227


                 VISTA TRAINING, INC.
                 P.O. BOX 247
                 810 KRIFT AVE
                 BURLINGTON, WI 53105-0247


                 VISTAGE WORLDWIDE INC
                 FILE 57158
                 LOS ANGELES, CA 90074-7158


                 VOGT SPRINKLER SERVICE INC.
                 363 DELAWARE RD
                 KENMORE, NY 14217


Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 260 of 271
                 VOLLAND ELECTRIC EQUIPMENT CORP
                 75 INNSBRUCK DRIVE
                 CHEEKTOWAGA, NY 14227


                 VOLLAND ELECTRIC EQUIPMENT CORP.
                 75 INNSBRUCK DRIVE
                 CHEEKTOWAGA, NY 14227


                 VOSS MANUFACTURING, INC
                 2345 LOCKPORT ROAD
                 SANBORN, NY 14132


                 VSI GEOTEC,LLC
                 86 GUNNVILLE ROAD
                 LANCASTER, NY 14086


                 VWR INTERNATIONAL
                 PO BOX 640169
                 PITTSBURGH, PA 15264-0169


                 VWR SCIENTIFIC INC.
                 PO BOX 640169
                 PITTSBURGH, PA 15264-0169


                 W C MCQUADE INC
                 153 MACRIDGE AVE
                 JOHNSTOWN, PA 15904-2995


                 W.E.I., INC.
                 107 BAKER STREET
                 SYACUSE, NY 13206


                 W.H. FITZGERALD
                 ROUTE 6 WEST
                 PO BOX 229
                 YOUNGSVILLE, PA 16371-0229


                 W.W. GRAINGER, INC.
                 DEPT. 104 - 801173873
                 PALATINE, IL 60038-0001


                 WABASH POWER EQUIPMENT COMPANY
                 44 CARPENTER AVENUE
                 PO BOX 427
                 WHEELING, IL 60090-0427

Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 261 of 271
                 WABTEC CORPORATION
                 1001 AIR BRAKE AVENUE
                 WILMERDING, PA 15148


                 WABTEC DISTRIBUTION
                 DEPARTMENT CH 10895
                 PALATINE, IL 60055-0895


                 WACO INSTRUMENTS, INC
                 DBA/ ACCENT CONTROL SYSTEMS
                 2101 POTSHOP LANE
                 NORRISTOWN, PA 19403


                 WADDELL-WOJCIK TRUCKING INC
                 PO BOX 310
                 DARIEN, WI 53114


                 WALCHEM CORPORATION
                 5 BOYNTON ROAD
                 HOPPING BROOK PARK
                 HOLLISTON, MA 01746-1446


                 WALGREENS
                 PO BOX 90484
                 CHICAGO, IL 60696-0484


                 WALKER BRUSH INC.
                 100 FERNWOOD AVENUE
                 SUITE 18
                 ROCHESTER, NY 14621


                 WALKER BRUSH INC.
                 215 TREMONT STREET
                 ROCHESTER, NY 14608


                 WALSH DUFFIELD COMPANIES, INC.
                 801 MAIN STREET
                 PO BOX 5016
                 BUFFALO, NY 14205-5016


                 WALTER A MOREY
                 1212 EDGEMERE DR
                 ROCHESTER, NY 14612




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 262 of 271
                 WARD MANUFACTURING INC.
                 PO BOX 9
                 BLOSSBURGH, PA 16912


                 WARD TRUCKING
                 BOX 1553
                 ALTOONA, PA 16603


                 WARREN COMPANY
                 2201 LOVELAND AVE
                 PO BOX 8440
                 ERIE, PA 16505


                 WARREN L MILLIGAN & ASSOCIATES
                 65275 MATHEWS ROAD
                 CAMBRIDGE, OH 43725


                 WARTSILLA CANADA, INC.
                 C/O T10346C/U
                 P.O. BOX 4488, STN A
                 TORONTO, CAN M5W-4H1


                 WASTE MANAGEMENT OF NEW YORK-BUFFALO
                 70 N. GATES AVENUE
                 BUFFALO, NY 14218-1028


                 WASTE MANAGEMENT OF SYRACUSE
                 4836 BRECKSVILLE RD
                 PO BOX 509
                 RICHFIELD, OH 44286


                 WASTE STREAM TECHNOLOGY INC.
                 2749 LOCKPORT ROAD
                 NIAGARA FALLS, NY 14302


                 WASTE TECHNOLOGY SERVICES INC
                 DEPT NO 389
                 PO BOX 8000
                 BUFFALO, NY 14267


                 Waste Technology Services, Inc.
                 435 N. 2nd St.
                 Lewiston, NY 14092




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 263 of 271
                 WASTE TECHNOLOGY SERVICES,INC.
                 DEPT NO 389
                 PO BOX 8000
                 BUFFALO, NY 14267


                 WASTEPRO ENGINEERING, INC.
                 PO BOX 74
                 KENNETT SQUARE, PA 19348


                 WATSON BOWMAN ACME CORPORATION
                 95 PINEVIEW DRIVE
                 AMHERST, NY 14228


                 WATTS ENGINEERS
                 3826 MAIN STREET
                 AMHERST, NY 14226


                 WCR HEAT EXCHANGERS
                 221 CRANE STREET
                 DAYTON, OH 45403


                 WDM GROUP
                 5901 PRIESTLY DR
                 #300
                 CARISBAD, CA 92008


                 WEAN FLOWER SHOP
                 3763 DELAWARE AVENUE
                 KENMORE, NY 14217


                 WEGMAN MOTOR WORKS, INC.
                 1500 KENMORE AVE
                 BUFFALO, NY 14216-4259


                 WEHLE/WESTBURNE ELECTRIC
                 PO BOX 1510
                 BUFFALO, NY 14205-1510


                 WEINMAN PUMP & SUPPLY INC.
                 PO BOX 11403
                 PITTSBURGH, PA 15238


                 WEIR MINERALS OF NORTH AMERICA
                 PO BOX 26188
                 SALT LAKE CITY, UT 84126

Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 264 of 271
                 WEIR SLURRY GROUP INC.
                 21976 NETWORK PLACE
                 CHICAGO, IL 60673-1219


                 WELLINGTON ALLOYS, LLC
                 PO BOX 250298
                 FRANKLIN, MI 48025-0298


                 WELLS FARGO INS SERVICES USA INC
                 PO BOX 203417
                 DALLAS, TX 75320-3417


                 WESCO DISTRIBUTION
                 PO BOX 640859
                 PITTSBURGH, PA 15264-0859


                 WESMAT SUPPLIES LTD.
                 13364 COMBER WAY
                 SURREY, BC V3W 5V9


                 WESMAT SUPPLIES LTD.
                 11442 168 STREET
                 EDMONTON, AL T5M 3T9


                 WEST SENECA YOUTH BUREAU/AMERICORPS
                 2001 UNION ROAD
                 WEST SENECA, NY 14224


                 WESTBURGH ELECTRIC INC
                 PO BOX 1319
                 16 SCOTT STREET
                 JAMESTOWN, NY 14702


                 WESTCHESTER TOOL SUPPLY
                 1051 SAW MILL RIVER ROAD
                 BULIDING 2
                 YONKERS, NY 10710


                 WESTERN GOLF & COUNTRY CLUB
                 MPO BUILDING ATTN:JOE FILIPOVICH
                 15700 LUNDY PARKWAY
                 DEARBORN, MI 48126




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 265 of 271
                 WESTERN NEW YORK FLUID SYSTEM TECHNOLOGY
                 245 SUMMIT POINT DR. SUITE 7
                 HENRIETTA, NY 04467


                 WESTERN RESERVE PARTNERS LLC
                 200 PUBLIC SQUARE
                 SUITE 3750
                 CLEVELAND, OH 44114


                 WILL FOODS
                 1075 WILLIAM STREET
                 PO BOX 1146
                 BUFFALO, NY 14240-1146


                 WILL POULTRY COMPANY
                 1075 WILLIAM STREET
                 PO BOX 1146
                 BUFFALO, NY 14240-1146


                 WILLARD BATTERY
                 2023 MILITARY ROAD
                 NIAGARA FALLS, NY 14304


                 WILLIAM C MORAN & ASSOCIATES PC
                 6500 MAIN STREET
                 SUITE FIVE
                 WILLIAMSVILLE, NY 14221


                 WILLIAM H. PRENTICE INC.
                 472 FRANKLIN STREET
                 BUFFALO, NY 14202


                 WILLIAM J DESKIEWICZ
                 6475 CLOVERLEAF DR
                 LOCKPORT, NY 14095


                 WILLIAM O. SASS, M.D.
                 6932 WILLIAMS ROAD #1700
                 NIAGARA FALLS, NY 14304


                 WILLIAMS & WILLIAMS
                 1400 MAIN SENECA BLDG.
                 237 MAIN STREET
                 BUFFALO, NY 14203



Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 266 of 271
                 WILLIAMS, STEVENS, MCCARVILLE & FRIZZELL
                 1920 LIBERTY BANK BLDG.
                 BUFFALO, NY 14202


                 WILLS SERVICES, INC.
                 PO BOX 931893
                 CLEVELAND, OH 44193-1212


                 Willson International Inc.
                 160 Wales Avenue, Suite 100
                 Tonawanda, NY 14150


                 WILLSON INTERNATIONAL INC.
                 160 WALES AVE
                 SUITE 100
                 TONAWANDA, NY 14150-2508


                 WILLSON INTERNATIONAL INC.
                 250 COOPER AVENUE
                 SUITE 102 PO BOX 390
                 TONAWANDA, NY 14151-0390


                 WILSON CRANE SERVICE, INC.
                 5411 MAELOU DRIVE
                 HAMBURG, NY 14075


                 WINGATE ALLOYS,INC.
                 2121 SO. GREEN RD.
                 CLEVELAND, OH 44121


                 WINTER'S RAILROAD SERVICE, INC.
                 11309 ROUTE 75
                 NORTH COLLINS, NY 14111


                 WINTER'S RIGGING, INC.
                 P.O. BOX 488
                 NORTH COLLINS, NY 14111


                 WIRE ELECTRIC CONTRACTING CO., INC.
                 1320 MILITARY ROAD
                 BUFFALO, NY 14217


                 WIRE PRODUCTS COMPANY, INC.
                 565 FILLMORE AVENUE
                 TONAWANDA, NY 14150-2581

Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 267 of 271
                 WISCONSIN DEPARTMENT OF REVENUE
                 BOX 93389
                 MILWAUKEE, WI 53293-0389


                 WNY ORTHOPEDIC GROUP/JAMES A. SLOUGH MD
                 1321 KENSINGTON AVENUE
                 BUFFALO, NY 14215-1713


                 WNY UROLOGY ASSOC.
                 DEPARTMENT 645
                 PO BOX 8000
                 BUFFALO, NY 14267


                 WNYSC
                 PO BOX 207
                 AMHERST, NY 14226


                 WOLF CREEK GALLERY
                 1315 CELEBRITY CIRCLE
                 #A109
                 MYRTLE BEACH, SC 29577


                 WOOD WERKS SUPPLY, INC.
                 1530 N.OLD RAND ROAD
                 WAUCONDA, IL 60084


                 WORKING RX
                 PO BOX 281238
                 ATLANTA, GA 30384-1238


                 WORKSITE MEDICAL
                 P.O. BOX 6050
                 HERMITAGE, PA 16148-1050


                 WORLD DISCOUNTS
                 1635 ELMWOOD AVE
                 BUFFALO, NY 14207


                 WORLD RESOURCE RECOVERY SYSTEMS, INC.
                 1422 EAST AVENUE
                 ERIE, PA 16503


                 WORLD SHIPPING INC
                 1340 DEPOT STREET
                 CLEVELAND, OH 44116-1716

Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 268 of 271
                 WORLD TRADE CENTER BUFFALO NIAGARA
                 725 MAIN STREET
                 BUFFALO, NY 14203


                 WURTH SERVICE SUPPLY
                 7624 COLLECTIONS CENTER DR
                 CHICAGO, IL 60693-0078


                 WWCF AND PAPERMINT, INC
                 WOLRD WIDE CAPITAL FUNDING
                 PO BOX 3483
                 BUFFALO, NY 14240-2680


                 X-LINX INC.
                 P.O. BOX 293
                 SIOUX FALLS, SD 57104


                 XEROGRAPHIC SOLUTIONS
                 30 SOUTH CAYUGA
                 WILLIAMSVILLE, NY 14221


                 XEROX CORPORATION
                 PO BOX 802618
                 CHICAGO, IL 60680-2618


                 XPO LOGISTICS FREIGHT, INC.
                 P.O. BOX 5160
                 PORTLAND, OR 97208-5160


                 XRAY DOCTORS
                 PO BOX 3262
                 BUFFALO, NY 14240


                 XTEK GEAR GROUP INC.
                 11451 READING ROAD
                 CINCINNATI, OH 45241-5701


                 YELLOW PAGES, INC.
                 PO BOX 959
                 HARTFORD, CT 06143-0959


                 YODER & FREY AUCTIONEERS
                 1670 COMMERCE ROAD
                 HOLLAND, OH 43528


Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 269 of 271
                 YOUNG & SWARTZ
                 39 CHERRY STREET
                 BUFFALO, NY 14204-1298


                 Young & Swartz, Inc.
                 39 Cherry St.
                 Buffalo, NY 14204


                 YRC
                 P.O. BOX 13573
                 NEWARK, NJ 07188-3573


                 YRC Freight
                 66 Milens Rd.
                 Tonawanda, NY 14150


                 YRC FREIGHT
                 PO BOX 13573
                 NEWARK, NJ 07188-3573


                 YUYI LIN
                 2610 CARRERA DRIVE
                 COLUMBIA, MO 65203


                 ZAPPTA ENTERPRISES, INC.
                 173 DINGENS STREET
                 BUFFALO, NY 14206


                 ZEBRA TECHNICAL SERVICE LLC
                 PO BOX 1184
                 WOODINVILLE, WA 98072-8454


                 ZEBRA TECHNICAL SERVICES, LLC.
                 P.O. BOX 782788
                 PHILADELPHIA, PA 19178-2788


                 ZEELAND FREIGHT SERVICES, INC.
                 PO BOX 290
                 2468 84TH AVE
                 ZEELAND, MI 49464-0290


                 ZEINAB FETOUH
                 300 TWO MILE CREEK ROAD
                 TONAWANDA, NY 14150


Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 270 of 271
                 ZELLER CORPORATION
                 1000 UNIVERSITY AVE
                 SUITE 800
                 ROCHESTER, NY 14607


                 ZEP MANUFACTURING COMPANY
                 PO BOX CH10697
                 PALATINE, IL 60065-0697


                 ZEP MANUFACTURING COMPANY
                 PO BOX 3338
                 BOSTON, MA 02241-3338


                 ZEYON INC.
                 3408 McCLELLAND AVENUE
                 P.O. BOX 10024
                 ERIE, PA 16510


                 ZONTEC, INC
                 1389 KEMPER MEADOW DRIVE
                 CINCINNATI, OH 45240


                 ZOOK ENTERPRISES LLC
                 PO BOX 419
                 16809 PARK CIRCLE DRIVE
                 CHAGRIN FALLS, OH 44022


                 ZURICH AMERICAN INSURANCE COMPANY
                 8723 INNOVATION WAY
                 CHICAGO, IL 60682-0087




Case 1-18-12156-MJK, Doc 1, Filed 10/15/18, Entered 10/15/18 17:29:21,
              Description: Main Document , Page 271 of 271
